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Reviewer: Alexa Goneconte




                         STATE OF RHODE ISLAND                             SUPERIOR COURT
                         PROVIDENCE, SC

                         KEVIN MATHEWS
                         MARYANN MATHEWS

                                   VS                                      C.A. NO.: PC-2015-1864

                        WELLS FARGO BANK, NA, ALIAS
                        AND JOHN DOE, ALIAS AND
                        ORLANS MORAN PLLC

                        AMENDED COMPLAINT FOR DECLARATORY JUDGMENT,
                        VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES
                        ACT, VIOLATION OF THE REAL ESTATE SETTLEMENT AND
                        PROCEDURES ACT, VIOLATION OF REGULATION X AND Z,
                        VIOLATION OF THE TRUTH IN LENDING ACT, ATTORNEY
                        FEES AND INJUNCTIVE RELIEF

                                   Plaintiffs, by their attorney, coinplain. of Defendants as follows:

                                     Plaintiffs are residents of State of Rhode Island with an address
                        of 51-53 Outlook Avenue, East Providence, Rhode Island. Plaintiffs own
                        and reside at said real estate located at 51-53 Outlook Avenue, East      ;
                        Providence, Rliode Island.

                              2.    Plaintiffs executed a mortgage to World Savings Bank, FSB on
                        June 25, 2007.

                              3.     Defendant, Wells Fargo Bank, N.A. ("Wells Fargo") claims to
                        own Plaintiffs' mortgage. Wells Fargo Bank, N.A. is a national bank. It is a
                        debt collector and asserts that it is the loan servicer for Plaintiffs' mortgage.
                        Defendant John Doe, is any other entity which owns Plaintiffs' mortgage.

                             4.     Defendant, Orlans Morgan, PLLC ("Orlans"), is a Professional
                        Corporation organized under the laws of Michigan.

                               5.     The law firm of Orlans Moran ("Orlans") on April 17, 2015,
                        claiming to be acting on behalf of Wells Fargo scheduled a foreclosure sale
                        for Plaintiffs' home on June 8, 2015 at 10:00 A.M. This Notice was sent to
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                         Plaintiffs along with an addendum pursuant to the provisions of RIGL 34-
                         27-4(d).

                               6.     The subject matter of this complaint is proper to invoke the
                         Equitable Jurisdiction of this Court.

                               7.     All of the parties named herein have sufficient miniinum
                        contacts with the State of Rhode Island to render them subject to its
                        jurisdiction.

                                8.   This Court has subject matter jurisdiction over the matters in
                         this complaint pursuant to the following statutes:

                                   a.        The provisions of the Fair Debt Collection Practices Act, 15
                                             U.S.C. § 1692(k) grant the Court jurisdiction over violations of
                                             that Act as alleged in this complaint.

                                   b.        The provisions of the Truth In Lending Act ("TILA") 15 U.S.C.
                                             § 1641(f) grant this Court jurisdiction and grant the Plaintiff the
                                             right to a private right of action for violations of TILA.

                                   C.        The provisions of the Real Estate Settlement Procedures Act
                                             ("RESPA") 12 U.S.C. 2605 et seq., grant this Court jurisdiction
                                             and grant the' Plaintiff the right to a private right of action for
                                             violations of RESPA and Regulation X.

                              9.    Pursuant to RIGL 34-27-3.2, any foreclosure notice,
                        commenced by a notice pursuant to RIGL 34-27-4(d), after October 6, 2014,
                        which does not contain a Notice of Mediation, would be void.

                              10. Plaintiffs never received a notice of inediation pursuant to the
                        provisions of RIGL 34-27-3.2 from We11s Fargo or their attorney in
                        conjunction with this foreclosure.

                               11. Orlans, on behalf of Wells Fargo published two advertisements
                        of a foreclosure sale of Plaintiffs' home in the Providence Journal.

                              12. The failure of the Defendant to comply with RIGL 34-27-3.2
                        renders any attempt to commence the alleged foreclosure by Statutory Power
                        of Sale, without having the statutory ability to conduct this foreclosure.
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                                   13.       Plaintiffs live in this property, as P.laintiffs' principal residence.

                                14. Such rclief sought by Plaintiffs will not disserve the public
                         interest if imposed.

                                15. On or about May 15, 2015, Orlans and Wells Fargo were
                         aware that Justice Van Couyghen of the Rhode Island Superior Court had
                         issued a Decision which granted a prelinvnary Injunction as to a number of
                         cases, in which no mediation notice had been provided to the Plaintiffs.

                               16. Orlans and Wells Fargo, through their counsel, had been made
                         aware of this decision and were aware that the Court had granted niore tlian
                         twenty (20) Restraining Orders prior to April 8, 2015.

                               17. Despite knowledge of this decision and knowledge of the
                        provisions of R.I.G.L. 34-27-3.2, which clearly mandated. mediation of all
                        owner occupied mortgage loans of four wlits or less, regardless of the
                        number of days the mortgagor was in default, Wells Fargo and Harmon
                        decided to continue their actions to foreclose on Plaintiffs' property, by
                        running an advertisement in the Providence Jouinal after May 15, 2015 and.
                        refusing to cancel the foreclosure sale.

                              18. As a result the Plaintiffs filed a complaint seeking a temporary
                        Restraining Order, which was granted on May 6, 2015.

                              19. Plaintiffs have incurred actual da.mages as the result of thc
                        conduct of the Defendants in not complying with the provisions of RIGL 34-
                        27-3.2. Plaintiffs' nzortgage loan account has been charged legal fees and
                        expcnses for postage and advertising for a foreclosure sale without providing
                        for mediation as required.

                             VIOLATI:ON OF THE FAIR DEBT COLLECTiON PRACTICES
                                      ACT BY O.RI.ANS AND WELLS FARGO

                                  20.       Paragraphs 1-19 are incorporated by refcrence.

                               21.           Wells Fargo is a debt collector as defined by 15 U.S.C. § 1692
                        et seq.


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                                   22.       The originator of Plaintiffs' loan was World Savings Bank.

                                23. After origination, Plaintiffs' loan was sold to an unknown entity
                         as indicated by Exhibit A.

                                   24.       This exhibit indicates that the note was endorsed.

                                25. Thus at the time this loan was obtained by Wells Fargo, it was
                         treated by Wells Fargo as it was in default.

                                   26.       Wells Fargo regularly collects debts for other entities.

                               27. As a result, Wells Fargo was a debt collector pursuant to the
                         provisioris of 15 USC 1692.

                              28. Orlans regularly collects debts for other entities. In fact it
                        regularly references itself as a Debt Collector. The vast majority of the
                        business of Orlans is as a Debt Collector.

                               29. Wells Fargo and Orlans, since September 1, 2014 has
                        committed several violations of the FDCPA and is liable to the Plaintiffs for
                        compensatory damages, statutory damages, and attorney fees and costs for
                        violations.

                               30. Wells Fargo and Orlans have used inultiple followings unfair
                        and unconscionable means to collect or attempt to collect a debt against the
                        Plaintiff.

                               31. In violation of the FDCPA, representatives of Wells Fargo
                        contacted the Plaintiffs on the following occasions in order to collect a debt,
                        since September 1, 2014 despite knowing that they were represented by an
                        attorney during this time. These contacts in the form of letters were each
                        violations of the provisions of 15 U.S.C. § 1692(b)(6).These contacts
                        occurred in the form of letters sent to the Plaintiff by Wells Fargo and
                        Harmon on the following dates:

                                  May 28, 2014
                                  December 3, 2014



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                                32. Wells Fargo and Orlans have threatened to commence a non-
                         judicial foreclosure to effect dispossession of the Plainti.ffs of th~.eir property
                         even though pursuant to ItIGL 34-27-3.2, Wells Fargo lacked the present
                         right to possession of the property claimed as collateral through. an
                         enforceable security interest. Specificall.y, they cominitted the following
                         violations in this regard:

                                   a.        On about April 17, 2015, Wells Fargo had sent, through its
                                             attorney Orlans, four Notices of Foreclosure to Plaintiffs. Two
                                             of these were sent by certified rnail and two were sent by
                                             regular mail. This notice purported to schedule a foreclosure
                                             sale of the plaintiff's property, even though it had no
                                             contractual or statuto.ry ability to conduct such a sale.

                                   b.        Wel.ls Fargo and Orlans have caused the publication of two
                                             foreclosure advertisements of a foreclosure sale of Plaintiffs'
                                             hoine, which were published in the Providence Journal.

                                  C.         Wells Fargo and Orlans hired and authorized an auctioneer to
                                             appear at the Plaintiff's home on June 8, 2015 to conduct a
                                             foreclosure sale.

                               33. The facts alleged in this complaint establish that Wells Fargo
                        violated 15 U.S.C. 1692e by use false deceptive or misleadang
                        representations or rneans in connection with the collection of any debt. It
                        specifically violated subsection (2) on various occasions by mak.ing a false
                        representation rcgarding thc amount of the debt owed by the Plaintiffs on the
                        following occasions:

                                            Septcmber 30, 2014
                                            October 30, 201.4
                                            DecenZber 1, 2014
                                            December 30, 2014
                                            January 30, 2015
                                            March 2, 2015
                                            March 30, 2015
                                            Apri130, 2015
                                            June 1, 2015
                                            June 30, 2015


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                               34. The facts alleged in this complaint establish that Wells Fargo
                         and Orlans by threatening to foreclose on Plainti.ffs' property violated 1.5
                         USC 1692(e)5 by making a threat to take an action that could not be legally
                         taken. They could not foreclose without providing mediation in violation of
                         R.I.G.L 34-27-3.2.

                               35. Each action of Wells Fargo and Orlans described above
                        constitutes a separate violation of the FDCPA for which Wells Fargo and
                        Harmon are liable.

                               36. The purported foreclosure action and all actions to seek to
                         foreclose on the property have occurred within one year of the filing of this
                         complaint.

                              37.            The PlaintifTs have incurred actual darnages in regard to this
                        action:

                                  a.        They have incurred costs for gasoline to visit their attorney on
                                            at least five occasions, driving to their attorney's office for a
                                            round trip totaling 9.2 miles. The IRS standa.rd. mileage
                                            allowance provides for .56 per mile.

                                  b.        They have incurred attorney fees and costs for the prosecution.
                                            of this action and seeking a Temporary Restraining Order to
                                            cancel the foreclosure. Their fee agreement with tlleir attorney
                                            provides that they will be responsible for legal fees expenses
                                            incurred in regard to this action. They have agreed to pay legal
                                            fees at the rate of $400.00 per hour or out of Court legal work
                                            and $450.00 per liour for in Court legal work.

                              WHEREFORE, Plaintiffs demands that this Court grant them the
                        following relief:

                                  a.        Judgment against Wells Fargo and Orlans for actua.l damages,
                                            and statutory darnages of $1.,000.00 for each violation of the
                                            FDCPA.

                                  b.        Judgment against Wells Fargo and Orlans for legal fecs and
                                            costs.


                                                                      E.
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                                   C.         All other just and proper relie£


                                                                                 MARYANN MATHEWS
                                                                                 K.EVI:N MATH:EWS
                         September 2, 2015

                                                                                 /s/ John B. Ennis
                                                                                 JOHN B. ENNIS, ESQ., #2135
                                                                                 1200 Reservoir Avenue
                                                                                 Cranston, R.hode Island 02920
                                                                                 (401) 943-9230


                                                                 COUNT II

                         COMPLAINT FOR DAMAGES FOR VIOLATIONS OF THE TRUTH
                         IN I.LENDING ACT BY DEFENDANT'5 FAILURE TO SEND THE
                         PLAINTIFF A MONTHLY MORTGAGE STATEMENT EACH
                         MONTH PURSUANT TO THE PROVISIONS OF 12 C.F.R.1026.41
                         and 15 U.S.C. 1638

                                   38.        Paragraphs 1-37 are incorporated by reference.

                               39    This is an action. for damages brought by the Plai.ntiffs, who are
                         consumers for Wells Fargo's violations of the Truth in Lending Act, 15
                         U.S.C. § 1601 et seq. ("TILA").

                               40. Specifically, Plaintiffs seek the remedies provided in TILA for
                         Defendants' failure to send the Plaintiffs monthly mortgage statements as
                         required by 15 U.S.C. §§ 1638 and 12 C.F.R. 1026.41 respectively.

                               41. This Court has jurisdiction pursuant to 15 U.S.C. § 1640 to
                         provide private`re.medies for failure to respond to provide a borrower
                         monthly statements. 15 U.S.C. § 1640 provides for statutory damages of the
                         type alleged in this Complaint to a range of not less than $400.00 nor greater
                         than $4,000.00. Jurisdiction is fwther conferred on this Court by 15 U.S.C.
                         § 1640(e).



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                               42. The Defendant, Wells Fargo is a National Bank that services
                        residential mortgage loans. Wells Fargo is the servicer of the mortgage loan,
                        which is the subject of this complaint. Wells Fargo is a National Bank
                        existing under the laws of the United States, which has a headquarters
                        located at S.ioux Falls, South Dakota.

                               43. Defendant, John Doe is the entity which claims to own and hold
                        the Plaintiffs note and mortgage.

                              44.    The mortgage loan is a"federally related mortgage loan" as
                        defined in 12 U.S.C. § 2602(1).

                               45. Plaintiffs have not been sent a monthly statement in compliance
                        w.ith 12 C.F.R. 1026.41 since September l., 2014.

                              46. Pursuant to 12 C.F.R. 1026.41, Wells Fargo was required to
                        send the Plaintiffs a monthly mortgage statement that provide the following
                        information:

                       (d) Content and layout of'the periodic statemerni. The periodic statement
                       required by this section shall include:
                       (1) Amount due. Grouped together in close proximity to each other and
                       located at the top of the first page of the statement:
                       (i) The payment due date;
                       (ii) The atnount of any late payment fee, and the date on which that fee will
                       be imposed if payment has not been received; and
                       (iii) The amount due, shown morc prominently than other disclosures on the
                       page and, if the transaction has multiple payment options, the amount due
                       under each of the payrnent options.
                       (2) .Explanation of amount due. The following items, grouped together in
                       close proximity to each othcr and located on the first page of tlle statement:
                       (i) The monthly payment amount, including a breakdown showing how
                       much, if any, will be applied to principal, interest, an.d escrow and, if a
                       mortgage loan. has multiple payrnent opt.ions, a breakdown of each ofthe
                       payment options along with. infonnation on whether the principal balance
                       will increase, decrease, or stay the same for each option listed;
                       (ia) The total swn of any fees or charges imposed since the last statement;
                       and
                       (iii) Any paymcnt amount past due.
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                       ,(3) Past_..Payment B~eakdown. ~'he following                                         _             items, grouped together in
                        close proximity to eacli otlier a.nd locatcd on the first page of the statemcnt:                                                                         _ _ _.
                       (i) The total ofall.payments received since the last statement, including a
                        breakdown showing'the arnount, ifany, that was applied to principal,
                       interest,
                              .   escrow,
                                   _..       fees and charges, and the amount,                                      ..                     if any, sent to any
                       suspense or unapplied funds. . . account;                         _ . and   _ ....                                                                              _
                       (ii) The total of all payments received since the begznning of the current                                                                                                  ;
                       calendar
                         .         year, including a breakdown of _that_ total                                           _ showing thc atnount, if
                       any, that was applied to principal, interest, escrow, fees and charges, and the '
                       amount,
                           . _.   if any, currently held in any suspense or unapplicd futlds account.                                                                      _                _._.
                       (4) Transaction activity. A list of all the transaction activity that occurred.
                       since the last statement. For purposes of this paragraph (d)(4), trunsrrctiorz
                       activity means any activity that causes a credit or debit to the amount
                       currently due. This list must include the date of the transaction, a brief                                                                                 _
                       description. of the transaction, and the arnount of the transaction for cach
                       activrty on the list . . . ._ . . . . . . . . . . . . . . _ ..........._.. . . . . . . . . . . . . . . _ . . . . . . ....... ........... .. . . . . . . . . . ...._ . . . :
                       (5) Partial payrit.ertt rtzfornxation. If a statement reflects a pai-tial payment
                       that was placed in a suspeilse or unapplied funds accoutyt, infonnation
                       explaining wliat must be done for the funds to be applied. The information
                       must be on the fi•ont page of the_.statement or, alternatively, n~ay be included
                       on a separate page cnclosed with the periodic statement or in a separate
                       letter.                                   _
                       (d) Contact inforntation A toll-tree teleplhone nuinber and, if applicable,
                       an electronie mailing address that may be used by the consumer to ob.tain
                       infonnation about_the consumer's            _                        account, located. on the                           .. front page of the
                                       ..               _                                                                               _. . . .                                         __
                       (7) ftccount inforrr:ation The following information                                                           _ . ........
                       (i) The amount of the outstanding principal balance;
                       (ii) The current interest rate i_n effect for the mortgage loan;                                                                                                          ;
                       (iii) The date after which the interest rate may next change;
                       (iv) The exlstence ol. any prepayment penalty, as defined                                                               . .... .                     . . . .. .
                       in§ 1026.32(b)(6)(i}, that may be charged;
                       (v) The Web site to access cither the Bureau list or the HUD list of
                       homeownership counselors and                          _ counseling organizations and the FIUD toll-
                       free telephone nurnber to access contact ~nformat~on tor ho~racownea-ship
                       counselors or counseling orga:nizations; and
                       (8) ,aeliaaqrieticy inf'orrxration ~f the consurner is n~ore than._ 45_ days. .
                       delinquent, the following
                                          _.                      items, grouped together in close proxiinity to cach
                       other and located on the f rst page of the statement or, altematively; on a
                       separate page enclosed with _the periodic statement or ~n                                                                . . . .a separate letter:
                                                                                                           9
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                        (i) The date on which the consumer became delinquent;
                        (ii} A notification of possible risks, such as foreclosure, and expenses; that
                        may be incurred if the delinquency is not cured;
                        (iii) An account history showing, for the previous six months or the period
                        since the last time the account was current, whic.hever is shorter, the amount
                        rcmaining past due from each billing cycle or, if any such payment was fully
                        paid, the date o.n which it was credited as fully paid;
                        (iv) A notice indicating aily loss mitigation program to which the consumer
                        has agreed, if applicable;
                        (v) A notice of whether the servicer has made the first notice or filing
                        required by applicable law for any judicial or non judicial foreclosure
                        process, if applicable;
                        (vi) The total. payment amount needed to bring the account current; and
                        (vii) A. reference to the homeownership counselor information disclosed
                        pursuant to paragraph (d)(7)(v) ofthis scction.

                              47. None of the stateinents sent to the Plaintiffs of their attorney in
                         compliance wit11 Regulation Z since Septernber 1., 2014.

                               48. On none of the statements sent to the Plaintiffs' attorney has
                        Wells Fargo included the following information as required. in the event that
                        the loan is at least 45 days in arrears:

                                  a.        A. notifcation ofpossible risks, such as foreclosure, and
                                            e.xpenses, that may be incun-ed if the delinquency is not cured;

                                  b.        An account history showing, for the previous six months or the
                                            period since the last time the account was current, whichever is
                                            shorter, the arnount remaining past due from each billing cycle
                                            or, if any such payment was full.y paid, the datc on whicli. it was
                                            credited as fully paid;

                                  C.        A notice of wheth.er the servicer has made the first notice or
                                            filii3g required by applicable law for any jud.icial or no.n judicial
                                            foreclosure p.rocess, if applicable;

                                  d.        A reference to the homeownership counselor information
                                            diselosed pursuant to paragraph (d)(7)(v) of this section.



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                              49. As a result of dhis failure to coinply with 12 C.F.R. 1026.41 and
                         TILA, Defendant is liable to each Plaintiff for actual damages and statutory
                         damages of up to $4000.00 for each of the twelve statements sent since
                         Septembcr 2014, which did not comply with Rcgulation Z.

                                50. The Plaintiffs have incurrcd actual damagcs, costs and legal
                         fees in regard to this action.:

                                   a.        They have incurred costs for gasoline to visit their attorney on
                                             at least five occasions, driving to their attorney's office for a
                                             round trip totaling 9.2 miles. The IRS standard. rnileage
                                             allowance provides for .56 per mile.

                                  b.        They have incurred postage costs, copy.ing costs and stationary
                                            and cnvelope costs for transmission to the Defcndants.

                                  C.        They have incurred attorney fees and costs for the prosecution
                                            of this claim. Their fee agreement with their attorney provides
                                            that they will be responsible for legal fees expenses incurred in
                                            regard to this action. They have agreed to pay legal fees at the
                                            rate of $400.00 per hour or out of Court legal work and $450.00
                                            per hour .for in Court legal work..

                                  WHERFORE, Plaintiffs demand Judgment against Wells Fargo for

                        statutory damages of. at I.east $4,000.00, for each failure to send a monthly

                        mortgage statement since September, 2014 plus actual damages, plus

                        attorney fees and costs.

                                                                              MARYANN MATHEWS
                                                                              KEVIN 1VIATHEWS
                        Septeinber 2, 2015
                                                                              /s/ John B. Ennis
                                                                              JOHN B. ElVNIS, ESQ., #2135
                                                                              1200 Reservoir Avenue
                                                                              Cranston., Rhode Island 02920
                                                                              (401) 943-9230
                                                                              jbelaw@aol.com
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                                                                COUNT III

                         VIOLATIONS OF REGULATION X AND REGULATION Z

                                   51.       Paragraphs 1-50 arc incorporated by rcfcrence.

                               52. This is an action for actual and statutory dainages filed by the
                        Plaintiffs for violations of the Dodd-Frank Wall Street Reform and
                        Consurner Protection Act (DFA) and specifically of the Regulations enacted
                        pursuant thereto by the Consumer Financial Protection Bureau (CFPB).
                        This is also an action for actual and statutory damages filed by the Plaintiff
                        for violations of the Real Estate Settlement Procedures Act, ("RESPA") and.
                        the Truth in Lending Act, 15 U.S.C. §.1.601. et. seq. ("TILA").

                              52. This action is specifically flcd to enforce thc Rcgulations that
                         became effective on January 10, 2014, specifically 12 CFR § 1024.36(c) and
                         12 CFR §1024.36(d)(2)(i)(A) of Regulation X.

                               53. Wells Fargo perfonns its mortgage loan servicing business
                         under the name of Wells Fargo Home Mortgage ("WFHM"). Wells Fargo
                         d/b/a WFHM is the current servicer of a Promissory Note and Deed of Trust
                         on the Plaintiffs' residential real estate.

                              54. Wells Fargo and WFHM are hereinafter collectively referred to
                         as Wells Fargo and Defendant.

                               55. In January 2013, the Consumer Financial Protection Bureari
                        issued a nurnber of final rules concerning rnortgage markets in the United
                        States, pursuant to the Dodd-Fra.nk Wall Street Reform and Consuaner
                        Protection Act (DFA), Public Law No. I I 1-203, 124 Stat. 1376 (2010).

                              56. Specifically, on January 17, 2013, the CFPB issued the Real
                        Estate Settlement Procedures Act (Regulation X) and the Truth in. Lending
                        Act (Regulation Z) Mortgage Servicing Final Rules, 78 FR § 1.0901.
                        (Regulation Z)(February 14, 2013) arid 78 FR § 10695 (Rcgulation
                        X)(February 14, 2013). These Regulations becatne effective on January 10,
                        2014.



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                              57. The residential mortgage loan in this case is a"federally related
                         mortgage loan" as that term is defined by Regulation 1024.2 (b) of the said
                         Regulations.

                               58. The Defendant in this case is subject to the'said Regulations
                         and does not qualify for any of the exceptions noted in the said Regulations
                         for "small servicers." Neither is Defendant a"qualified lender," as defined
                         in 12 CFR § 617.7000.

                                59. The Plaintiffs are asserting claims for relief against the
                         Defendant for breach of the specific Rules under Regulation X as set forth
                         below. The Plaintiffs have a private right of action under the Real Estate
                         Settlement Procedures Act, 12 U.S.C. § 2605(f) for these breaches and such
                         an action includes actual damages, costs, statutory damages and attorney's
                         fees.

                               60. On or about November 15, 2014, the Plaintiffs sent a written
                         request for information to the Defendant that included the name of the
                         borrower, the identity of the account, the property description and stated the
                         information requested. This request was made pursuant to 12 CFR §
                         1024.36(a).

                               61. The Request for Information was mailed by certified inail,
                        return receipt requested, having an article number 7014 2120 0000 7201
                        4713. The Request was mailed to the address noticed by the Defendant on
                        its website as the designated address for requesting such information as
                        provided for by 12 CFR Section 1024.36(b).

                              62. The Request was received by the Defendant on November 18,
                        2014 as evidenced by United States Postal Form 3811- attached hereto as
                        Exhibit B.

                              63. The Plaintiffs' Request for Information requested an Itemized
                        Payoff Statement for the Plaintiffs' mortgage loan account.

                              64. Under 12 CFR Section 1024.36(d)(2)(i)(A), the Defendant had
                        30 business days to provide the Plaintiff with the information requested.

                              65. Since the Request was received on November 18, 2014 the tiine
                        period for the Defendant to comply expired on December l, 2014.
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                               66. The Defendant has failed to provide any of the requested
                         information to the Plaintiffs with seven business days.

                                67. On or about March 6, 2015, the Plaintiff sent a written notice of
                         error to the Defendant that included the name of the borrower, the identity of
                         the account, the property description and stated the information requested.
                         This request was made pursuant to 12 CFR § 1024.35.

                               68. The Notice of Error was mailed by certified mail, return receipt
                         requested, having an article number 7014 3490 000 3889 0095. The Notice
                         was mailed to the address noticed by the Defendant on its website as the
                         designated address for requesting such information as provided for by 12
                         CFR § 1024.35.

                               69. The Notice was received by the Defendant on March 14, 2015
                         as evidenced by United States Postal Form 3811 attached hereto as Exhibit
                         C.

                               70. The Plaintiffs' Notice of Error referenced failure to respond to
                         the Request for Infonnation requesting requested an Itemized Payoff
                         Statement for the Plaintiffs' inortgage loan account.

                                71. Under 12 CFR 1024.35 the Notice of Error had to be responded
                         to by the Defendant within thirty (30) business days of the date-of the receipt
                         of the Request. The Regulations provide that in computing this time period
                         public holidays, Saturdays and Sundays are excluded. As a result, in this
                         case, the written response was due no later than Apri125, 2015.

                               72. As of the filing of this complaint, the Defendant has failed to
                         respond to the Notice of Error.

                               73. The Plaintiffs have demonstrated through the failure of the
                        Defendant to respond to any of the Requests for Information or any of the
                        Notices of Error in this case that the Defendant has exhibited a pattern and
                        practice of failure to respond to RESPA Requests.

                             74. The failure of the Defendant to respond to the total number of
                        Requests for Information in this case and to respond to the total number of


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                         Notices of Error in this case establish that the pattern and practice of Wells
                         Fargo is ignore Regulation X Notices of Error and Requests for Information.

                                75. Plaintiffs are entitled to statutory damages of $2000.00 each for
                         the failure of the Defendant to respond to this Request for Inforination or to
                         correct this error.

                                76. The Plaintiffs have incurred actual damages, costs and legal
                         fees in regard to this claim:

                               a.     They have incurred costs for gasoline to visit her attorney on at
                        least five occasions, driving to her attorney's office for a round trip totaling
                        2 miles. The IRS standard mileage allowance provides for .56 per mile.

                               b.     They have incurred costs for postage, stationary, envelopes and
                         copying for this Notice of Error.

                               C.     They have incurred attorney fees and costs for the prosecution
                        of this action. Their fee agreement with their attorney provides that they
                        will be responsible for legal fees and expenses incurred in. regard to this
                        action. They have agreed to pay legal fees at the rate of $400.00 per hour or
                        out of Court legal work and $450.00 per hour for in Court legal work.

                              77. On or about November 15, 2014, the Plaintiffs sent a written
                        request for information to the Defendant that included the name of the
                        borrower, the identity of the account, the property description and stated the
                        information requested. This request was made pursuant to 12 CFR §
                        1024:36(a).

                               78. The Request for Information was mailed by certified mail,
                        return receipt requested, having an article number 7014 2120 0000 7201
                        4799. The Request was mailed to the address noticed by the Defendant on
                        its website as the designated address for requesting such infoi7nation as
                        provided for by 12 CFR Section 1024.36(b).

                              79. The Request was received by the Defendant on November 18,
                        2014 as evidenced by United States Postal Form 3811 attached hereto as
                        Exhibit D.



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                               80. The Plaintiffs' Request for Information requested a Qualified
                         Written Request for the Plaintiffs' mortgage loan account.

                               81. Under 12 CFR Section 1024.36(d)(2)(i)(A), the Defendant had
                         30 business days to provide the Plaintiff with the information requested.

                               82. Since the Request was received on November 18, 2014 the time
                         period for the Defendant to comply expired on January 2, 2015.

                              83. As of the filing of this complaint, the Defendant has failed to
                        provide any of the requested information to the Plaintiffs.

                               84. On or about March 6, 2015, the Plaintiff sent a written notice of
                        error to the Defendant that included the name of the borrower, the identity of
                        the account, the property description and stated the information requested.
                        This request was made pursuant to 12 CFR § 1024.35.

                              85. The Notice of Error was mailed by certified mail, return receipt
                        requested, having an article number 7014 3490 000 3889 0064. The Notice
                        was mailed to the address noticed by the Defendant on its website as the
                        designated address for requesting such information as provided for by 12
                        CFR § 1024.35.

                               86. The Notice was received by the Defendant on March 14, 2015
                        as evidenced by United States Postal Forin 3811 attached hereto as Exhibit
                        E.

                              87. The Plaintiffs' Notice of Error referenced failure to respond to
                        the Request for Information requesting requested an Itemized Payoff
                        Statement for the Plaintiffs' mortgage loan account.

                               88. Under 12 CFR 1024.35 the Notice of Error had to be responded
                        to by the Defendant within thirry (30) business days of the date of the receipt
                        of the Request. The Regulations provide that in computing tliis time period
                        public holidays, Saturdays and Sundays are excluded. As a result, in this
                        case, the written response was due no later than March 24, 2015.

                              89. As of the filing of this complaint, the Defendant has failed to
                        respond to the Notice of Error.


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                                90. The Plaintiffs have demonstrated through the failure of the
                         Defendant to respond to any of the Requests for Information or any of the
                         Notices of Error in this case that the Defendant has exhibited a pattern and
                         practice of failure to respond to RESPA Requests.

                               91. The failure of the Defendant to respond to the total number of
                         Requests for Information in this case and to respond to the total number of
                         Notices of Error in this case establish that the pattern and practice of Wells
                         Fargo is ignore Regulation X Notices of Error and Requests for Informatiori.

                                92. Plaintiffs are entitled to statutory damages of $2000.00 each. for
                         the failure of the Defendant to respond to this Request for Information or to
                         correct this error.

                                93. The Plaintiffs have incurred actual damages, costs and legal
                         fees in regard to this claim:

                               a.     They have incurred costs for gasoline to visit her attorney on at
                        least five occasions, driving to her attorney's office for a round trip totaling
                        2 miles. The IRS standard mileage allowance provides for .56 per mile.

                              b.     They have incurred costs for postage, stationary, envelopes and
                        copying for this Notice of Error.

                               C.     They have incurred attorney fees and costs for the prosecution
                        of this action. Their fee agreement with their attorney provides that they
                        will be responsible for legal fees and expenses incurred in regard to this
                        action. They have agreed to pay legal fees at the rate of $400.00 per hour or
                        out of Court legal work and $450.00 per hour for in Court legal work.

                              94. On or about November 15, 2014, the Plaintiffs sent a written
                        request for information to the Defendant that included the name of the
                        borrower, the identity of the account, the property description and stated the
                        information requested. This request was made pursuant to 12 CFR §
                        1024.36(a).

                               95. The Request for Information was mailed by certified mail,
                        return receipt requested, having an article number 7014 2120 0000 7201
                        4782. The Request was mailed to the address noticed by the Defendant on


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                         its website as the designated address for requesting such inforination as
                         provided for by 12 CFR Section 1024.36(b).

                               96. The Request was received by the Defendant on November 18,
                         2014 as evidenced by United States Postal Form 3811 attached hereto as
                         Exhibit F.

                               97. The Plaintiff s Request for Information requested for Loss
                         Mitigation Options for the Plaintiffs' mortgage loan account.

                              98. Under 12 CFR Section 1024.36(d)(2)(i)(A), the Defendant had
                        30 business days to provide the Plaintiff with the information requested.

                              99. Since the Request was received on Noveinber 18, 2015 the time
                        period for the Defendant to comply expired on January 2, 2015.

                              100. As of the filing of this complaint, the Defendant has failed to
                        provide any of the requested information to the Plaintiffs.

                               101. On or about March 6, 2015, the Plaintiff sent a written notice of
                        error to the Defendant that included the name of the borrower, the identity of
                        the account, the property description and stated the information requested.
                        This request was made pursuant to 12 CFR § 1024.35.

                              102. The Notice of Error was mailed by certified mail, return receipt
                        requested, having an article number 7014 3490 000 3889 0118. The Notice
                        was mailed to the address noticed by the Defendant on its website as the
                        designated address for requesting such infon-nation as provided for by 12
                        CFR § 1024.35.

                               103. The Notice was received by the Defendant on March 14, 2015
                        as evidenced by United States Postal Form 3811 attached hereto as Exhibit
                        G.

                              104. The Plaintiffs' Notice of Error referenced failure to respond to
                        the Request for Information requesting requested for Loss Mitigation
                        Options for the Plaintiffs' mortgage loan account.

                               105. Under 12 CFR 1024.35 the Notice of Error had to be responded
                        to by the Defendant within thirty (30) business days of the date of the receipt
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                         of the Request. The Regulations provide that in computing this time period
                         public holidays, Saturdays and Sundays are excluded. As a result, in this
                         case, the written response was due no later than Apri124, 2015.

                               106. As of the filing of this complaint, the Defendant has failed to
                         respond to the Notice of Error.

                               107. The Plaintiffs have demonstrated through the failure of the
                        Defendant to respond to any of the Requests for Inforination or any of the
                        Notices of Error in this case that the Defendant has exhibited a pattern and
                        practice of failure to respond to RESPA Requests.

                              108. The failure of the Defendant to respond to the total nuinber of
                        Requests for Information in this case and to respond to the total number of
                        Notices of Error in this case establish that the pattern and practice of Wells
                        Fargo is ignore Regulation X Notices of Error and Requests for Information.

                               109. Plaintiffs are entitled to statutory damages of $2000.00 each for
                        the failure of the Defendant to respond to this Request for Infonnation or to
                        correct this error.

                               110. The Plaintiffs have incurred actual damages, costs and legal
                        fees in regard to this claim:

                               a.     They have incurred costs for gasoline to visit her attorney on at
                        least five occasions, driving to her attorney's office for a round trip totaling
                        2 miles. The IRS standard mileage allowance provides for .56 per mile.

                              b.     They have incurred costs for postage, stationary, envelopes and
                        copying for this Notice of Error.

                                  C.  They have incurred attorney fees and costs for the prosecution
                        of this action. Their fee agreement with their attorney provides that they
                        will be responsible for legal fees and expenses incurred in regard to this
                        action. They have agreed to pay legal fees at the rate of $400.00 per hour or
                        out of Court legal work and $450.00 per hour for in Court legal work. .

                              111. On or about November 15, 2014, the Plaintiffs sent a written
                        request for information to the Defendant that included the name of the
                        borrower, the identity of the account, the property description and stated the
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                         information requested. This request was made pursuant to 12 CFR §
                         1024.36(a).

                                112. The Request for Information was mailed by certified inail,
                         return receipt requested, having an article number 7014 2120 0000 7201
                         4751. The Request was mailed to the address noticed by the Defendant on
                         its website as the designated address for requesting such information as
                         provided for by 12 CFR Section 1024.36(b).

                              113. The Request was received by the Defendant on November 18,
                        2014 as evidenced by United States Postal Form 3811 attached hereto as
                        Exhibit H.

                              114. The Plaintiffs' Request for Information requested a Payoff
                        Balance for the Plaintiffs' mortgage loan account.

                              115. Under 12 CFR Section 1024.36(d)(2)(i)(A), the Defendant had
                        30 business days to provide the Plaintiff with the infonnation requested.

                               116. Since the Request was received on November 18, 2014 the time
                         period for the Defendant to comply expired on November 27, 2014.

                              117. As of the filing of this complaint, the Defendant has failed to
                        provide any of the requested information to the Plaintiffs.

                               118. On or about March 6, 2015, the Plaintiffs sent a written notice
                        of error to the Defendant that included the name of the borrower, the identity
                        of the account, the property description and stated the information requested.
                        This request was made pursuant to 12 CFR § 1024.35.

                              119. The Notice of Error was mailed by certified inail, return receipt
                        requested, having an article number 7014 3490 000 3889 0088. The Notice
                        was mailed to the address noticed by the Defendant on its website as the
                        designated address for requesting such information as provided for by 12
                        CFR § 1024.35.

                               120. The Notice was received by the Defendant on March 14, 2015
                        as evidenced by United States Postal Forrn 3811 attached hereto as Exhibit I.



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                                121. The Plaintiffs' Notice of Error referenced failure to respond to
                         the Request for Information requesting requested a Payoff Balance for the
                         Plaintiffs' mortgage loan account.

                                122. Under 12 CFR 1024.35 the Notice of Error had to be responded
                         to by the Defendant within thirty (30) business days of the date of the receipt
                         of the Request. The Regulations provide that in computing this tiine period
                         public holidays, Saturdays and Sundays are excluded. As a result, in this
                         case, the written response was due no later than March 24, 2015.

                              123. As of the filing of this complaint, the Defendant has failed to
                        respond to the Notice of Error.

                               124. The Plaintiffs have demonstrated through the failure of the
                        Defendant to respond to any of the Requests for Information or any of the
                        Notices of Error in this case that the Defendant has exhibited a pattern and
                        practice of failure to respond to RESPA Requests.

                              125. The failure of the Defendant to respond to the total number of
                        Requests for Information in this case and to respond to the total number of
                        Notices of Error in this case establish that the pattern and practice of Wells
                        Fargo is ignore Regulation X Notices of Error and Requests for Information.

                               126. Plaintiffs are entitled to statutory damages of $2000.00 each for
                        the failure of the Defendant to respond to this Request for Inforination or to
                        correct this error.

                               127. The Plaintiffs have incurred actual damages, costs and legal
                        fees in regard to this claim:

                               a.     They have incurred costs for gasoline to visit her attorney on at
                        least five occasions, driving to her attorney's office for a round trip totaling
                        2 miles. The IRS standard mileage allowance provides for .56 per mile.

                              b.     They have incurred costs for postage, stationary, envelopes and
                        copying for this Notice of Error.

                                  C.  They have incurred attorney fees and costs for the prosecution
                        of this action. Their fee agreement with their attorney provides that they will.
                        be responsible for legal fees and expenses incurred in regard to this action.
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                         They have agreed to pay legal fees at the rate of $400.00 per hour or out of
                         Court legal work and $450.00 per hour for in Court legal work.

                                128. Under 12 CFR 1024.35 the Notice of Error had to be responded
                         to by the Defendant within thirty (30) business days of the date of the receipt
                         of the Request. The Regulations provide that in computing this tiine period
                         public holidays, Saturdays and Sundays are excluded. As a result, in this
                         case, the written response was due no later than March 24, 2015.

                               129. As of the filing of this complaint, the Defendant has failed to
                         respond to the Notice of Error.

                               130. The failure of the Defendant to respond to the total number of
                         Requests for Information in this case and to respond to the total number of
                         Notices of Error in this case establish that the pattern and practice of Wells
                         Fargo is ignore Regulation X Notices of Error and Requests for Infonnation.

                               131. On or about November 15, 2014, the Plaintiffs sent a written
                         request for information to the Defendant that included the name of the
                         borrower, the identity of the account, the property description and stated the
                         information requested. This request was made pursuant to 12 CFR §
                         1024.36(a).

                               132. The Request for Information was mailed by certified mail,
                        return receipt requested, having an article number 7014 2120 0000 7201
                        4737. The Request was mailed to the address noticed by the Defendant on
                        its website as the designated address for requesting such. information as
                        provided for by 12 CFR Section 1024.36(b).

                              133. The Request was received by the Defendant on November 18,
                        2014 as evidenced by United States Postal Form 3811 attached hereto as
                        Exhibit J.

                               134. The Plaintiffs' Request for Information requested the Identity
                        of the owner of the Plaintiffs' mortgage loan.

                              135. Under 12 CFR Section 1024.36(d)(2)(1)(A), the Defendant had
                        10 business days to provide the Plaintiff with the information requested.



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                               136. Since the Request was received on November 18, 2015 the time
                         period for the Defendant to comply expired on December 3, 2014.

                               137. As of the filing of this complaint, the Defendant has failed to
                         provide any of the requested information to the Plaintiffs.

                                138. On or about March 6, 2015, the Plaintiffs sent a written notice
                         of error to the Defendant that included the name of the borrower, the identity
                         of the account, the property description and stated the infonnation requested.
                         This request was inade pursuant to 12 CFR § 1024.35.

                              139. The Notice of Error was mailed by certified mail, return receipt
                        requested, having an article number 7014 3490 000 3889 0071. The Notice
                        was mailed to the address noticed by the Defendant on its website as the
                        designated address for requesting such information as provided for by 12
                        CFR § 1024.35.

                               140. The Notice was received by the Defendant on March 14, 2015
                        as evidenced by United States Postal Fonn 3811 attached hereto aso Exhibit
                        K.

                               141. The Plaintiffs' Notice of Error referenced failure to respond to
                        the Request for Information requesting requested the Identity of the owner of
                        the Plaintiffs' mortgage loan.

                               142. Under 12 CFR 1024.35 the Notice of Error had to be responded
                        to by the Defendant within thirty (30) business days of the date of the receipt
                        of the Request. The Regulations provide that in computing this time period
                        public holidays, Saturdays and Sundays are excluded. As a result, in this
                        case, the written response was due no later than Apri124, 2015.

                              143. As of the filing of this complaint, the Defendant has failed to
                        respond to the Notice of Error.

                              144. On or about Noveinber 15, 2014, the Plaintiffs sent a written
                        request for infon-nation to the Defendant that included the name of the
                        borrower, the identity of the account, the property description and stated the
                        information requested. This request was made pursuant to 12 CFR §
                        1024.36(a).


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                                145. The Request for Infonnation was mailed by certified mail,
                         return receipt requested, having an article number 7014 212.0 0000 7201
                         4706. The Request was mailed to the address noticed by the Defendant on
                         its website as the designated address for requesting such information as
                         provided for by 12 CFR Section 1024.36(b).

                               146. The Request was received by the Defendant on November 21,
                         2014 as evidenced by United States Postal Form 3811 attached hereto as
                         Exhibit L.

                              147. The Plaintiffs' Request for Information requested pursuant to
                         TILA, the identity of the owner of the Plaintiffs' mortgage loan.

                               148. Under 12 CFR Section 1024.36(d)(2)(i)(A), the Defendant had
                         30 business days to provide the Plaintiff with the information requested.

                               149. Since the Request was received on November 21, 2015 the time
                         period for the Defendant to comply expired on January 7, 2015.

                               150. As of the filing of this complaint, the Defendant has failed to
                         provide any of the requested information to the Plaintiffs.

                                151. On or about March 6, 2015, the Plaintiffs sent a written notice'
                         of error to the Defendant that included the name of the borrower, the identity
                         of the account, the property description aiid stated the information requested.
                         This request was made pursuant to 12 CFR § 1024.35.

                              152. The Notice of Error was mailed by certified mail, return receipt
                        requested, having an article number 7014 3490 000 3889 0125. The Notice
                        was mailed to the address noticed by the Defendant on its website as the
                        designated address for requesting such information as provided for by 12
                        CFR § 1024.35.

                               153. The Notice was received by the Defendant on March 14, 2015
                        as evidenced by United States Postal Form 3811 attached hereto as Exhibit
                        M.

                               154. The Plaintiffs' Notice of Error referenced failure to respond to
                        the Request for Information requesting requested TILA information for
                        identity of the Plaintiffs' mortgage loan.
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                               155. The failure of the Defendant to respond to the total number of
                         Requests for Information in this case and to respond to the total number of
                         Notices of Error in this case establish that the pattern and practice of Wells
                         Fargo is ignore Regulation X Notices of Error and Requests for Information.

                                156. Plaintiffs are entitled to statutory damages of $2000.00 each for
                         the failure of the Defendant to respond to this Request for Information or to
                         correct this error.

                                157. The Plaintiffs have incurred actual damages, costs and legal
                         fees .in regard to this claim:

                                a.     They have incurred costs for gasoline to visit her attorney on at
                         least five occasions, driving to her attorney's office for a round trip totaling
                         2 miles. The IRS standard mileage allowance provides for .56 per mile.

                               b.     They have incurred costs for postage, stationary, envelopes and
                         copying for this Notice of Error.

                               C.     They have incurred attorney fees and costs for the prosecution
                        of this action. Their fee agreement with their attorney provides that they
                        will be responsible for legal fees and expenses incurred in regard to this
                        action. They have agreed to pay legal fees at the rate of $400.00 per hour or
                        out of Court legal work and $450.00 per hour for in Court legal work.

                                158. On or about March 9, 2015 the Plaintiffs sent a written Notice
                         of Error that included the name of the borrower, the identity of the account,
                         the property description and stated the information requested. This request
                         was made pursuant to 12 CFR § 1024.35.

                               159. The Notice of Error was mailed by certified mail, return receipt
                        requested, having an article number 7014 3490 0000 3889 0149. The Notice
                        of Error was mailed to the address noticed by the Defendant on its website
                        as the designated address for requesting such. information as provided for by
                        12 CFR Section 1024.36(b).

                               160. The Request was received by the Defendant on March 14, 2015
                        as evidenced by United States Postal Form 3811 attached hereto as Exhibit
                        N.
                                                                25
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                                161. The Plaintiffs' Notice of Error requested that Wells Fargo send
                         the consumer monthly statements and not send the statements to their
                         attorney.

                               162. Under 12 CFR Section 1024.36(d)(2)(i)(A), the Defendant had
                         30 business days to provide the Plaintiffs with the information requested.

                              163. Since the Request was received on March 14, 2015 the time
                        period for the Defendant to comply expired on Apri124, 2015.

                              164. As of the filing of this complaint, the Defendant has failed to
                        correct the error and continues to refuse to send the Plaintiffs any statements.

                              165. The failure of the Defendant to respond to the total number of
                        Requests for Information in this case and to respond to the total number of
                        Notices of Error in this case establish that the pattern and practice of Wells
                        Fargo is ignore Regulation X Notices of Error and Requests for Information.

                               166. Plaintiffs are entitled to statutory damages of $2000.00 each for
                        the failure of the Defendant to respond to this Notice of Error or to correct
                        this error.

                               167. The Plaintiffs have incurred actual damages, costs and legal
                        fees in regard to this claim:

                               a.    They have incurred costs for gasoline to visit her attorney on at
                        least five occasions, driving to her attorney's office for a round trip totaling
                        2 miles. The IRS standard mileage allowance provides for .56 per mile.

                              b.     They have incurred costs for postage, stationary, envelopes and
                        copying for this Notice of Error.

                                  C.  They have incurred attorney fees and costs for the prosecution
                        of this action. Their fee agreement with their attorney provides that they
                        will be responsible for legal fees and expenses incurred in regard to this
                        action. They have agreed to pay legal fees at the rate of $400.00 per hour or
                        out of Court legal work and $450.00 per hour for in Court legal work.



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                                168. On or about May 14, 2015 the Plaintiffs sent a written Notice of
                         Error that included the name of the borrower, the identity of the account, the
                         property description and stated the information requested. This request was
                         made pursuant to 12 CFR § 1024.35.

                                169. The Notice of Error was mailed by certified mail, return receipt
                         requested, having an article number 7014 1820 0000 8774 3703. The Notice
                         of Error was mailed to the address noticed by the Defendant on its website
                         as the designated address for requesting such information as provided for by
                         12 CFR Section 1024.36(b).

                                170. The Request was received by the Defendant on May 17, 2015
                         as evidenced by United States Postal Form 3811 attached hereto as Exhibit
                         O.

                               171. The Plaintiffs' Notice of Error alleged that Wells Fargo had
                         committed error by incurring unnecessary fees and costs arising from
                         advertising for a foreclosure sale without first providing a Notice of
                         Mediation as required by RIGL 34-27-3.2.

                              172. Under 12 CFR Section 1024.36(d)(2)(i)(A), the Defendant had
                        30 business days to correct the error.

                              173. Since the Notice of Error was received on May 17, 2015 the
                        time period for the Defendant to comply expired on June 29, 2015.

                                174. As of the filing of this complaint, the Defendant has failed to
                        correct the error and in fact indicated in a letter dated June 3, 2015that it
                        would not respond to this Notice of Error on the grounds that it was related
                        to litigation.

                               175. As a result the Plaintiffs have incurred actual damages in the
                        amount charged to their mortgage loan account for advertising for
                        foreclosures in 2015 on at least two occasions. These dainages consist of the
                        cost for advertising of at least $2000.00 charged to the Plaintiffs mortgage
                        loan account for any advertising in the Providence Journal.

                        176. The failure of the Defendant to respond to the total number of
                        Requests for Information in this case and to respond to the total number of


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                         Notices of Error in this case establish that the pattern and practice of Wells
                         Fargo is ignore Regulation X Notices of Error and Requests for Information.

                                177. Plaintiffs are entitled to statutory damages of $2000.00 each for
                         the failure of the Defendant to respond to this Notice of Error or to correct
                         this error.

                                178. The -Plaintiffs have incurred actual damages, costs and legal
                         fees in regard to this claim:

                               a.     They have incurred costs for gasoline to visit her attorney on at
                        least five occasions, driving to her attorney's office for a round trip totaling
                        2 miles. The IRS standard mileage allowance provides for .56 per mile.

                              b.     They have incurred costs for postage, stationary, envelopes and
                        copying for this Notice of Error.

                                   C. They have incurred actual damages of at least $2000.00 for all
                        the costs, fees and charges relating to foreclosure expenses for advertising
                        improperly charged to the mortgage loan account. These costs and expenses
                        charges for advertising could not have been incurred without a Notice of
                        Mediation.

                               d.     They have incurred attorney fees and costs for the prosecution
                        of this action. Their fee agreement with their attorney provides that they
                        will be responsible for legal fees and expenses incurred in regard to this
                        action. They have agreed to pay legal fees at the rate of $400.00 per hour or
                        out of Court legal work and $450.00 per hour for in Court legal work.

                               179. On or about May 21, 2015 the Plaintiffs sent a written Notice of
                        Error that included the name of the borrower, the identity of the account, the
                        property description and stated the information requested. This request was
                        made pursuant to 12 CFR § 1024.35.

                               180. The Notice of Error was mailed by certified mail, return receipt
                        requested, having an article number 7014 1820 000 8774 0467. The Notice
                        of Error was mailed to the address noticed by the Defendant on its website
                        as the designated address for requesting such inforination as provided for by
                        12 CFR Section 1024.36(b).


                                                               'r;
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                               181. The Notice of Error was received by the Defendant on May 29,
                         2015 as evidenced by United States Postal Form 3811 attached hereto as
                         Exhibit P.

                               182. The Plaintiffs' Notice of Error alleged that Wells Fargo had
                         committed error by incurring unnecessary fees and costs arising from
                         Scheduling a foreclosure sale without first providing a Notice of Mediation
                         as required by RIGL 34-27-3.2.

                               183. Under 12 CFR Section 1024.36(d)(2)(1)(A), the Defendant had
                         30 business days to correct the error.

                               184. Since the Notice of Error was received on May 29, 2015 the
                         time period for the Defendant to comply expired on July 13, 2015.

                                185. As of the filing of this complaint, the Defendant has failed to
                        correct the error and in fact indicated iri a letter dated June 3, 2015that it
                        would not respond to this Notice of Error on the grounds that it was related
                        to litigation.

                               186. As a result the Plaintiffs have incurred actual damages in the
                        amount charged to their mortgage loan account for foreclosure fees, costs,
                        legal fees and advertising for foreclosures in 2015 on at least two occasions.
                        These damages consist of the expense in excess of $5000.00 charged to the
                        Plaintiffs mortgage loan account.

                              187. The failure of the Defendant to respond to the total number of
                        Requests for Information in this case and to respond to the total number of
                        Notices of Error in this case establish that the pattern and practice of Wells
                        Fargo is ignore Regulation X Notices of Error and Requests for Information.

                               188. Plaintiffs are entitled to statutory damages of $2000.00 each for
                        the failure of the Defendant to respond to this Notice of Error or to correct
                        this error.

                               189. The Plaintiffs have incurred actual damages, costs and legal
                        fees in regard to this claim:




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                                a.     They have incurred costs for gasoline to visit her attorney on at
                         least five occasions, driving to her attorney's office for a round trip totaling
                         2 miles. The IRS standard mileage allowance provides for .56 per mile.

                               b.     They have incurred costs for postage, stationary, envelopes and
                         copying for this Notice of Error.

                                   C.  They have incurred actual damages of at least $5000.00 for all
                         the costs, fees and charges relating to foreclosure expenses improperly
                         charged to the mortgage loan account. These costs and expenses charges
                         could not have been incurred without a Notice of Mediation.

                                d.     They have incurred attorney fees and costs for the prosecution
                         of this action. Their fee agreement with their attorney provides that they
                         will be responsible for legal fees and expenses incurred in regard to this
                         action. They have agreed to pay legal fees at the rate of $400.00 per hour or
                         out of Court legal work and $450.00 per hour for in Court legal work.

                                   WHEREFORE, Plaintiffs demand judgment against Wells Fargo for:

                              a.      damages for each RESPA claim for actual dainages for
                        postage, stationary, envelopes and copying for each Notice of Error, not
                        responded to, corrected or acknowledged;

                               b.    actual damages for all amounts improperly charged to the
                        Plaintiffs' mortgage loan account as alleged in this complaint;

                                   C.         all other actual damages;

                               d.     statutory damages for each Plaintiff of $2000.00 each for each
                        failure to respond to each notice of error;

                                  e,         attorney fees and costs and all. other just ad proper relief.




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                                                                       KEVIN MATHEWS
                                                                       MARYANN MATHEWS
                                                                       By their Attorney
                         September 2, 2015
                                                                       /s/ John B. Ennis
                                                                       JOHN B. ENNIS, ESQ. #2135
                                                                       1200 Reservoir Avenue
                                                                       Cranston, RI 02920
                                                                       (401) 943-9230
                                                                       jbelaw@aol.com


                                                           COUNT IV

                        COMPLAINT FOR DAMAGES FOR VIOLATIONS OF THE TRUTH
                        IN LENDING ACT BY DEFENDANT'S FAILURE TO IDENTIFY
                        THE OWNER OF THE NOTE AND THE MORTGAGE AND THE
                        MASTER SERV7CER FOR TH NOTE AND THE MORTGAGE

                                   190. Paragraphs 1-1$9 are incorporated by reference.

                              191. This is an action for damages brought by the Plaintiffs, who are
                        consumers for Wells Fargo's violations of the Truth. in Lending Act, 15
                        U.S.C. § 1.601 et seq. ("TILA").

                              192. Specifically, Plaintiffs seek the remedies provided in TILA for
                        Defendants' failure to respond a request for the identity of the owner and.
                        holder of Plaintiff's mortgage loan as required by 15 U.S.C. §§ 1641(f) and
                        1641(g) respectively.

                              193. This Court has jurisdiction pursuant to 14 U.S.C. § 1641(f) to
                        provide private remedies for failure to respond to a borrower's request for
                        information under that section. 15 U.S.C. § 1640 provides for statutory
                        damages of the type alleged in this Complaint to a range of not less than
                        $400 nor greater than. S4,000.00. Jurisdiction is further conferred on this
                        Court by 15 U.S.C. § 1640(e).

                              194. The Defendant, Wells Fargo is a National Bank t11at sei-viccs
                        residential mortgagc loans. Wells Fargo is the scrviccr of the mortgagc loan,
                        which is the subject of this complaint. Wells Fargo is a National Bank
                                                                31
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                         existing under the laws of the United States, which has a headquarters
                         located at Sioux Falls, South Dakota.

                                195. On June 25, 2007, World Savings Bank gave a mortgage loan
                         to Plaintiffs fo.r the purpose of refinancing the Plaintiffs' residence at 51.
                         Outlook Avenue, Providence Rhode Island (the "property"), rcfcrrcd to in
                         this complaint as the "Mortgage loan".

                               196. In connection with the Mortgage Loan t.he Plaintiffs executed a
                         promissory note to World Savings Bank in the original principal amount of
                         $248,500.00 payable to World Savings Bank.

                               197. The Mortgage Note was secured by a Mortgage on. the prope.rty
                         dated June 25, 2007 and recorded in the land evidence records of the City
                         of Providence in Book 2853 Pagc 280, which named World Savings Baiik
                         as Lender and as mortgagec.

                               198. The mortgage loan is a"federally related mortgage loan" as
                         defined in 12 U.S.C. § 2602(1).

                               199. On or about November 15, 2014 Plaintiffs,- by their attorney,
                         mailed a letter to 'VVells Fargo requesting the name of the owner of the
                         Mortgage Note and clearly alerting Defendant to the fact that their request
                         was being made pursuant to TILA, U.S.C. §15 1641.

                              200. A copy of Plaintiffs request, the original ofwhich PlaintiiTs'
                        attorney signed and mailed, is attached hercto as Exhibit L along with Postal
                        Form 3811, the certifed.receipt form attached as Exhibit L, which indicates
                        that Defendant received this letter on November 21, 2014.

                               241. The Request was mailed by certified mail, return receipt
                        requested, having an article nuinber 7014 2120 0000 7201 4706. The
                        Request was mailed to the address noticed by the Defendant on its website
                        as the designated address for requesting such information as provided for by
                        12 CFR Section.1024.36(b).

                              202. The Request was received by the Defendant on November 21,
                        2014 as evidenced by United States Postal Form 3811 attached hereto as
                        Exhibit L.


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                             203 ' T.he Plaintiffs' Request for Information requested pursuant to
                        TILA, the identity of the owner of the Plaintiffs' mortgage loan.

                                204. Wclls Fargo and John Doe, did not respond to Plaintiffs'
                        request for the owner and holder of the M.ortgage Note and the name of the,
                        servicer and Master scrviccr as requircd by 12 U.S.C. § 2605(c), thus
                        violati.ng 15 U.S.C. § 1641(f) with respect to the Mortgage Loan.

                               205. On. or about March 6, 2015, the Plaintiffs sent a written notice
                        of error to the Defendant that included the name of the borrower, the identity
                        of the account, the property description and stated the information requested.
                        This request was made pursuant to 12 CFR § 1024.35.

                              206. The Notice of Error was mailed by certified mail, return receipt
                        requested, having an article numbcr 7014 3490 000 3889 0125. The Noticc
                        was mailed to the address noticed by the Defendant on its website as the
                        designated address for requesting such information as provided for by 12
                        CFR § 1024.35.

                               207. The Notice was received by the Defendant on March 14, 2015
                        as evidenced by United States Postal Forn13811 attached hereto as Exhibit
                        M.

                               208. The Plaintiffs' NNotice of Error referenced failure on. the part of
                        Wells Fargo to respond to the Request pursuant to TILA to provide the
                        identity of the Plaintiffs' mortgage loan.

                               209. The Plaintiffs have incurred actual damages, costs and legal
                        fees in regard to this claim:

                               a.      They have incurred costs for gasoline to visit their attorney on
                        at least three occasions, driving to their attorney's office for a rotuid trip
                        totaling 9.2 miles. The IRS standard mileage allowance provides for .56 per
                        mile.

                              b.     they have incurred costs for postage, stationary, envelopes and
                        copying far this Request.

                                  C.  They have incurred attorney fees and costs for the prosecution
                        of this action. Their fee agreenient with their attorney provides that they will
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                         be responsible for legal fees expenses incurred in regard to this action. They
                         have agreed to pay legal fees at the rate of $400.00 per houi• or out of Court
                         legal work and $450.00 per hour for in Court legal work. -

                                   WHERFORE, Plaintiffs demands Judgment against Wells Fargo and

                         John Doe jointly and severally for statutory damages ofat least $4,000.00,

                         each plus actual damages, plus attomey fees and costs.


                                                                      MA.RYANN MATHEWS
                                                                      K.EVIN M.ATHEWS
                         September 2, 2015

                                                                      !s/ John- B. Ennis
                                                                      JOHN B. ENNIS, ESQ., #2135
                                                                      1200 Reservoir Avenue
                                                                      Cranston, Rhode Island 02920
                                                                      (401) 943-9230

                                                     COUNT V

                                             INJUNCTIVE RELIEF

                                  210. Paragraphs 1- 209 are incorporated by reference.

                              211. Exhibit A sent to the Plaintiffs by Wells Fargo indicates that the
                        promissory note was endorsed and is not owned by Wells Fargo.

                              212. This note is not a negotiable instrunlent pursuant to the
                        provisions of the Uniforrn Cotmnercial Code.

                             213. The endorsement indicates that the loan was sold by either
                        World Savings Bank or a successor in ititerest.

                             214. As a result, Wells Fargo is not authorized to enforce this
                        Mortgage as thc iiote indicates that it was endorsed.



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                                215. There is no indication as to when the endorsement occurred or
                         the alleged cancellatio.n. of the endorsenient occu:rred.

                               216. The Plaintiffs secks a.Mandatory Injunction and Prcl:iminary
                         Injunction against We11s Fargo from commencing or continue an illegal
                         foreclosure action without authority to take said action.

                                217. Plaintiffs have a substantial likelihood of succesa in the pending
                         action, would otherwise suffer irreparable hartn and can claiin the greater
                         hardship in the absence of an order, which will not disserve the public
                         interest if imposed.

                                218. The endorsement on the note indicates that Wells Fargo is not
                         entitled to enforce the inortgage or note.

                               219. Plaintiffs have incurred legal fees for the prosecution of this
                         action.


                                   WHERFORE, Plaintiffs demand that this Court:

                                  A.        Preliminarily and perma.nently restrain and enjoin We11s Fargo
                                            and Orlans Moran from commencing any further foreclosure
                                            actions.

                                  B.         Grant all other just and proper relief.


                                                                               MARYANN MATHEWS
                                                                               KEVIN MATHEWS
                        September 2, 2015

                                                                               /s/ John B. Ennis
                                                                               JOHN B. .ENN.IS, ESQ., #2 a 35
                                                                               1200 Reservoir Avenue
                                                                               Cranston, Rhode Island 02920
                                                                               (401) 943-9230


                        PLAINTIFFS DEMAND A TRIAL BY JURY
                                                                       35
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                                                         CERTIFICATION

                                   I hcreby certify that I emailed a copy of the within Amended

                         Complaint to the following on the 2°d day of Septeinbcr, 2015.



                         David E. Fialkow, Esq.
                         K & L Gates, LLP
                         State Street Financial Center
                         One Lincoln Street
                         Boston, MA 02111

                                                                         /s/ John B. Ennis




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                                                    EXHIBIT A
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                      WORLD SAVINGS BANK, FSB




                                           ADJUSTABLE RATE MORTGAGE NOTE
                                                            PICK-A-PAYMENT efR LOAN
                                  WACHOVIA AVFRAGE DEPOSIT ACCOUNT RATE (COST OF SAVtNGS) INDEX

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                         AND MY UNPAIO PRINCIPAL BALANCE. MY MONTNLY PAYMENi IN6REASEB. MY INTEREST RATE INCREA6E8
                         AhD MY PRINCIPAL BAtANCE INCRPJISEb ARE UMITEO THi9 N07E tS eECUiteO BYA eCCtXi1TY INBYROMENT
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                      LOANNUMBlR 0046377897                                                         DATE June 26, 2007



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                      PROPERTY AODRESS 61-53 OUTLOOK AVE, EAST PROVIDENCE, Rt 02911-1244




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                      g FEDERAL SAVlNGS BANK, 1T9 SUCCEBSORS AND/OR ABSIONlEl, o, anyone to whom 1h6 Note ts homfe/nd




                        2. INTEREST

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                          (B) ArnourttolMyinItlalMonthtyPayments
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                     9aehens 3(C) and 3(D) belbw My nmYl monthly payownl smeurN ves relaCted by mE from o ranga ot mArel peyment amounts
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                     that dsy every 12th men(h IhereaRer Each of these doles n raaed a'PeymeM Chanpe Dale" My nronthly peymenl wdl elso
                     chsnge al any teno l:eei+en J(F) or 3(G) belew requ.as mo to pay e dd(arent ameuM



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                     Saraun 3(F) or 3(0) bslow
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                     svmaeni to pay Ihe unpsld prneqal belance, Indudin0 any dererred Interesl es desaibed In Seeben 3(E) bebw, topather vmh
                     ud►rest al tha mtafesl rats m effeet on tho day el calwiahon by Cte Matuldy Dsle tbwavel, tho amounl by whwh my PGymohl cen
                     be rflorlaaa0 Wtg nol be n10te than y1/29L o( 01e iheh exrdrnp Pnnqpel and rrNartat payman( lyaa 741211 amealmlr ra oellnd the
                     'Psyment Cap • The Lentler +M perform thu Paymerd Change oalwiebon ol bast SO Dul not more aton 90 days before bw
                     Payment Change tlala                                                                               .


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                              le)  Oeterred Intereal; Add)hona to My Unpard Principai
                            From kme lo trmo. Iny nlonthly paymerea may be rneunayent to pay tlle total amount ol nromhrlr mhraet Iha1 ra due n thea
                       aocurs, Iha amouni or e+lenst mel la rol pood esCh month, ceted'Da"ed Intereat' wdl be added to my Pnncipnl and wtn a[aVe
                       rmareat al the same rMa as Oha PrurCroal

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                       as a raew of the edddlon ol dehrned mterest to my unpsad pnnmpel balenca, the Pnnapel 8alenee Cap Inn(atmn wmM be
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                       and J(0) abovo, I wdl pay e naw manthfy P+yment whxfi ra equal to an amouM tl+sl wal M suaicaent to repay my thon unpaid
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                       akubud ea daaanbad m SeNa,n J(D) above oacept Ihet tAo Payment Cap lanrtatwn vnl not epply AddAbnaay, the Paymant Cap
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                       legerdkaa of any rohee requrament, 1 o0m ihat Lander may, upoh dleoovery df such lehue. then mske teo ad)uKmenb sa d they
                       had bean mode on tnne t also ayree nol to hoq Landa r refponerMo for any damages to mv whrch msy rowa trom Londer'a tanuro
                       to maka thu admslmonl and to let the Lantler, at ds opton. eppty ahy excess monwe whah 1 may have pardto perhel prepaymant of
                       unpard Prnupal

                         6 sORROWfiR'G RIOIIy PO PREPAY
                             1 have the r)nht to rnake paymants of prtncipal at any time hMore they are due. A payment ot
                       princlpal before R(s tlue is capetl a"Prepayrttont". When t meke a PrepsyrneM, t will te►7 the
                       Lentler in writing that 1 am doing so, The Lender may require that any psntal prepayments be
                       made on the date my regularly acheduted payments are due. 11 1 make a partiat Prepaymertt, there
                       vritt be no changes (n the due detes or amottnt ot my ee0utarty scheduted payments un)ess the
                       Lender agrees to those changes in writinp.

                       ( may pay Ikferred iMerest on lhis Note at any tinle without charge and such payme►q will not be
                       considered a"Prepayment" o! principal. Ouring the first year of the loan term it I make one oy
                       more Prepaymenta that, in the aggregate, exceed S6,000 at arry calertdar month, I must pay a
                       prepayment charge equst to 2'K ot 1he amount such Prepaymente exceed $5,000 In that calendar
                       monih. After Iha f)rst year oI the loan tenn, I may rnake a fbil or partial Prepayment wlthout paying
                       any prepeyment charge.




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                       iwn charpes Coaeded or lo be oadeded m eomactan wdh flwe loan eaesed the pennhed hmas, then (i) arry aueh loon eharpe sAall
                       be reduard by the emoun( neceasery to reduce the char0e to the permraed hrM, ar+d (a) any sums shaedy tohdad hom me whrth
                       e:ceaded permMed hmda w+a ba relunded te me The Lender may choew to maka tha wfund by r►ducmg e+e Pnnnpal 1 owe under
                       thr: Note or by m0rn0 a dnecl payment io me If a rehrntl teduoas Ptnopal, lne teduclton wdl bo tt9aled as s padlel Prepayment

                         y e0fIROWER'6 FAILIIRE T'O PAy AS REOtI1RED
                            (A) Late ChetOes tor oyardue Paymants
                              It tha Lender Me noi recarad tho fWl amoure of eny menlldy peyment by the end of 18 <alerxfar deya aRer the d■to d rs due:
                       I wd) pay e Nre drarge to the Lender TAe amouM of rhe charae wul ba 5.007{ or my orerdue payrnent ce Prncrptl and mtereal 1
                       wdl pay tMs lele ehar0e premptN bul onyr onca on each late peyment                          '                       •



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                    my pmmrsas Or apreements under ttrn Nole or the Senurdy Instn+manl, at (ra) any statemerd made rn my appAotron lor INs ban
                    was tnelenalty raise or mniestlmq or rf any statament m my appiw;atmn for thrs ban wss msterolly Nise or anstearMp by reeoon or
                     my omrtLen ot canem feale, ar (rr) I neve medo sny other statement lo Landar m cunnacban vnth traa tcan mat n melanalfy raWs or
                     wuatastlag

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                             If 1 am rn dshull, fha Lender may send ma a wntlen nobce, cayed 'Notice of Defeun ` bnnp me thot d 1 do not psy trte
                     overdua anl0unf by a eenern date, Iha Lender moy require me lo pey rmmedmtoly lha amoum ol Pntrupsl whth hu nol b•an perd
                     and all the rnterost Ihol I owe on Ihat amount, plus sny omer ammnfs due undar tM Saeurrty Instrument

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                     Lendet nU sUl hsvs the npht to do ao if I em In delaull sl s blerhna

                           (E) Payment of Lendera Coste and Eepenaes
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                     prohrtAod Cy apppcable law Those expenaes may mcwde, for exemple, roeeonabk rlomaya' rees and eouH costs

                     S.      OIWNa of NOTICES
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                     deirrennp d or by mertmp d try 6rs1 rdaae mad to me or srry eanowor al 61-63 OUTLOOK AVE. EAgT pROVIDENCE,
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                     statemaM I may dewpnale enly dne madm0 add(aaa al a timo tor notrnweon purpoqrs

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                     nohoe ef nwl drnareM addresi


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                     of Ihe pmrroset made n tins N01e T,e Lender mey tnfarce le rghls untlar Ras Note aoomsl eaM pereon etlrvrduelh or epamst aA
                     Of ue fotNlhor Tlas meana Ust eny orre of us may be raqurred lo pey oA of Ihe amounts owod undar thrs Nole


                     10. WAN@Ry
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                     aacelerslren, and prolasf •Presentment' means tne rrphl Io tepmre Ihe Lender lo tyomand psymAnf ot amounts due -Noboe of
                     LMMnof ineant 0» rgM to roqwra Ihe tendar to Owe notroa b on+er paraons Ihat amoums due heva not been pod


                     It. SECURe0N0'fE.ACCELERATION
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                     p'.os the Lender seourdy asarnsl whrch rt may proceed d I do mt koop IM promrses whtch I mada m ttus Note Thet SecurRy
                     tnetnment detorrbet hew antl tmder what eonddrons 1 msy be faQwred to fmko rmnrdalo payment n Ma of aa anaunfe 1 owe
                     wdar Mra Nele and rnabdas tM toeowrng Paropreph 26.1


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                           EYcaetipn to Actelaration of Pavfnant ot Surlt-e 8aeured if the sale or tnnefer of atl ar any parl of Ihe fkopotty, or
                           of a banesaal IMuut m Dorrower, d Banowar u not a nalurat Porsan, n ine Ilrst ono to oocur af)v pw date of thro
                          Sacurdy Instrumenl, Lender wr11 not axerdrea tha ophon lo accelerete psyment m fun of ati Sums Secured erd tAe laen
                          may ee aasran►d u


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                          tnmfefee aa d a new losn vnre berng mede io fhe freneteeee by Lander,


                                        (ol     Lentler apqoves the credh.orttaness ol the Imrrstetes n wnhng,

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                                     pwl an aseumprnn foa, uI an anaunr to be datsemmed by Lender (bN not W excsed 191 of the betanee of
                          Pnncoal and interest due untler tha Bacured Nobs at Ifv Ilmo of ■alo or Iranefirr ol M Preperty or aftha ntorod m Iha
                          8orrmvn) fa paw! lo Leftdn, and

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                          Ihe dete of a tolo or b,.nsfor of the Property or berraMat mtoresl In gortawa ptro S percemage potnts, d mst sum
                          axoeada Ihe Lrtebma Rate Csp statad h the Secured Notae


                      12. C,oVERNINr}LANI;BEYERABILITY
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                     lo+ rndaraby entrtend uvrnge InaatWont etnad'iodaral Law.' In the awnt that any of llw tannt a prowarone ot Iha Noh
                     are tnttrpreled or banslnrfd by e eourl ot r:ompalert (unsdkbon to bt ropd, rnvekd or unenfruuabk. aUWi defmn shelf eRed onty
                     these provrarons so eonsbued or tniarpreted ond shatl not affect Ihe rememmp proYymne Of thls Nete


                      12. CLBRICALERRORB
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                     eonputer evor, pnntrng ertor or sm0ar error. I agna, upon notice fmm tM Lender, lo reaxoMe any loen boevrMnls thal are
                     neqasary te coveet any swch errer(s) and I o4o egree (naf t vnu net hoid tha Lander reepotrwble tof ahy dsmaqe W fne vdncn msy
                     nsWt kom any aveh tnot


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                                                                    StGNATURE PAGE

                        NOTICE TO BORROWER(S):

                        6Y SIGNiNG THIS NOTE YBU AGREE TO PAY A PREPAYMENT CHAROE IN CERTAIN
                        CIRCUM8TANCES. PLEASE CAREFULLY READ THIS ENTtRE NOTE 4INCLUDING THE
                        PREPAYMENT PROVISION) 9EFORE YOU SkiN fT.


                                        WITNESS THE HANO(S) ANO SEAL(S) OP THE UNDERStGNEO



                                        (PLEASE SIGN YOUR NAME EXACTLY AS ITAPPEARS BELOW)


                                                                     BORROWER(S):




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                      WORLD SAViNGB BANK, FS8




                                           ADJUSTABLE RATE MORTGAGE NUTE
                                                       ' PICK-A-PAYMENT'D' LOAN
                                  WACHOVIA AYERACiE DEPOSIT ACCOUNT RATE (COST OF SAVINGS) INDEX

                         TN16 NOTE CONTAINt PRC+V181ONS ALL0INING FOR CNANOES IN AIY INTERflBT RATE, MY MONTNLY PAYMENT
                         AND MY UNPAID PRINCIPAL BALANCE. MY M014Ti1LY PAYMERT INCREASES. MY INTEREST RATE INCREASES
                         ANO MY PRINCIPAL BAtANCE INCREABEff AIIE LIMITED TrHB N07E 18 eECURED BYA 6eCURITY m1aYRUMENT
                         OF TNL SAME DATt?,


                      LOANNUMBER 0048377867                                                          DATE JUne 26, 2007


                      eORROWER(s) MARYANN MATHEWS AND KEVIN MATHEW6, WIFF? AND HUSBAND aemotunes mned
                      "8arrowef and somalone s eampty oeMeO'r or'mo "




                      PROPERTY ADORESS 51-63 OUTLOOK AVE, EAST PROVIDENCE, RI 02014-3244




                      1. BORROWERSPROMBETOPAY

                         )n rehrro tor a loan lhal 1 have racenrad, l promea to pay U S $218,600.06 , caled'PreppH,` pAn aNarad, tnd any other
                      ehnrpes muxnd dunnp the cuune ef Bra loan, to Iha order of the Lender TM Lander a WORLD SAVINO.R BANK, FBB,
                      B FEDERAL SAVtNOS BANK,ITB SUCCESSORB ANDA7R ABSWNEES. or anyone to whom ihra NoRe +s bansfenad



                        2. INTEREST

                           (A) leletasl Rsie

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                        rata ot 7.6/0X The rnteract ula 1 wdi pay may ehanSa as dasuibod In thra 6echon 2 Interool wUt be ofnrpad on fiw bms ol a
                        twdve moMh year and a thnty day monlh

                           The rMaresi rale reqomred by Snr Saction 21e the rale I wdt pay both beana and sNar any defavR deaeribed rn 8eebon 718) ol
                      mra Nou

                           t8t   inlereat Changa datas
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                        Each date on r.hreh my mtareat rata coukf eharee ra rbBed an'1Nerest Chanpo Dala" The nnv rvta or mlerost wttl bocoma
                        affeehve ori eech frderes) Chenpa Date         '

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                      3awnDe Inpla or arn aaemate mdsx le ro tonpar evanlabte !t
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                      urWu Ihn Nols, I wAl pay Ihosa amounla in R11 on Ihal dote, whrch u cssed the'61.im4y Oate " -



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                     be nvoraos►d wlll not be rnote then 7•112% of ths Ihen atrdrnp Pnnopal and rrMreet paymanl TMa 7-It?M smdalron ts oalltd fhe
                     "Payment Cop' The Lender wdl potform thu Payment chanQe calouialron o1 baat 00 bul not more etan 00 daya balore tha
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                     cosi                                                        Pasa ]




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                      interest al the same rMe as a+o PrurcAat

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                      exceedad on the dale that my namhy peymenl n due, I wdl meteed pay a new montMy peymerd Nonwdhstandm0 Saatrons 3(C)
                      and J(0) abwa, t wru pay a new monthry paymam wfirc.fi rs aqual to an smourd thst wal be suttkarnt lo repay my Ihen unpaid
                      pnntypal balanbe rn fu3 on lhr MaWrAy Osta at the misteet rate then a1 ettect, m s;betonutly aqual peyments


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                       uknasled ea deacnbed m Seetron 3(0) obove exoepl that the Payment Cep hmdatton vnl rM appy AddRlonatly, the Payment Cap
                       4mdalon wdl net appry on the laud Paymartt Chanpe Oate

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                      Nolrca," befora tech PoymerA Chantp Dete Tho Paymerd Chaiye Nobcewtlt trtdude lnlomvnon raqvired fy law

                         A. PAtL.URE TO MAKE AOJUSTMENTS
                             11 for atry feason tender bda lo meka an ad(astment to the mteresl rate or paymeM emouM ae deaarbad m thw Note,
                      te0erdksa o/ any rohce requremrnl, I egne Ihol Lender my, upoh disocvory ef sucb failuta, then maka the adjuNmanfe aa d thay
                      had bean mWe on hme t also ogne not lo hoM Lendar fespunt.ble for any daina0►a to mo wnKh may rerue trom Londer's Isnuro
                      to maka ttw adWabhant and to let the Lendar, st Its oWam, appk any ekcess moroaa Whxh 1 may tave Patd tn peMat prepeyment of
                      unpatd Prnupal

                        6   BOIMOwfiR'!: RIDNT TO PREPAY
                            1 have Iha right to make payments of principal at any tlme hHore they are due. A payment of
                      princlpal befofe It Is tfue Is cat(ett a"Prepsyment". When I make a Prepaymant, ! wilt tett the
                      Lender In wrifing that 1 am tloing so, The Lender may require that any panlal prepaytments be
                      made on the date my reguiarly echeduted payments are due, If 1 make s partiat Prepaymertt, there
                      vwitt be no changes in the due dalee or amotmt of my requlatly scheduled payrttenta unless the
                      Lender agrees to those changes tn writing,

                      1 may pay  thferred ittterest on this Note at any time without charpe and such paytnertt will not be
                      considered a"PrepaymetTt" of principal. During the first year of the loen tetm it' I make one or
                      mare Prepaymerds thai, tn the aggregate, exceed S6,000 in any caletxfar month, I must pay a
                      prepayment charge equal to 2% of the amount such Prepayments exceed $5,000 In that calendar
                      monttt. After the tirst year ot the loan tarm, I may make a full or partial Prepayment wlthout paying
                      amy propayment charge.




                         a. MAXIMUM LOAN CHAROES
                             It a lew, whrch eppYea to thrs Iuan and wha:h aob meaoman loan charaee, rs famay mlNptated so that the nlerest ar other
                      luan charpea celtacled or le (re oolleded in cofMfadpn wnh Oqe kon tacead the pemvnad bmea, Ihen (i) ary s.iCh laan charge ahatl
                      bt reduerd by the emounl necessary to teduce the charge to tha pernatted hma, and (n) eny sum aMady CoAaoled eom ma whKh
                      osceaded parmdled tunta we be retunded lo ma The Lender may tlroeoe to rmke Ihrt wtund by raduang Te Prwtopal I owe under
                      lhm Nole of by mektna e dutct payment lo ma It e rctuntl ieduooe PmppiU, U>t teduGtton Wtfl be ttaated ea a Wntet Propaymen(

                        y BORROWER'aFAe.URETOPAYASREDItIRED
                           (A) Lale Chafges toe OYardue Payments
                            11 fhe Lander hns nol racmved lhe fua amours of any menlhty peymnnf by tlx end of 1 t<celendar daya aRer era da(e a u due,
                      I wdl pay a bra d,arga ta d,. Lender The amormt of tha atnrpa walt be 5.00% of my overdua pawnant d Prncryal and anOreat t
                      wdt pay flas lete charde prampty bu1 ony ona on terh late payment



                      SOSS)C (lO0400)                               ADIl1STAeLt pIGKJ1-PAYMENT NOYt                                               RT
                                                                                  M1pa 3
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                          IB) DelaWt
                         I wwn be el defaua d 0)1 do not pay fhe Na smouM ef aae.n monmr► paymenl on the date d n doe, or (nj I fad ta perform any af
                    my, Prommses ot arpeamerds under 1hn Nole ar the SeoUrdy Insttumsnt, or (rs) any statement mede rn my apprrsban far Ih.s foan
                     was nrelenaUty fnlaa or mrslosdrnp er tt any slatement n rrry apphcstmn for thrs losn was mslermlly talea or mtakadmp by raescn of
                     my omnsrOn oT errlem (eele. er (N) I neve frode sny other etetement to Lendar in cannoWan wdh Ihrs Iean Ihat M rsetanaNy Adae or
                     naehadelp

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                              If 1 sm tn dahuh, fhe Lendtlf may santl me a wntlen rkrbctl, cayed -Nobce ol Default' teienp me fhat d I de not paq tne
                    ' ovardue    emoWd by a rprlarn date, Iha Lender nwy requtra me to pay rmmsdmtory the amount ol Prmcrpsf vrtsch trss net bsen perd
                     and all lhe rnMest Ihsl I awe on Ihsl emourd, plvs eny other emnunb due under tM Secvnty fmdrument


                              101 Tdo Warver by Lsminr                           .
                              Even d, U e Ima whan I am n dsfsun, tM Lender doas nat reqvxe me lo pey nnmedeleh/ n iWl as deecnbad sbove, th-
                     Lendsr nH s1Al have the rqht to do eo d I em ur delauk al s tstor ems

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                           Tha Lander wil )uve tlre rght to be perd back by nw tor sg of ds aests end erpenses tn enforem0 tivs NMe to tha extard nbl
                     prohibpted by apphcable Mw Thoee erper»es msy mctuds, fot ekampfe, nsaon■bie attornays' fees and ooud eosts

                     11.      OtVNiO OF NOi10E9
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                     dalNennp d or by nvrhnp d by firal dasa mad to me or any Banower at 51-63 OU11.001( AVE, EAST pROVIDEfdCE,
                     Rt 02914-1244, or al s smyls alternebva addrese d 1 owe the Lentler noeca of my atletrWido eddress I nay pw nobar to
                     Lender ot a ehanps rn my addrese n wming or by uthnp Lende/s oustomsr servrca tafeptons nombor p(ovrcted on my bdbnp
                     stderrNnl 1 may ddupnala enqr one msdmp addr.ss ef a trme for nofficobon pvrpoaos

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                     by medlnp a by Int c4sa msN Ip ths Lender et Ihe addmas sUted m Secuon NA) abo.e or et a ddbrenl addrees d 1 am otvan a
                     noboa of pnll tlinerent addreaa


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                      Note, rncludn0 the Pmmoe t0 pey the rull amoMt owetl Any person wTio lakes over Ouee oWNalqns s aleo obYosted lo Isnp ap
                      of Ihe prormses msde n ttes Nols The Lrnder msy enfurce its nphls undar 9ss Nole eqemet eeeh person stlfNMualfy of aqamat ea
                      of ue IoqNhar Tlxs mesrra IMI any one ot us may bs requrred to ps y atl of Ihe amourtls owsd undar lhrs Nolo


                     te. tNANERg
                          1 and en/ atner peraen who hae obtgabona Vntler We Nota wswa the uphts bt prrpntmenl, noace nf dnhonor, rrohm of
                     ecceletatioh, end protesl 'Presrntrnent" means the nfAt lo fetpAne the Leroder to demand paym.arR of ammnte due -Nebee of
                     pnAenaf rnsaM IM rght lo requtr! Ne Lender to pne nohoe to olher psreons Ihal amounts due hava nd baen perd


                     11.      SECUREO NOYE. ACCELERATION
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                     pves tha Lander aeewdy aaamst whn:h d nny proceed d I do rol kesp the promtses wMch 1 made m tMs Note That Seturay
                     MatrtMvM deterlbos how and undet whsl oonddwne I msy be reqwred to maks imnwdole payment m kA ot an amounts 1 ows
                     undsr this Nole end mebdes the t000wmo Parapraph 261


                              AOREELIEtdT6 ABOUTLENDER'9 RIONTfi IF TNE PROPEATYIS taOL00R TRAN8FERREI,1

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                           eMhout Landera pnor wrdtsn permratron Lendnf elco mny, at M ophon, raquxm Immadpte paymMl a1 ru9 rt 8ormwer o not
                           s naturst Psrson and s benellr,rol mlerest m Borrowar te seld er Innsfened wdheul LarWer's pnor wrdten permmnion
                           Nowevar. Lander ehallbot requra anmedmle peymeni pr ful d thq Is prbhrbded by Federal Law m etteol on tho dtls of ths
                           Seeunty Malnlmtrd


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                              psy aQ Buns Secured by thrs tSeOunty Inslrumsnt mmmedtaNh/, Lorwlar may lten or thersenor mvoka any remaWas
                              permMed by Ihra Securny Inslrument wdhaut fulther noboe lo ot dtlmehd on me




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                           Fecsntmn to Accela»tlon of PaNew11 of Sama Securgd, 1t Me aale or trenstsr of all ar any part of Ihs Pmporty, or
                           of a banodenl mUrast m Borrowdr, d Benowar rs not a naturat Psnen, n the dnt ono to ooctu eflsr the riate of thrs
                           8ecurdy IncWment. Lsnder wdl not axerolse ths ophon io secelsrete paymerd m M of all Slmrs Secured and the loen
                           roay be essunsd d


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                           trohslerea as d a new loan wsre berng rneds to 1he trensteree by LerMer,


                                          (irl   LanderapproveslhaueddMortivnossotlhelrensfereonwntir+p,


                                          (ni) Ireneforoe makes a cash downpermsn( sume»nl to meet Lender`s Ihen ounent undarwrdmg
                           alondorde,                                        .
                                          (rv) on easvrnppen fee, in an amourM lo be determinad by Lander (btn not to exned 19b of trro beance of
                           PnncOal and Inteteat due undM Oro Seeured Noles at Ihs tlma of asle or (ranaler of Ibs Proporty or offhe mtored in the
                           8arrowe1) n1 psM la Lendv, end

                                          (v)    lhe ttenetarle etactlle9 an esaYMpborl apreamelK wthGb ta sahsfaitory to latndor


                           Tne loan mey be essumed under ds dten exrslhp terma and condslons wdh one esceptron, the Lrfetrne Rete Cap may
                           be chanSed The Ldetmlo Rale Cap shaY be chahped lo an ntarosl rale wMch n Irro stun otowrnterest rele m efpd en
                           lha dste of s sNe or Vanqer or the Property,or DealaMa{ mtarest rn Bonuwar plua S Percentoge pomis, N thst sum
                           exeaeds the Lrtetnne Rate Cep stated n tho Secured Notro


                      12. GOVERNINOLAW;SEVERN9ILITV
                           Thte Note shotl bo gevernad by and eonatrtred under letlarat taw end todorai rutes and rogutahons meludmg thoea
                     /or fnderaby eharterad aavmgs insnlutlono, tolled'pwrarer Law,^ 4r the event that any otlho tarme et Drovraanx or Man, Note
                     are Ifdarprated or eonsuved by s oou+l or wmpelent lunadlctron to be vord, InVsad or vnerdorecebk, auth decenon shan eNed only
                     those provrslens so eonsbued or mtarpreted ond shell nol sRect Iho remernmp prorn»Mot mis Note


                      13. CLBRICAL ERRORB
                          In uIo ovant tM Lender al any trroa diacovals that Ves Note or ew SaeuMy InNrument or any other documere reteled lo thrs
                     losn, cailed coleetNely tho 'Loon DoevR.entt,' coNamn an orror wheh wea eaused by s cleneai rmdake, calwralron onor,
                     computer enor, pnnung ercor or srm4r error, 1 ague, Vpon rw6ce bem tM Lender, to reaxeMe ony Leen Doeuments tM ae
                     neeessary te colreel any orch eaor(s) and I also egree tnat t wW not nbid 1na 4endet reepohNble lor Shy demagb 10 rne whloll may
                     nsurt trom eny such enot


                      14 LOSTr STOLEN OR MfTiLllTfD DOCUMENrB                                                                       ,
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                     rover, upnad by the Lendor, Ihon r vne apn snd 6NWor lo tne Londor a Loen Oooumant Idenlcat In bnn antl eontoMwhsoh w/1 naro
                     IM effed er Ihe orpMl kx ed Durpeus




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                                                           SIGNATURE PAGE

                        NOTICE TO BORROWER(S):
                        BY SIGNING THSS NOTE YOU AGREE TO PAY A PREPAYMENT CHARGE IN CERTAIN
                        CIRCUMSTANCES. PLEASE CAREFULLY READ THIS ENTIRE NOTE 4INCLUDING THE
                        PREPAYMENT PROVISION) DEPORE YOU SIGN 17.

                                         WITNess THE HAND(S) AND SEALIS) CW THE UNDERSIGNED



                                         (PLEASE SIGN YOUR NAME EXACTLY AS ITAPPFARS OELOW)


                                                            BORROWER(S):




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                                        '19



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Submitted: 9/2/2015 5:09:C
Envelope: 318314
Reviewer: Alexa Gonecont
             Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 53 of 147 PageID #: 56
Case Number: PC-2015-1864
Filed in Providence/Bristol County Superior Court
Submitted: 9/2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte




                                                         Johm B. EnYiis
                                                                 AttorncY at Lam
                                                          1200 Xteservoit• Avenue
                                                          Ct•ajaslon, Rltode Istanrl 02920

                   Tel. (401) 943-9230                                                        Fax (401) 946-5006

                   Noveniber 15, 2014

                   Wells rargo Home .Mortgage
                   P.O. Box 10335
                   Des Moines, IA 50306

                   Clicnt: Maryann 1Vlathews
                   Property Address: 51 Outlook Avenue
                   East Providence, RI 02914
                   Accourtt No.: 0046377567

                   Re: Request f'ot• Itcniizeil I.'ayof'f Stat4nicrtit y'ut-sti.rnt trl Section 1.026.36 of I+;Cgttlatiori Z

                   Dear Sir or Madam:

                   Tlris is a Reyuest for an Itemized Payolf Stat.eincnt relatecl to your servicirzg of the mortgage loan
                   ol tlre above-named client. All refcrences .hcrein are to Regulatio.tt Z of thc Mortgage Servicing
                   Act as.amended by the Consu,ner rinanciaI Protection C3urettu pursuant to the Dodci Fratil: Act.

                   'The written authority of the client to iny 1aw Cirnl lor tliis Request is attacliecl hereto and
                   i.ncorporated Iterein by tliis rcfercnce.

                   Pursuatit to Section 11126.36 of Regulatioti Z, you niust within seven (7) clays (exctudinc legrtl
                   public holidays, Saturdays an.d Suixdays) provide iny office witla an Ttexnizecl I'ayofl' I3alatrce.
                   Please note that under this section, you rnay cllargc a reasottttble fee for providing tlte consunicr
                   with this itemizcd statetnent.


                   Siitcerely,
                                         IZ;A-~.
                   Jo11» B. Ennis, Rsq.
            Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 54 of 147 PageID #: 57
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                                                    EXHIBIT C
            Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 55 of 147 PageID #: 58
Case Number: PC-2015-1864
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Submitted: 9/2/2015 5:09:01~
Envelope: 318314
Reviewer: Alexa GoneconteG:




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              Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 56 of 147 PageID #: 59
Case Number: PC-2015-1864
Filed in Providence/Bristol County Superior Court
Submitted: 9/2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte



                                                            John B. Ennis
                                                                 Attorriey arLow
                                                         1200 Reservcrir Avenue
                                   ...
                                         .. ~ . . L1.
                                                         CrAnston, Rhocte Island 02920
                                             i..
                     T'el. (401) 943-9:601 i'                                                       F»x (401) 946-5000

                     Marcii h, 2015

                     Wells Fargo Honie Mortgage
                     P.O. Box 10335
                     Des Moines, IA 50306

                     Client: Maryann Mathews
                     Property Address:,;.5.1.0utlook Avenue
                     Cast Providenr;~b,.l~I 02914
                     Account No.:''1O(146377867

                     Dear Sir or Madam:

                     Please consider this letter to constitute a Notice of Error under 12 CFR Sectiori 1024.35 of
                     Regulation X of tlte Mortgage Servicing Act under RESPA, which Regul.ation becainc effectivc
                     on .lanuary 10, 2014. These amendments ianplemented the Dodd-Frank Wall Street Reform and
                     Consuiner Protection Act provisions regarding mortgage loan servicing. Under tliese
                     amendnients, you rnust acknowledge receipt of this Notice within five (5) days thereof
                     (excl.uding legal public holidays, Saturdays and Sun(lays) and must advise nre of your responses
                     to this notice within thirty (30) days of receipt thereof (excluding legal public holidays,
                     Saturaays and Sundays).

                     The writterrauthurity of the client to rny law firm for tliis Request is attacthed liereto and
                     incorporated he,r~~z
                                    ~     hy this reference.

                     Under Sectioxi 1024.35(b) of Amended Regulation X, the term "error" means the following
                     categories of covered errors:

                     (1) Failure to accept a payment lllat confortns to the servicer's written requi.rernents for the
                     borrower to follow in making payments.
                     (2) Failure to apply an accepted paymen.t to prirrcipal, interest, escrow, or other charges utnder the
                     terrns of the mortgage loan and applicable law.
                     (3) Failure to credit apayment to a borrower.s mortgage loan account as of the date of receipt, in
                     violation of tlie-kr.:. ~. pt crediting provisions in 12 CFR 1026.36(c)(1).
                     (4) Failure t;.p4~.; a.xes, insurance preiniw.ns, or otlicr cliarges, including chargcs that the
                     consuiner has~voluntarily agreed that the servicer should collect and pay, in a tiinely inanncr as
                     required.by, the escrow provisions of § 1024.34(a), or to refund an escrow account balance as
                     required by $-1024.34(b).
                     (5) Imposition of a fee or clharge that the servicer lacks a re.asonable basis to impose upon the
                     consumer, which inclq.des, for example, a late fee for a payrnent that was not late, a cliarge you
                     impoSed for a service that was not provided, a dei.`ault property-nxanagenlent fee for consunicrs
               Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 57 of 147 PageID #: 60
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Envelope: 318314
Reviewer: Alexa Goneconte

                     who are not in a delinquency status that would justify the charge, or a clharge for force-placed
                     insurance provisions.
                     (6) T'ailure to p:ovide an accurate payoff balance ainount upon a borrower;5 request pursuant to
                     12 CFR4026.36(c)(3).
                     (7) Failure to provide accurate information to a borrower for loss rnitigation options axid
                     foreclosure, as recluired by the early intcrvention provisions of § 1024.39.
                     (8) Failure to accurately and timely trans.fer information relating to tbe servicing of a borrower :s
                     inortgage loan adcount to a transferee servicer.
                     (9) Making the first notice or filing required by applicable law for any judiciai or non audicial
                     foreclosure process in violation of the loss ni.itigation procedures of § 1024.41(f) or (j).
                     (10) Moving for foreelosure judginent or order of sale, or conduction a foreclosure sale in
                     violation of the loss mitigation procedures of tliis rule § 1024.41(g) or (j).
                     (11) Any other error relating to the servicing of the consumer's rnortgage loan. 1'lease note
                     "servicing" is defined in § 1024.2(b).

                     The consunie~ ,rG17tliis case believes tltat you clid noE provide a borr•ower with rrn iteniized
                     pryyoff statement witliin seven business days of receipt of a request pursunnt to 12 CFR
                     I026.36(c)(3). You received this request on November 18, 2014 and have not respoitdeci.

                     Please correct all.!tf these errors and provicle rne with notification of the correction, the date of
                     the correction,t~abtd ctintact inforination for further assistance; or after conducting a reasonable
                     investigation and providing the borrower througli my firm with a notification that includes a
                     statern.ent that the servicer has determined that no error occuxred, a statement of the reason or
                     reasons for this determination, a statenient of tlie borrower's right to request documents relied
                     upon by tlie servicer in reaching its deterinination, infonnation regarding llow the borrower can
                     request such documents, and contrtct inforrnation for further assistance.

                     Please be advised that for 60 days after receipt of a Notice of Error, you niay not furnislh adverse
                     in.fortnation to at;y consumer reporting agency regarding any payment that is the subject of ttie
                     Notice of Error pursuant to § 1024.35(i).

                     Sincerely,




                     3olan B. Ennis, Escl.
                Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 58 of 147 PageID #: 61
:ase Number: PC-2015-1864
'iled in Providence/Bristol County Superior Court .
iubmitted: 9/2/2015 5:09:01 PM
:nvelope: 318314
teviewer: Alexa Goneconte




                                                       JOhn B. Eniii5
                                                               Attorney ntL<asi,
                                                       1200 IRcsei-vair Avenue
                                                       Ct•.visten,l2hucle Isl:und 02920

               Tel. (40:1) 943-9231r                                                         Fax (401) 946,5006

               Noventber 15, 2014

                Wells Fargo Holzze Mortgabe
               P.0.13ox 10335
                Des Moines, IA 50306

                Client: Maryann Mathcws
                Property Address: 51 Outlook Avenue
                East Providence, RI ()2914
                Account No.: 0046377867

                Re: T{equest fo,• It<;toized Payo[f Statettneirt 1'ur.siraait 1-13 SectiUr; 1026.36 ol'Rel;ulatiosi `L

                Dear Sir or Madarn:

                This is a Recluest {'or an Iteinized Payof-t Statement relatecl to your servic.ing oI tlte tnoxtgitge loitn
                o1: tlre at:ove-iiarncrl clicsi.t. All refcrences bereiii are to Regulati.on Z oI tllc Mortgabc Scrvicin;
                A,ct as arnendeci hy tlle Consurner Pitaancirtl 1'rotection I3Lireau pursuant to the Dodd rratnl, Act.

                Tlle wr'itten authority of tlle clacnt to llly law flrlll tor thi.s Request is aftaclle{1 llereto and
                incorporated herein by thi.s reference.

                Pursuaat to Sectiou 1.026.36 of Regulation Z, you rnust witliin scven (7) days (eacltltiina legal
                public llolidays, Saturdays and Sundays) provide rny o.flice with an Xtennlizecl Payolf Balance.
                Please notc~ tlii,t ::11611 '611=:s scction, you riiay cliargc a reasonable fee Cor providing tlie coYrsuti-ict,
                witli tliis itelnized :;tatement.


                Si.nc;erely,
                    ~\ n~ ~ C;^.~'•,~

                J'o11nVI3." I;'`nnis, a-q.
            Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 59 of 147 PageID #: 62
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Submitted: 9/2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte




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         Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 60 of 147 PageID #: 63
Case Number: PC-2015-1864
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               Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 61 of 147 PageID #: 64
Case Number: PC-2015-1884
Filed in Providence/Bristol County Superior Court
Submitted: 9/2/2015 5:09:01 PM
Enveiope: 318314
Reviewer: Alexa Goneconte




                                                    JDhn B. EiIIl1S
                                                           rittot•rtcy at Gaw
                                                    1200 Xteservuir Avenue
                                                    C;i•nnston, Itlmde Island 02920

                Tel. (401) 943-9230                                                   Fax (401) 946-5006

                Noveiliber 15, 2014

                Wells Fargo Home Mortgage
                P.O. Box 10335
                Des Moiiies, IA 50306

                Client: Nlat•yanri lvlathews
                Property Address: 51 Outlook Avenue
                East Providence, RZ 0291.4
                Accou,it No.: 0046377867


               Re: Qualified Written Reguest and Reqtiest for• Xnforrnatictn X'ur•suant to
               Sectian 1024.36 of Regtilation X       ,

                Dear Sir or Madarn:

               This is a RccJuest for Information related youi- scrvicing ol' the niortgage loan of tlae
               above-named elient. All references herein are to Regulation. X oi' thc Mortgage
               Servicing Act as amended by t{ic Consumcr Financaal Protectiozi Bureau pursuant
               to the Dodd Frauik Act. Please riote that th.ese ticw Rcgul.ations becarne effective oil
               January 10, 201.4.

               The written autliority of the clicnt to my la.w firni for this Rcquest is attaclxcd
               hereto and incorporated liereixa by this refcretice.

               Pursuant to Section 1024.36(c) of lZcgulation X, you iiiust witliii7 five (S) ciays
               (excludi,ng legal pu.ulic llolxdays, Satu.rclays Ltiad Sualdays) provi.de 7.ny offa.ce witli a
               response to this Request acknowl.edging rcceipt ol tlhe same.

               Pursuant to Section 1024.36(d)(ii)(2)(A), not {ater than ten (1.0) days (cxcluding
               public holidays, Satur•clays and Sundays) al:ter you x'cceive tllis recluest for
              Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 62 of 147 PageID #: 65
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Submitted: 9/2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte




              informati.on you must provide zne witli thc identify of, at7d address or other
              relevant eo.nl<ict informatiori for the ow»er of the mortgagc: loajY identifiecl liereiil.
              For all of the other information requestecl llereiai, and ,pursuant to Sectioxa
              1()24.36(d)(ii)(2)(B), you must respond not later tllan thirty (30) days (cxcluding
              legal public holidays, Saturdays ayzd Sundays) aftcr you receive tllis request for
              inl•arzx~atiot~ .             .


              1.     the ziaxrac ancl addres;> of the actual, owncr of tny clicnt's mortgagc along
              wit11 the date said mortga.ge was tTansferred;

              2.     the nanie aald address of any owiiers of rny cli.ent's mortgage along witlh the
              ciate said inortgage was transferrcd to each- owner.

              3.     Plcase provide a.uy documents that indicate how the mortgage was assigiied
              to the current mortgage liolder and to eacli, owner of the rnortgagc;

              4.         tlle nClIE] :; ~i1.11a ,).ddress
                                              of actual owrier of: my clients' pronaissory »ote ~lloiig
              witli the da.te said t~ote was transferred; and

              5. . the uaxile and address of tlae each owrie:r of any cliciit's prona:issory iiote
              al.ong wi.th the dat:e said note was transf'cri-ed. io cacli owilei•;

               6. ' please providc any documents that i.ndicate laow tlie notc was transferred to
               eithej• i:he cur•zent note liolder or any prior note bolder or llow the mortgage was
               assigned to the current imrtgage holder or any prior moz-tgag,e holder;


               Sincerely,


               Johil B. En71is, Esq.
             Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 63 of 147 PageID #: 66
Case Number: PC-2015-1864
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Submitted: 9/2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte




                                                    EXHIBIT E
            Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 64 of 147 PageID #: 67
Case Number: PC-2015-1864_
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               Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 65 of 147 PageID #: 68
Case Number: PC-2015-1864
Filed in Providence/Bristol County Superior Court
Submitted: 9/2/2015 5:09:01 P'M
Envelope: 318314
Reviewer: Alexa Gocieconte


                                                           John B. l;nnis
                                                                A[torney at Law
                                                        1200 Reservoir Avenae
                                                        Cranston, Rtfnde Island 02920
                   Tel. (401) 943•9230                                                             Fax (401) 946-5006

                   March 6, 2015

                    Wells Fargo Home Mortgage
                    P.O. T3ox 10335• ~ - _!.
                    Des Moines, IA  `?3(j6
                                 ,. .,..

                    Client: Mar,yanr Matliews
                    Property Address: 51 Outlook Avenue
                    East Providence, RI 02914
                    Ar:count No.: 0046377867

                    Dear Sir or Madatn:

                   1'lease consider this letter to coristitute a Notice of T;rror under 12 CFR Section 1024.35 of
                   Regulation X of the Mortgage Servicing Act under RLiSPA, which Regulation becanlc effective
                   on January 10, 2014. These ainendrnents implernented the Dodd-Frank Wali Street Reforni arnd
                   Consurner Protection Act provisions regarding niort ;age loan servicing. Urider these
                   amendrnents, you must acknowledge receipt of tlris Notice within five (5) days thereo(
                   (excluding leg: ,           ltolidays, Saturdays and Sunclays) and :lnust advise n1c of your responses
                   to this notice ;, `-. i thirty (30) days of receipt thereof (excluding legal pubiic holidays,
                   Saturdays and 8undays).

                   'I'he written authority of the client to my law firm for this Request is attached hereto and
                   incorporated herein by this reference.

                    Under Section 1024.35(b) of Amended Regulation X, the term "error" m.eans the following
                    categories of covcred errors:

                    (1) Failure to accept a payment that conforms to the servicer's written requirerncnts for the
                    borrower to follGw iiS- nlaking payments.
                    (2) Faihure to ztppi;y a:n aceepted payment to priiacipal, interest, escrow, or other clharges under thc
                    terms of the rnortgage loan and applicable law.
                    (3) Failure to erp-';t x nayment to a borrower;s mortgage loan account as of the date of recei.pt, in
                    violation of the prompt crediting provisions in 12 CFR 1026.36(c)(1).
                    (4) Failure to pay (axes, insurance premitirns, or otlier charges, including charges that the
                    consumer has voluntarily agreed that the servicer sltottld colleet and pay, in a timety rnanner as
                    required by the escrow provisions of § 1024.34(a), or to refund an escrow account balance as
                    required by § 1024.34(b).
                    (5) Impositi.on of a fee or charge that tll.e servicer lacks a reasonable basis to impose upon the
                    consumer, wliich includes, for exa;<nple, a late fee for 1 payrnent thflt wils not late, a charge you
                    imposed for a service that was not ptovided, a default property-management fee for consurners
              Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 66 of 147 PageID #: 69
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Envelope: 318314
Reviewer: Alexa Goneconte


                    who are not icr•;t ;r°linquency status that would justify the claarge, or a cliarge for force-placed
                    insurance p'rovisii:,ns:,
                    (6) Failure to provide an accurate payoff balance amount upon a borrower's request pursuant to
                    12 CFR 1026.36(c)(3).
                    (7) Failure to provide accurate information to a borrower fo.r loss rnitigation options aild
                    foreclosure, as required by the early intervention provisions of § 1024.39.
                    (8) Failure to accurately and timely transfer information relating to the servicing of a borrower's
                    mortgage loan account to a transferee servicer.
                    (9) Making the first notice or filing required by applicable law for any judicial or non-judicial
                    foreclosure process in violation of the loss niitigation procedures of § 1024.41(f) or (j).
                    (10) Moving for foreclosure judgment or ordcr of sale, or conduction a foreclosure sale in
                    violation of the loss niitigation procedures of this rule § 1024.41(g) or (j).
                    (11) Any other error relating to the servicing of the consumer's mortgage loan. Plea$e note
                    "servicing" is defined in § 1024.2(b).

                    The consumer in tltis case lbeiieves that youi did not respond to a Qualified Written. Reduest
                    within thirty business days of receipt of the request. You received tlhis request on
                    November 18, 2014 and have not responded witlrin tliirty business days.


                    Please correct all of these errors and provide me with notification of the correction, the date of
                    the correction, a.nd contact i.nformation for further assistance; or after conducting a reasonable
                    investigation and providing the borrower through niy firrn with a notification that inclu(ics a
                    statement that the servicer has determined that no error occurred, a statement of the reason or
                    reasons for this determination, a statement of the borrower's right to request documenls relied
                    upon by the scr~-:: ~°.r ut reaching its deterniination, inlormation regarding how tlrc borrower cati
                    request sucl) ci~'+ ;nents, and eontact inforniation t'or further assistarnce.

                    Please be advised that for 60 days after receipt of a Notice of Error, you may not furnisli adverse
                    information to any consum.er reporting agency regarding airy payment that is the subject of the
                    Notice of Error pursuant to § 1024.35(i).

                    Sincerely,


                         V\           r> C.—\
                    John B. Ennis, Esq.
              Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 67 of 147 PageID #: 70
Case Number: PC-2015-1864
Filed in Providence/Bristol County Superior Court
Submitted: 9/2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte



                                     ''•, 1~.'~,:.



                                                     JOhIl B. EIIIxiS
                                                            Attor•ney cttl..aw
                                                     1200 R.eservoir Avenue
                                                     Cr:enstnn,l2hnde rslaiul 02920

              Tel. (401.) 943-9230                                                    Fax (401) 946-5(}06

              November 15, 20.14

              Wells Fargo.Horne Moi- tgage
              P.O. I3ox 1.0335
              Des Moines, TA 50306

              Cl.ient: Maryanrn Matliews
              Property Address: 51 Outlook Aveiiue
              East Proviclence, R1029:1.4
              Accouuit No.: 0046377867


              Re: Qualified Written Request and Renuest for Inforrnation Pursuant to
              Section 1024.36 9f.Regulation X
                                        •~
              Dear Sir or M.adttiim:

              This is a Rcqucst for 1n:Eorniatioyl rclatcd your servicing of the n7ortgage loan of tlic
              above-narned client. All ref:erences bercin are to Regulation .X of tlie Mortgage
              Servi.cilig Act as azncjided by the Coiisun7ct Financi.al Pt•otection Bui- cau pUrsuant
              to the Dodd Erank Act. PJease iiote that these new Regulations bccaine effective oil
              ranuary 10, 2014.

              11ie wri.tten autllority o:f the clicxZ t to ni.y law 11r.tn ior thi.s Request is attacl7ed
              11creto anr; itacorporated lierein by tlris refcrence.

               Pu.rsu.ant toScctiori 1.024 .36(c) o;f Regulatioji X, you must witlrin five (5) d<<ys
               (excluding 1ega1 pubJ.ic liolidays, Saturdays il:i7d Stllldays) provlclf; n1y oCfXcc, witll a
               response to this Request acknowledgiaig .receipt of tllc same.

               Pursuarit to Section 1024.36(d)(ii)(2)(A), not later tlian teyi (:1.0) days (cxcludi_nb
               publ.ic liolidays, Saturdays afid Sulldilys) after you rcceive tlais request :foz•
             Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 68 of 147 PageID #: 71
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Fited in Providence/Bristol County Superior Court
Submitted: 9(2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte




          iDfoUTMti.oii               ova.de me with the idr-.ntily of;and address or otller
          relevant co.ntctct information for tlie owner of tlic mortgage loa:n i.clentitied Ilerein.
          For all oL the other i7i-formation requcstecl licrein, and ptrrsiiant to Scction
          1024.36(d)(ii)(2)(l3), you. milst respond iiot later than tha7:ty (30) days (excluding
          legal public 1lolidays, Satu.rdays ajicl Sundays) aftez• yoYi receive lhi.s requcst lor
          iiaforroation,

          l.      lhe naira.c and addresy of the actual ow.ner oC rny client's mortgagc along
          witli the date said mortgage was tTansf.erred;

           2.      tile nai»e aixd adclress of any owilers of my client's 1n.oa'tgage alojig with thc;
           ctale saicl naort   a- a~e
                        . .. . ~' ~% - was
                                       .   transierted to eacl7 ow iier.

           3.      plcase provide any docunrent.s tliat izadicatc how thc znortaage was assigncd
           to tli.e curren:t inortgage holder and to eacla owiler of tlie rnortgage;

           4.      I:Ile rraxn!::;~L,,~h; aciclrc.ss oCaetur~l ownc;r o~ my clients' p~oxr~issory ~7ote ~ilong
           witl~ th.e date sa.i~d note was transferred; aaicl

           5. . the alarne and address of the each owner of Yny clicnt's promissory note
           1long with the date said. not.e was transfer.red to each owner;

           6.      pl.ease prc,v.icic atxy documents tliat i.ndicate liow ttic note was trati:5ferzed tt3
           either the c;urre.n.t, i:lute l.iolder or an.y prior .note :holder or how the .inorCgage was
           assignecl lo tlrc cuirent ili.ortgage holde>- ox' any prior rnortgage holder;


            SincerelY; .

               ~
            John B. Ennis, Esq.
              Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 69 of 147 PageID #: 72
Case Number: PC-2015-1864
Filed in Providence/Bristol County Superior Court
Submitted: 9/2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte




                                                    EXHIBIT F
         Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 70 of 147 PageID #: 73
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Case Number: PC-2015-1864
Filed in ProvidencelBristol County Superior Court
Submitted: 912/2015 5;09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte




                                                        J0hn B. En1llS
                                                           Attorney at Law
                                                        1200 Reservoir A.venue
                                                    ICranston, Rlioae Island 02920

                 Tel. (401.) 943-9230                                            Fax (401.) 946-5006

                 November 15, 2014

                 Wells Fargo Hoine Mortgage
                 P.O. Box 10335
                 Des Moines, I.A, 50306

                 Client: Maryann Mathews
                 Property Address: 51 Outlook Averiue
                 East Providexlce, RI 02914
                 Account No.: 0046377867

                 Re: Request for Loss Mitigation Uptions Pursuant to Section 1024.41 of
                 Regula ti on X

                 Dear Sir or Madam:

                 The; client lias experienced increased bills resulting in being behind in rnortgage
                 payments. The written authority of the client to my law firm for tJlis Request is
                 attached hereto and incorporated lierczn by tliis r'eference.

                 M"y client is requesting all loss niitigation options under Section 7.024.41 of
                 Regulation X. Please cojisider this a new anplication for 1ll loss n~itigation options
                 that ars available and provide rny ct.ie
                                                       nt   with all of the procedural safeguards and
                 rights under Regulatio,n X. Please confi.rm all of the prograrns and tlle
                 docurnetatatioii and data necessary to submit a"coz-np.lete" loss lnitigation
                 applzcation under all of the same.


                 Sincerely,
                     4~ (~ cl\-",
                 John B. Ennis, Esq.
              Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 72 of 147 PageID #: 75
Case Number: PC-2015-1864
Filed in Providence/Bristol County Superior Court
Submitted: 9/2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte




                                                    EXHIBIT G
               Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 73 of 147 PageID #: 76
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Reviewer: Alexa Goneconte a


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                 Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 74 of 147 PageID #: 77
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                                                               John B. Ennis
                                                                    Attorney at Gaw
                                                             1200 Reservoir Avetyue
                                                             Cranslvn, Ri+ode tsland 02420

                        Tel. (401) 943-9230                                                             Fax (401)946-5006

                        Marcli 6, 2015

                        Wells Fargo Home Mortgage
                        P.O. Box 10335
                        Des Moir.es, rA 50306

                        Cli.ent: Maryann Matlaews
                        Property Address: 51'Outlook Avenue
                        East Providenor; ~lI fl2~314
                        Account No.: 004
                                      6377867

                        Dear Sir or Madam:

                        Please consider this letter to constitute a Notice of Error under 12 CFR Section 1024.35 of
                        Regulation X of the Mortgage Servicing Act under RESPA, which Regulation became effective
                        on January 10, 2014. These arnendments implemented the Dodd-Frank Wall Street Reform and
                        Consuaner Proic'qton Act pr.ovisions regarding mortgage loan servicing. Under these
                        aznendments,         ust'acknowledge receipt of tliis Notice within five (5) days thereof
                        (excluding legal public holidays, Saturdays and Sundays) and niust advise me of your responses
                        to this notice within thirty (30) days of receipt thereof (excluding legal public holidays,
                        Saturdays and Sundays).

                        The written aathority of the client to my law firm for this Request is attached hereto and
                        incorporated herein by this reference.

                        Under Section 1024.35(b) of A.mended Regulation X, the term "error" means the followitig
                        categories of covered errors:

                        (1) Fail!tre to aecept a paynrent that conforrns to tlte servicer's written requireinenis for the
                        borrower to follow in tnaking payments.
                        (2) Failuc,.; to ai~,;.; .an accepted payment to principal, interest, escrow, or other charges undcr tlhe
                        terms of tl7e mortgage loan and applicable law.
                        (3) Failure to credit a payinent to a Uorrower's mortgage loan account as of the clate of receipt, ui
                        violation of the ptompt crediting provisions in 12 CFR 102Fi,.36(c)(1).
                        (4) Failure to p~j~i•t~i~ces, insurance premiuYns, or otlYer charges, including charges that the
                        consuiner has voluntarily agreed that the servicer should collect and pay, in a timely mitnller as
                        required by tlie escrow provisions of § 1024.34(a), or to refund an escrow account balance as
                        required by § 1024.34(b).
                        (5) Zmposition of a fee or charge that the servicer lacks a reasonable basis to impose upon the
                        consurner, which includes, for example, a late fee for a paynient that was not late, a cllarge yoll
                        iinposed for a service that was not provided, a default property-rnanagement :Cee for corasumcrs
                Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 75 of 147 PageID #: 78
;ase Number: PC-2015-1864
=iled in ProvidencelBristol County SupeTior Court
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=nvelope: 318314
Reviewer: Alexa Goneconte


                       who are not in a delinque.ncy status that would .justify the charge, or a cliarge for force-placed
                       insurance provisions.
                       (6) Failure to provide an accurate payoff balance amount upoii a borrower;s request pursuai7t to
                       12 CFR 1026.36(c)(3).
                       (7) Failure to li,ro►,ide accurate inforrnation to a borrower for loss rnitigation options artd
                       foreclosure, as To: aired by the early intervention provisions of § 1024.39.
                       (8) Failure to accurately and timely trrtnsfer inforination relating to the servicing of a borrower's
                       rrrortgage loan account to a transferee servicer.
                       (y) Making the first notice or filing required by applicable law for any judicial or non-juclicial
                       foreclosure process in violation of the loss mitigatiort procedures of § 1024.41(f) or (j).
                       (10) Movir.g fot :Coreclosure judgment or order of sale; or confluction a foreclosure sale in
                       violation of 'tlie loss rnitigation procedures of this rule § 1024.41(g) or (j).
                       (11) Any otlier error relating to the servicing of tfle consumer's mortgage loaa. Please yiote
                       "servicing" is defined in § 1024.2(b).

                       The consumer in this case beiieves tirat you have 1'aiied to provide accuralte infoi-nration to rt
                       borrower for loss mitigation options and foreclosure, as required by the early inteu-vention
                       provisions of § 1024.41. You received this request on November 1.8, 2014 and have not
                       responded. The consumer in this case believes that you did not provide a borrower• vrith all
                       loSs mitigation options and all of tlre procedural safeguards and rights under Reguiation
                       X. You have not confirmed all of the programs and the documentation and d:,ta necessaz;y
                       to submit a compiete loss mitigation appiication under all of the same. You received tliis
                       request on Nrrvexhber 18, 2014 and have not responded.
                                      . .,, • ..
                       Please correctt all of these errors and provide me witb notification of the coxrection, the date o:f
                       the correction, and contact information for furthf:r assistance; or after conductirag a reasonalale
                       investigation and providing the borrower througli rny firni with a notification tiiat includcs a
                       statement that the servicer has determined that no crror occurred , a stateinent of tlle reason or
                       reasons for this determination, a statement of the borrower's right to recluest docurnents relied
                       upon by the serv2cer,in reaGhing its deterniination, inforniation regarding how the borrower can
                       request suclh drrci;,:rcnts, and contact infoiation
                                                                   rn      for further assistance.
                                       ;. ~
                       Please be advised that for 60 days after receipt of a Notice of Error, you inay not fur3lish adverse
                       information to any consumer reporting agency regarding any payment that is the subjeet of the
                       Notice •of Error pursuant to § 1024.35(i).

                       Sincerely-;• - • , • .-

                            ~ ( jCAr\
                       Jolin B. Ennis, Esq.
                Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 76 of 147 PageID #: 79
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                                                     John i'D. EIAnis
                                                         tl,ttorney at Ltzw
                                                      1200 Reservoir Avenue
                                                 Cri anston, Rhode Island 02920

                  Tel. (401_) 943-9230                                          Fax (401) 945-5006

                  November 15, 2014

                  Wells Fargo Home Mortgage
                  P.O. Box 10335
                  Des Moiiies, IA 50306

                  Client: Maryailil Mathews
                  Properfiy AAddress:' 5 x Outlook Avenue
                  East Providence, RI 02914
                  Account No.: 0046377867

                  X2e: ltequest £oz Loss Mitxgation Ontions Pursuant i:o Section 1024.41 of
                  Regulation X

                  Dear Sir ox- Madam:

                  The; clicjit has experienced ii'xcreased bills resultiaig in beiiig Ueliind in inortgagc
                  payments. The; wriften auttiority of the client to xny J.aw firi~l for this Request is
                  attaclied hereti~WA' iiicorporated hercxil by this reference.

                   My client is requestrng all Ioss mxtigation options undez Sectiala 1024.41 of
                   Regulation ?i . Please consider tlais a new applicatioir Ior all loss mitigation optioz'is
                   `hat are available and provide rny client with all of the procedural saI'eguards ant!
                      ,
                       its under Regulation X. Please confirrn all of the programs and the
                          -lentation and data neccssary to submi,t a"cornplete" loss rnitigation
                             . on under all of the same.
              Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 77 of 147 PageID #: 80
Case Number: PC-2015-1864
Filed in Providence/Bristol County Superior Court
Submitted: 9/2/2015 5:09:01.PM
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Reviewer: Alexa Goneconte




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             Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 78 of 147 PageID #: 81
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                                                         John B. EiiiiAS
                                                                 Attvr-ney rrt.Lu►%,
                                                         1200 Reservoir Aveaiue
                                                         Ci':tnsthtt, TZhode Tslaitd 02920

                   Tel. (401) 943-9230                                                       FaX (401) 946-5006

                   November 15, 2014

                   Wclis Fargo Tiome Mortgage
                   P.O. Box I0335
                   Des Moines, TA 50305

                   Client: 1vlaryann Matlicws
                   Property Address: 5:1 Outlook Averauc
                   East Providen.ce, RI 02914
                   AccouDt No.: 0046377867


                   Rtr: Request for Payoff 13alnnce Pursuairt to Secti~Jn 1.026.36 of Rel;ulr►tioti Z


                   Dear Sir or Madam:

                   This is a Requ.est J:or a Payo:ff l3ttlrtnce related your servicing of tiie xnortgage loan o:C the above-
                   rrtined clicnt. All re:tcrences ixercin rtre to Regul<ttion Z oi' tlre Mortg<tge Scrvicitlg Act as
                   alnendccl by the Consutner Fintuncial Protcction 13urcrtu pursuant to the Dodd rrrtnk Act.

                   The wri.tten autltority of thc client to iny Irtw iirtn for this Reyuest is attriclred liereto and
                   incorporated hcrein hy this reference.

                   Pursuant to Section 1026.36 of .[tegulatioia Z, you rnust within seven (7) days (exclu.(iing lebal
                   public holitlays, Saturdays ancl aund<tys) provide my o:f't'ice with a Payo:f:f 13a.iancc rcbartling thc
                   above citptioned loan. Pleasc note that uncler this sectioti, thetc is tio cliar6c for providing ttte
                   consumer with a "payoff balance.,'

                   S7incerely,


                   :{olin B. I:nnis, Esy.
             Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 80 of 147 PageID #: 83
Case Number: PC-2015-1864
Filed in Providence/Bristol County Superior Court
Submitted: 9/2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte




                                                    EXHIBIT I
                      Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 81 of 147 PageID #: 84
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eviewer: Alexa Goneconte

                                                           John B. Ennxs
                                                                Attorney ut Lnw
                                                         1200 R.eset•voir Avenne
                                                         Cranston, Rhade 1s.Ianc102J20

                     Tcl. (401) 943-9230                                                           Fax (401) 946-5006

                     March 6, 2015

                     Wells Fatgo Hame Mortgage
                     P.O. Box 10335
                     Des Moines, IA 50306

                     Client: Maryasir,,,Mathews
                     Property Ar~iil~:a~:f,~l0utlook Avenue
                     East Providence, RI 02914
                     Account No.: 0046377867

                     Dear Sir or Madam:

                     Please consider this letter to constitute a Notice of Error under 12 CFR Section 1024.35 of
                     Regulation X of the Mortgage Servicing Act under RESPA, which Regulation became eflective
                     on January 10, 2014. Tbese arnendrnents impleanented the Dodd-Frank Wall Street Reform and
                     Consutner Protection Act provisions regardin,g mortgage loan servicing. Under these
                     amendmerits, you must acknowledge receipt of this Notice within f'tve (5) days thereof
                     (cxclud~ng legal public holidays, Saturdays and Sundays) and must advise rne of your responses
                     to this notice widiin thirty (30) d~ys of receipt thereof (excluding legal pubtic liolidays,
                     Saturday;, anti, ._,,;~,~;:~ys).

                     The written authority of tlie c]ient to my law firm for this Request is attaclied liereto and
                     incorporated lierein by this reference.

                     Under Section 1024.35(b) of Amended Regulation X, the tern► "error" ineans the following
                     categories of covered errors:

                    (1) Failure to accept a payment that conforms to the servicer's written requirelnents for the
                    borrower fio follow in making payments.
                    (2) Failure to apply an accepted payment to principal, i.nterest, escrow, or otller charges under the
                    tcrms of the morra;to~ loan and applicable law.
                    (3) Failure to ct;eL-~t: a payment to a borrower's xnortgage loan account as of the date of receipt, in
                    violation of ti~r. E3J;: ~yr~it crediting provisions in 12 CFR 1026.36(c)(1).
                    (4) Failure to pay taxes, insurance prerniuins, or other clYarges, including charges liiat the
                    consumer has voluntarily agreed that the servicer sl}ould collect and pay, in a timely Ynanner as
                    required by the escrow pravisions oi § 1024.34(a), or to refund an escrow aGcount balance as
                    requircd by § 1024.34(b).
                    (5) Iniposition A a fee or charge d7at the servicer lacks a reasonable basis to irnpose upon the
                    consumer, which includes, for example, a late fee for a paym.etit that was not late, a clxarge you
                    imposed for a service that was not provided, a default property-rnanagement fee for consumers
                Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 83 of 147 PageID #: 86
 ase Number: PC-2015-1864
iled in ProvidenceBristol County Superior Court
ubmitted: 9/2/2015 5:09:01 PM
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                     who a.m not ir: a rlelinquency status that would _justify the charge, or a cliarge for force-placed
                     insurance proVisions.
                     (6) Failure to provide atl accurate payoff balanee amount upon a borrower's request pursuaait to
                     12 CFR 1026.36(c)_OJ:
                     (7) Failure to pra-ride accurate inforination to a borrower for loss mitigation options and
                     forcclosure, as reqvired by the early interveiati:on provisions of § 1024.39.
                     (8) Failure to accurately and tin~ely transfer information relating to the servicing of a borrower`s
                     mortgage loan account to a transferee servicer.
                     (9) Making the first notice or filing required by appli.cable law for any judicial or non-judicial
                     foreclosure process in violation of the loss mitigation procedures of § 1.024.41(f) or (j).
                     (10) Moving for foreclosure judgment or ordcr of sal.e, or conduction a foreclosure sale in
                     violation of the loss mitigation procedures of this rule y 1024.41(g) or {j).
                     (11) Any otl:~:,~~ errar relating to the servicing of the consiimer's mortgage loan. Please note
                     "servicing".'is~4iF:rirtcd in § :1024.2(b).

                      Tlae consumer in this case beiieves that-yotr did not provide a borrower with a payot'f
                     statemeixt witlain seven business days of x•eceipt of a request pursuant to 12 CI+R 1026.36(c)
                     (3). You received this request on November 18, 2014 and liave not responded.

                     Please correct all of these errors and provide me with notification of the correction, the date of
                     the correction, and contact inforination for furtlier assistance; or after conducting a reasonairle
                     investigation and providing ttie borrower tllrougli rny firrn with a notification that includes a
                     statement that the servicer has deterrnined that no error occurred, a staternent of the reason or
                     reasons for tliis deternnination, a statement of the borrower's riglit to request documents relied
                     upon l,y the servicer in reaching its deterinination, information regarding how tize borrower can
                     request such docunients, and eontact inforcnation for furtlier assistance.

                     Please be advised that for 60 days after receipt of a Notice of Error, you may not furnisli adverse
                     information to any cqnsumer reporting agency regarcling any paynient that is the subject of tlie
                     Notice of Error p?irsuant to § 1024.35(i).
                                           I,. ..
                     Sincerely,




                     John D. Ennis, Esq.
                Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 84 of 147 PageID #: 87

se Number: PC-2015-1864
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:viewer: Alexa Goneconte




                                                              JUhn B. EIiniS
                                                                     A11Ur11C)+ ai.Lttli+
                                                              1200 Reservoir Avem.te
                                                              Cr:unston, C2lyodc Xslaticl 02920

                'rel. (401) 943:9:1,:r0.                                                          Fax (407) 946-5006

                Novetnber 15, 20:14

                Wcils Fi-rr Igo 3•lome Mortgagc
                P.O. 13ox 10335
                Des Moines, IA 50306

                Client: Maryanii Matllews                                                                I
                Property Address: 5:1. Outiook Aventire                                                  ~
                Lxst Provicieaice, Ri 02~14
                Accourit No.: 0046377$67                                                                 y
                                                                                                         +
                                                 :                                                        r
                Rt:. X2etluest f'or [°r1yo1'f l;alance 1?ursuant to Sectioii 1026.36 ol'Regulat:iUn Z
                                                 !                                                           I


                Dear Sir or Mtulam:              1~                                                          :

                3'his is rt Reque,St i:or a Ijayoff ]3alance rel<<ted your servicing of t17e inortgrtge, loan of the <<bove-
                natncd clicrrt. All refc.rcilces laerein. Eue to Rcgulation Z of tire Mortgage Servicin ; Act as
                atliendecl by the Consmtter rinrtncial Protcction Burcau Pursuruit to thu Dodc~ Franlc Act.

                `Che written autliority of'ttic client to my .law firixr tor ti:is Rec~uest. is a ttacl~ed ltereto anci
                incorhorated bercit~ vy t~is rcierence.                                                   ~
                                           I
                Pursuant lo SeG.::::^ t:+:2~.3Fi of Reguitltiorx Z, you must witliin scvcn (7) dGty q, (e xclutiing icgal
                pul~iic holidays, S~turda~s allil S1IIIClilys) ~?rovlCie IliY office wit~l 8 P~► yoff 131~ancc re~ardin~ tl7e
                <+bove captioned loa7i. P;Icase rtote thrtt uncfer this section, there is no charge for providing thc
                consumcr with a "payol balance."

                 Sincet•ely,                          i
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                 Jolln'i3. f;nnis, Esq.               I                                                          1
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              Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 85 of 147 PageID #: 88
Case Number: PC-2015-1864
Filed in Providence/Bristol County Superior Court
Submitted: 9/2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte




                                                    EXgIIBIT J
            Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 86 of 147 PageID #: 89
Case Number: PC-2015-1864
Filed in Providence/Bristol
Submitted: 9/2/2015 5:09:(
Envelope: 318314
Reviewer: Alexa Gonecont
                Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 87 of 147 PageID #: 90
;ase Number: PC-2015-1864
~iled in Providence/Bristol County Superior Court
iubmitted: 912/2015 5:09:01 PM
=nvelope: 318314
teviewer: Alexa Goneconte
                                                       John "D. ElnlCliS
                                                           AttrJr,zey at Law
                                                        1200 Reservoir Avemie
                                                    Cranston, Rliode Xsland 02920

                  Tel. (401) 943-923                                                       Fax (401) 946-5006
                  Noveiliber 15, 2014 ~

                  Wells I,"argo 1-Iorne Mo~tgage
                  P.0.13ox 10335
                  Des Moines, lA 50306

                  Client: Maryann Mathiws
                  Property Address: 51 C utlool Avenue
                  East Providence, RI 02914
                  Account No.: 0046377 67


                  Re: R.equest for Infor ation 1<'ui•suant to Section 1024.36 ot' Regulation X

                 Taear Sir or Madarn:

                 Tliis is a Request for Ini ormation relating to your scrvicing of the rnortgage loan of the above-
                 naiixed t.lient. All refere ices herein are to Regulation X of the Mortgage Servicing Act as
                 aunended by thc Coiisuii ier rinancial Protection Bureau pursuant to the Dodd Frank Act. T(ie
                 written authority of tlie Iient to 1ny l.aw firtn for tlr.is Request is attached he.rel.o axid incorporated
                 herein vy this reference.

                 Pursuant to Section 102i1.36(d), you niust respond no later than ten (10) days (excluding legal
                 public holidays, Saturda s and Sundays) after you receive ihis request for inCortnation.

                 Please p.rovide tlie f01101Ving information within tlie tiine periods noted herein:

                 1. The identi.ty of and iddress for the current owner o:f the .mortgage loan identificd hcrein.
                 2. Tlxe identity of and iddress, for the tnaster servicer of the mortgage loan identified berein.
                 3. The identity of and iddress for the current servicer of the rnortgage loan identified herein.

                 Sinccrely,


                 Jolin B. Ennis, Escl.
              Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 88 of 147 PageID #: 91
Case Number: PC-2015-1864
Filed in Providence/Bristol County Superior Courl
Submitted: 9/2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte




                                                    EXHIBIT K
             Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 89 of 147 PageID #: 92
Case Number: PC-2015-1864
Filed in Providence/BIstol
Submitted: 9/2/2015 5j 09:(
Envelope: 318314
Reviewer: Alexa G
                Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 90 of 147 PageID #: 93
Case Number: PC-2015-1864
Filed in Providence/Bristol County Superior Court
Submitted: 9/2/2015 5:09:01 PM
Envc?lope: 318314
Reviewer: Alexa Goneconte



                                                             John B. Ennxs
                                                                tlttorney at.t,aw
                                                         1.200 Reservoir Aveitue ,
                                                         Cranston, IilioJe Is1aad 02920

                     Tet. (401) 943-9230                                                          I+ax (401) 946-5006

                     Marctx 6, 2015

                     Wells Fargo Home Mortgage
                     P.O.I3ox.10335
                     Des Moines, IA 50306

                     Client: Maryann Matliews
                     Property Address: 51 ©utlook Avenue
                     East Providence, RI 02914
                     Account No.: 0046377$67

                     Dear .Sir or Madam:

                     Please consider this letter to constitute a Notice of Frror urtder 12 Ck~~t Section 1024.35 of
                     Regulation X of the Mortgage Servicing Act under RESPA, wltich Regulation becarne eff.cctive
                     on January 10, 2014. These amendments impleinented the'Dodd-Frank Wall Street Reforni and
                     Consumer Protection Act provisions regarding mortgage loan servicing. Under these
                     ainendrnents, you must acknowledge receipt of th' Notice within five (5) days thereof
                     (exctuding legal public holidays, Saturdays a>jid S~ndays) and rnust advise me of your responses
                     to this notice witli in thirty (30) days of rece> t tliereof (excluding legal public holidays,
                     Saturdays nnd Stin.day,$).                      ~
                                                     .
                                           '.1:.-.
                     The written 0,'#9t`ity of the client to my law irrn for this Request is attached liereto and
                     incorporated tiet-66 by this reference.

                     Under Section 1024.35(b) of Amended Regu ltion X,Ae :ter,m "error" means tlhc following
                     categories of covered errors:                        !

                     (1) Failure to accept a payment that conform,4 to the servi~er's written requireniea3ts .tor tl>e
                     borrower to follow in nialcing paynients.      I.
                     (2) Failure to apply an accepted payment to principal,'interest, escrow, or otller charges uarder ti3e
                     terms~of the inortgage loan and applicabl.e law.
                     (3) Failure to credit a paynnent to a borrower,s inortgage loan account as of the date of receipt, i»
                     violation of tlie prompt crediting provisions iLn 12 CFR 1026.36(c)(1).
                     (4) Failure to pay taxes, insurance premiurns; or other clharges, including cl}arges tlaat the
                     consumer lias voluntarily agreed that the servicer sliould collect and pay, in a tirnely naanner as
                     requireri by the, 6sc..•oW provisions of § 1024.34(fl), or to refund an escrow account balance as
                     required by § 1024.34(b).
                     (5) Imposition of a fee or charge t6.at the servicer lacks a reasonable basis to inapose upon the
                     consumer, wliich includes, for exainple, a late fee far a payinent that was not late, a cliarge you
                     imposed for a service that was not provided, a default property-nzanagement fee for consunxers
                                                         .                          i
             Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 91 of 147 PageID #: 94
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Filed in Providence/Bristol County Superior Court
Submitted: 9/2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte


                   who are not in a delinqueiicy status that would justify the eharge, or a cliarge for force-placed
                   insurance provisions.
                   (6) Failure to pTovLd: an accurate payoff balance amount upon a borrower's request pursuant to
                   12 CFR 1.026,36(,c}(3).
                   (7) Failure to provide accurate information to a borrower for loss mitigation options and
                   foreclosure, as required by the early intervention provisions of § 1024.39.
                   (8) Failure to aecuiately and timely transfer information relating to the servicing of a borrower:5
                   mortgage loan account to a transferee servicer.
                   (9) Making the first notice or iiling required by applicable law for any judicial or non-judicial
                   foreclosure piocess in violation of the loss niitigation procedures of § 1024.41(f) or (j).
                   (10) Moving for foreclosure judgment or order of sait:, or conduction a foreclosure sale in
                   violation of the loss mitigation procedures of this ru(e § 102'4.41(g) or (j).
                   (11) Any other error relating to the servicing of the consumer's mortgage loan. Please note
                   "servicing" is def.ined in § 1024.2(b).
                            •                                                     t

                   The consumer in this case believes that you did n.ot provide a bor. rower witlrin ten business
                   days the foltowing information pursuant to Sectiqn 1024~36(d):
                   1. The identity ofand address foir the current owner ol;'the mortgage loan identified
                   hereiit:                                                 ,;
                   2.• The identity'of and address for the master servicer ~f the mortgage loan identilied
                   herein,
                   3. The identity of and address for the current servicerlof the mortgage loan identified
                   herein.
                   You received this request on November 1$, 2014;and have not t•esponded..

                   Please correct all of these errors and provide me with notification of the correction, the date of
                   the cotrection, aud contaet information for further assistance ; or aftcr conducting a reasonablc
                   investigation and providing the borrower through iny firm with a notification that includes a
                   statement that t}:;. sz.v;cer has deternrined that no error occurred, a statement of tihe reason or
                   reasons for thi;,.,.lt;~s:tnination, a staternent of the bqrrower's right to request documents relied
                   upon by the sei`vrcer in reaching its determination, Snformation regarding liow the borrower ca>i
                   request sitch docunients, and contaet inforniation fir further assistance.
                                                                            ,
                   Please be advised that for 60 days after receipt of aiNotice of Error, yoll ITlay not fllrrtlsll adverSe
                   information to any eonsumer reporting agency regarding any payment that is the su.bjcct of the
                   Notice of Error pursuant to § 1024.35(i).

                   Si.ncerely,



                   J'olin B. Bnnis, Esq.
                Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 92 of 147 PageID #: 95
:ase Number: PC-2015-1864
7 ited in Providence(Bristol County Superior Court
;ubmitted: 9/2I2015 5:09:01 PM
:nvelope: 318314
2eviewer: Alexa Goneconte
                                                         John B. E"unis
                                                            .Attarney atLaw
                                                         1200 Resei•voir A.vcnue
                                                     Cranston,1.21Yode ls~and 02920

                Tel. (401) 943-9230                                                   Fax (401) 946-5006
                Novernber 15, 2014

                 Wells frargo I-ioraie Mortgage
                 P.O.13ox 10335 .
                .Des Moines, 1,F1. 50306

                Clieant:. Maryann Mathews
                Property Address: 51 Otitlook Avenue
                East Providence, RI 02914
                A.ccount No.: 0046377367


                Re: Request fox• Inforrnation lt'ux•suant to Sectiori 1.024.36 o!' R,eg,ulation X

                Dear Sir or Maclarn:

                This is <► Reque:;: ita rru:ormation relating to your servicing o.f tlre znorfigage loln of the above-  "
                named client. AII references lierein are to Regulation X of the IvZortgage Servicirlg Act as
                aznended by the Coilsuiiter Financial Protection Bureau pursua~ t to the Dodd Fsatik A.ct. The
                v~ritten authority of the client to.rny law firrn Lor this Request i attached liereto anc{ incorporatcd
                herein Uy this reference.

                Pursuant to Section 1024.36(d), you n}ust respond no later tlraniten (10) days (excluding legal
                public lrolidays, Saturdays asid 5undays) after you receive this xequest for inI'orniation.

                Please provide the followi[ig infor.mation witlrin the t.irne       noted herein:

                1. Tlre identity of and address Ior the current ownet• ot the n          loan identi:fied liereiri.
                2. The identity of and address for the master scrvicer of the            : loan identified lx.erein.
                3. Tlie identii:y of and address for tlze current servicer of the        e Ioan identified laereiaY.

                Sincerely,


                3obn B. Ennis, Fscl.
              Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 93 of 147 PageID #: 96
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Envelope: 318314
Reviewer: Alexa Goneconte




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            Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 94 of 147 PageID #: 97
Case Number: PC-2015-1864

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                Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 95 of 147 PageID #: 98
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Reviewer: Alexa Goneconte                            J    ~~            ~j       ~s

                                                             Allorney a! Lctra
                                                     1200 Reservoit• Avenue
                                                     Cranston, Rhocle Islnnct 02920

                 Tel. (441.) 943-9230                                                           1! a x (401) 946-5006


                 Noveniber 15, 2014

                Wells rargo 1-Ionze Mortgage -
                P.O. Box 10335
                Des Moines, iA 50306

                Client: Maryan.n lvlathews
                Property Address: 51 Outlook Avenue
                East. Providence, Rl 02914
                Account No.: 0046377867

                Re: Request #'or Inl`orntation 1'ursuant to Section 15 USC 1641(g)

                Dear Sir or Madam:

                Tliis is a Request fot' Information relating to yoLu sc>•vicing of the mortgage loan ofthe above-
                named client. All reEerences herein are to the Truth lzx I.,ending Act ("T1LA"). The written
                autliority of the clictit to rny 1aw ftrnz for this 1Zequest is attaclled hereto and incorporated lxcrein
                by this referet:zce. This request is being made pursuant to the provisions of the Tnrth in Lending
                Aet, 15 USC 1641(b). Tl1is section provides:
                g) Notice of new cr-editor
                (1) Zn general
                Tn nddition to otltc,- disclosut•es required by this subchstl3ter, not later titan 30 days after
                the datc on whiclt a mortgage loan is sold or otlterwise trnttsferred or assigned to .>, tliit-d
                p:irty, the creditor that is tlte new owner o;<- assignee of the debt sliall notify tlte bot•t-ower in
                wr•iting ofsuch tr7nsfer, ineludin-
                (A) tlie idetitity, address, telephonc nYtnaber of tlte new ct-eclitor;
                (B) tlte rlate of tr.insfer;
                (C) liow to reach att agent or laarty lYavin ; autlxority'to act on belxalf of the new creditor;
                (D) ttie locltion of tlie place wlxet'e transfer of ownershiP of the debt is recorded; nnd
                (E) any otlter relevant infot-matYon regarding the tiew creciitor.
                Pursuant to TILA, you znust respond no later than tcn (10) days (exclu(ling legal public holidays,
                Saturdays and Sundays) a.fter you receive fihis recluest for inforination..
                Please provide the following inforn-iation within the time periods noted hereiil:

                1. The identity of and acldress for the ciurrent owjier of the mortgage loan identified lierein.
                2.. The identity oi' and address for the master servicer of tlie znortgage loan identifted liez'ein.
                3. The identity of and address for the current scz-vicer of the ;!nortgage loan identified lierein.

                Sincerel y,


                JohnB B. ~Ennis, Esq.
              Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 96 of 147 PageID #: 99
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Reviewer: Alexa Goneconte




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            Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 97 of 147 PageID #: 100
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                                                           ,f t)hn B. EniliS
                                                                Attorrrey at Law
                                                         I204 Reservoir Avenue
                                                        Crs3nstan, Rhode Tstand 02920

                    'Cel. (401) 943-9230                                                           Fax (401) 946-5006

                    Marcr f, 2015

                    Wells Fargo 11c,=r Mortgage
                    P.O.13ox 10335
                    I3es Moines, IA 50306

                    Client: Maryattn Mathews
                    Property Address: 51 Outlook Avenue
                    Fast Providence, R102914 .
                    Account No.: 0046377867

                    Uear Sir or Ma;l;jra:

                    Please consider this letter to constitute a Notice of Err.or under 12 CFR Section 1024.35 of
                    Regulation X vr: th.e Mortgage Servicing Act under RE5PA, whieh Regulation became ef:fecti.ve
                    on January ':; -,{. These arnendnxents implennented the 1;3odd-Frank Wall 5treet Re,form auxl
                    Consurner 1'rotection Act provisions regarding mortgage loan servici.ng. Under these
                    acnendments, you must acknowledge receipt of this Notice within five (5) days tliereof
                    (excluding legal pablic holidays, 5aturdays and Sundays) and must advise nie of your responses
                    to this notice witliin thirty (30) days of receipt tnereo.f (excluding legal lsublic holidays,
                    Satttrdays-and Sundays).

                    The written autliority of the clierrt to iny lawr firm for this Request is attached hereto and
                    incorporated herein by this reference.

                    Under Section 1024.35(b) of Aniended Regulation X, the term "error" means the followin,g
                    categor'!~s of covered errors:.

                    (1) Caflwt. ti%j ~~.-,t.~ :~-. piyment tlxrtt conforms to tlte servicer's written requirements for the

                    borrower to follow iri making payments.
                    (2) Failure to appl.y an accepted payinen.t to principal, interest, escrow, or other cha:rges under the
                    terms of the mortgagc loan and applicable law.
                    (3) Fai7ure to credit a payment to a borrower's mortgage loan account as o:f the date of reccipt, in
                    viol.atian of the prompt crediting provisions in 12 CIR 1026.36(c)(1:).
                    (4) Failure to pay taxes, insurance premiums, or other charges, including charges tlaat the
                    consumer has vo7untarily agreed that the servicer sliould collect and pay, in a timely manner as
                    required by the escro~v provisions of § 1024.34(a), or t.o refund an escrow account balance as
                    required by § 102;,t.34(b).
                    (5) lynpos'ttion of a fee or charge th,at the servicer lacks a reasonable basis to irnpose u13on tl}e
                    consuxner, whicl} inchtdes, :for exainple, a Iate fee for a payment that was not late, a claarge you
                    imposed for a ser—ce uaat was not provided, a default property-management fee tor consuxners
               Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 99 of 147 PageID #: 102
ase Nurnber: PC-2015-1864
iled in ProvidencelBristol County Superior Court
ubmitted: 9(2/2015 5:09:01 PM
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;eviewer: Alexa Goneconte

                      who are not in a delinquency status that would justify the cliarge, or a charge for force-piaced
                      insurance provisions.
                      (6) Failure to provide an accurate payoff balance atnount uPon a borrower'.s request pursuant to
                      12 CFR 1026.36(c)(3).
                      (7) Failure to provide accurate infors2tation to a borrower for loss iiiitigation optiozis aixd
                      foreclosure, as rey,uired by tlie early intervention provisions of $ 1024.39.
                      ($) Failuza to accu'iately and tiniely transfer information relating to the servicing of a borrower:s
                      mortgage loan account to a transferee servicer.
                      (9) Making the first notice or filing required by applicable law for any judicial or non-judicial
                      forecioaure prucess in violation of the loss rraitigation procedures of § 1024.41(f) or (j).
                      (10) Moving for foreelosure judg;lnent or order of sale, or conduction a foreclosure sale in
                      violation of the loss rnitigation procedures of tfris rule § 1024.41(g) or (j).
                      (Il.) A,ny other error relating to the servicing of the consumer's rnortgage loan. Please note
                      "servicing" is defined in § 1024.2(b).

                      Ttie consurner in this case believes t117t you did not Irespond to a request for inforaaation
                      within thirty business days of receipt or this retrue:st. 'You xeceived this request
                      on November 18, 2014 anal have not responded witlain thirty husiness days.

                      Please correct all of these errors and provide ine wilh notification of the correction, the date of
                      the correction, wnd :.c;,ntact inforination for further assistance; or after conducting a reasonable
                      investi.gati.o;:    v:nviding the borrower through rny firm with a notification that in.cludes a
                      statenient ttiat the servicer has determ.ined that no error occu.rred, a statemcnt of the reason or
                      reasons for this determination, a statenient of the borxower's right to request docuartents relied
                      upon by the servicer in reacliing its determination, inforrnation regarding how the borrower cari
                      request such docurnents, artd contact inf.orination for further assistance.

                      Please be advised that for 60 days after receipt of a Notice of Error, you niay not furnish advcrse
                      infornnation to any consumer reporting agency regardirng any payl.nent that is the subject of thc
                      Notice of Error pursuant to § 1.024.35(i).

                      Sincerely,



                      7ohn R innis, Ir,sq.
         Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 100 of 147 PageID #: 103
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Filed in Providence/Bristol County Superior Court
Submitted: 9/2/2015 5:09:01 PM "
Envelope: 318314
Reviewer: Alexa Goneconte

                                                    Johii B. EnxlXS
                                                            Atlorney al Latv
                                                     1200 Reservoir Avenue
                                                     Cr;► nston, Rltode Islaod 02920

               Tel. (401.) 943-9230
                                                                                                rar (401) 946-5006


               November 1.5, 2014

               Wells Pargo Home• >`!sor.tgage ,
               P.O. Box 10335     ,
               Des Moines,lA 50306

               Client: Maryann Mathews
               Property Acidress: 51 Outloolc Avenue
               East Providence, RI 02914
               Account No.: 0046377867

                Re: Request for Ytyforntation Pursuant to Section 15 USC 1641(l;)

                De1t• Sir or Madani:

                'fhis is a. Request for Information relating to your servicing of the mortgage loan o'f the above-
                named client. All references hereui are to the Truth In Lending Act ("TILA"). The written
                authorit;y" ol''the c'sic.nt to my law fii171 for this Request is attached hereto and incorporated herein
                by this reference. This request is being made pursuant to thc provisions of the Truth in Lenditzg
                 Act, 15 USC 1641(g). This section provides:
                 l;) Notice of new creditor
                 (].) Xn general
                 In addition to otltcr disclosures required by this subclt:tpter, not l7ter tl►an 3(} days nftcr
                 the date on which a tnortglbe loan is sold or otherwise trinsferred or assibned to :t thirci
                 pitrty, trie credtto,• that is tl,e new owner or assignee of tite debt sltall notiZy the bo►-i-ower in
                 writing of such transfer, including--
                 (A) tt,e ictc,.t;ty, ncldr,ess, teleplione ntrmbei' ol7 tlle Ilew crcditor;
                 (l3) the date of trnnsfer;
                 (C) ltow to releh'ln agent or party liaving autthority to aot on be:~tr,'   t, or ttze ,~c.,~ crccl'•to.~;
                 (n) the loealiRp ~~' the plttce where trnttsfer of ownership of the clebt is recorded; and
                 (E) any otltet•'Tt!le'Varit iriforination regflrding the new Ct'editor.
                 Pursuant to TILA, you tnust respond no later than ten (10) days (excludinb legal public holidays,
                Saturdays and Sundays) after you .receive this reqtuest for ixzformation.
                 Please pt•ovide the following infornlation within the time periods noted herein:

                1. The identity of and address for the current owner of the mortgage loan identified. herein.
                2. The identity of and address for the master sei-vicer of the m.ortgage loan identified hct•ein.
                3. The ideiitity of and address for the ctu•rent servicer of the mortgage )oan identified lterein.

                Sincerel.y,
                   r x '4~ ~) ( . ~
                John B. Lnnis, Esq.
            Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 101 of 147 PageID #: 104
Case Number: PC-2015-1864
Filed in Providence/Bristol County Superior Court
Submitted: 9/2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte




                                                    EXHIB IT N
            Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 102 of 147 PageID #: 105
Case Number: PC-2015-1864
Filed in Providence/Bristol Courf4~       i r Court
Submitted: 9/2/2015 5:09:01 PNb                       m O (D       r', ,a
Envelope:318314                  ~                          N
Reviewer: Alexa Goneconte        w                    0 O o n          m ~g
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              Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 103 of 147 PageID #: 106
Case Number: PC-2015-1864
Filed in Providence/Bristol County Superior Court
Submitted: 9/2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte


                                                          John B. Ennis
                                                               Attvrney at Lcrw
                                                        1200 Reservoir Avenue
                                                        Cranston, Khode lslantl 02920

                   Tel. (401) 943-9230                                                           Fax (401) 946-5006


                   March 9, 20l 5"~           y

                   Wells Fargo Home Mortgage
                   P.O. Box 10335
                   Des Moines, IA 50306

                   Client: Maryan,n Mathews
                   Property Address: 51 Outlook Avenue
                   East Providence, RI 02914
                   Account No.: 0046377867.

                   Dear Sir or Madanl:

                   Please consider this letter to constitute a Notice of Brror under 12 CFR Section 1024.35 of
                   Reguladon X~+ :r,a iviortgage Servicing Aet under RESPA, which Regulation becanie effective
                   on January 10, 2014. These amendments irnpleinented the Dodd-Frank Wal l Street Reform and
                   Consutner Protection Act provisions regarding morfigage loan servicing. Under these
                   arnendments, you inust acknowledge receipt of this Notice within five (5) days tllereof
                   (exclt.ding legal pub.lic holidays, Saturdays and Sundays) and nlust advise rne of your responses
                   to this notice within tlhirty (30) days of receipt thereof. (excluding legal public holidays,
                   Saturdays and Suridays).

                   The written authority of the client to my law firm for this Request is attaclied liereto and
                   incorporated herein by this reference.

                   Under Section 1024.3 5.(h) of Amended Regulation X, the term "error" means the following
                   categories of co~»r tri en=ors:
                                         ,.         -
                   (1) Failure to accept a payment that conforms to the servicers written requirenients for tlie
                   borrower to fotlow in niaking paynter►ts.
                   (2) Failure to appl'y an accepted payinent to principal, interest, escrow, or otlzer charges under the
                   terms of the rnor`.~age loan and applicable law.
                   (3) Failute to cre3.it a payment to a borrower's mortgage loan account as of the date of receipt, in
                   violation of the prompt crediting provisions in 12 CFR 1026.36(c)(1).
                   (4) Failure to pay taxes, insurance prerniums, or other cllarges, including charges that the
                   consumer has voluntarily agreed that the servicer sllould collect arid pay, in a timely inanner as
                   required by the escrow provisions of § 1024.34(a), or to refund an escrow account balatice as
                   required by § 1024.34(b).
                   (5) Imposition of a fee or cliarge that the servicer lacks a reasonable basis to impose upon the
                   consumer, which includes, for example, a late fee for a paynient that was not late, a cllarge you
                   imposed 2br a s,-<.,ce that was not provided, a default property-management fee for cornsuniers
             Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 104 of 147 PageID #: 107
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Submitted: 9/2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte
                  who are not in a delinquency status that would justify the charge, or a charge for force-placed
                  insurance provisions.
                  (6) Failure to provide an accurate payoff balance aniount upon a. bonrower's request pursuant to
                  12 CFR 1026.36(c)(3),
                  (7) Failure to,provide accurate infonnation to a borrower for loss mitigation options and
                  foreclosure, as required by the early intervention provisions of § 1024.39.
                  (8) Failure to accurately and ti.tnely transfer uifortnation relating to the servicing of a bo.rrower's
                  mortgage loan account to a transferee servicer.
                  (9) Making the first notice or filing required by applieable law for any judic.ial or non judicial
                  foreclosure process in violation of the loss niitigation procedures of § 1024.41(f) or (j).
                  (10) Moving-for Ar-U;:'closure judgment or order of sale, or conduction a foreclosure sale in
                  violation afthe loss rnitigation proeedures of this rule § 1024.41(g) or (j).
                  (11) Any other erfor relating to the servicing of the consuiner's mortgage loan. Please note
                  "servicing" is defined in § 1024.2(b).

                          The consumer in this case belicves that you have committed error• by not sending the
                   co'nsumer monthly periodic statements pursuant to the rrovisions of 1.2 CFR 1026.41(e)(3)
                   and 12 CFR 1026,41(d)(8), of Regulation Z. IJnder Section 1.026.41(d)(8) of Regulation Z,
                   the toan servicer:is required to send consumer a detailed billing statement.

                         The consumer did not receive a statement. You did not seiid the consumer a
                  statement to the consunier's address of 51-53 Outlook Avenue, East Providence, Rhode
                  Island 02914.

                          You must'send the consumer the monthly periodic statements, not the attorney. Tlre
                   address of 1200 Reservoir Avenue, Cranston, Rlaode lsland 02920 is not the consumer's
                   address. Please do not scnd the monthly statenients to the consumer's attorney. Rather
                   comply with Regulation Z and mail the consumer the monthly staternent at the consuincr's
                   home address. '
                                   ,
                   Please correct all of these errors and provide me with notiBcation of the correction, tthe date of
                   the correction, and contact inforination for furtlier assistance; or afte.r conducting a reasonable
                   investigation and providing the borrower through my furn with a notification that includes a
                   statement that the servicer has determined that no error occurred, a staternent of tt►e reason or
                   reasons f.,r this determination, a statement of the borrower's right to request documents i•elied
                   upon by the servicer in reaching its determinati.on, information regarding how the borrowea• can
                   request sur;l' dJCi."rlii.i- +s, and contaet infortnation f:or fuither assistance.
                                        ~
                   Please be advised that for 60 days after receipt of a Notice of Error, you may not furnish adverse
                   information to any, consumer reporting ageney regarding any payment tllat is the subject of the
                   Notice of Error pursuant to § 1024.35(i).

                  Sincerely,

                     t,~     (~> C
                        , -~
                   John B. Enn.is, Esq.
                  Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 105 of 147 PageID #: 108
;ase Number: PC-2095-1864                                                                                                                                                                    rage , or ti
'iie                                           erior Court
>ub                                                  YsULlvahllas heonQLg[ted to foreciosure. Tlre amount to brina it current rnav                                                   Loan Statement
:nv                                                  x-3CY~-+ti1!C prior to send(najynds. caQ us for a teinstartemant or payoff auote. This
2evi                                    !            sipa£ 0_oS SidatrStl a sale date t6at may be scheduled.
                                                                                                                                         Customer 5ervice
                                                                                                                                         Telephone:                          1-BUO-282-3458
                                                                                                                                         Hours of operation:                 Monday - Friday 7am - 8pm CST
                Property address:                51- 53 OUTLOOK AVE                                                                                                          Saturday 8am - 2pm t:ST
                                                 EASTPROVIDENCE             R102914-3244                                                 onttne:                             we9sfargo.com

                Loan number:                     0046377867
                Payment du date:                 03/1s/i 5

                Statement date:                  03102Jt5                                                                      M9DLLSDTFA 027530
                                                                                                                              1(rilrllrlltl'li(r(r((+tirrrif rlrlr(f~illrflrf11111r1(r(r(1,(lir(
           1. Payment options                                                                                                 qJOHN S. ENNIS ESa.
                                                                                                                            1200 RESERVOIi~ AVE
           Select your option on the payment cotlpon below. Please see                                                 .r CRANSTON           R102820
           choosing your poyment options on reverse side for expfanation.
              PAYMENT OPTIONS DO NOT APPLY




                                                                                                                                                                                                                        3;
                                                                                                                                              3. Year-ta-date                                                           ~
           2. Current payment explanatian                                                                                                     _    ... ._. } _. .                            ..•         .
              Payment option,
                                                                                                                                               Totr.t racetved ~                     Escrow disbursements               ~
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           hiterest due                                       1,130.48                                                                                                    0.00
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           Deferred interest+                                      0100                                                                       Principai                              Taxes                              N
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           PrirKipal paid                                          0.26                                                                                                   0.00                                   0.00   w
                                                                                                                                                                                                                        a
           Escrow                                               345.57                                                                        Interest                               Additiona) assessments
           Optional proclvct(s)                                    0.00                                                                                                                                                 z
                                                                                                                                                                          0.00                                   0.00   z
           Zuttent payment                                    1,476.31                                      :                                                                        Homeowners insurance
                                                                                                                                                                                                                        z
                                                                                                                                                                                                                        z
                                                                                                                                               Late chargesl
           Total past due                                    49,294.18                                                                                                                                                  z
                                                                                                                                               fees                                                                     z
                                                                                                                                                                          o.00                                   0.00   z
           TotAlpr,yment                                     50,770:A9 >                                                                                                                                                z
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                                                                                                                                               Optional products                                                        z
           Past due amount         Late chargc /         i~tdi past due       7otai outstanding             Current iriterest rate                                                                                      0
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                                     fees due                                 deferred interest+
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                48,941i.08               343,10              49,294.18                4,086.66                         5.300
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           +See expianation o( deferred interest on reverse side under choosing yourpoyment options.                                          `This total may include tthe Unapplied fh+nds balance                      0
                                                                                                                                                                                                                        t-
                                                                                                                                              from the balance summary dispiayed below.                                 v
           4. Transaction activity
       ---_._......... ..._.. , . .._ _..._..__.._._..._...._,.... .._._______..__ _......_.__._._..__..... ___._._..._._..._..._.._......_   _... _ ._ ....--_--._- .. ...... . ... . _...__ ........ .__.. _. .. ..
               Date             Desc:IpHon                      Totat               Prtncipal          Inte►estpald            Escrow          Optional              Late charges!                 Unappfied
                                                                                                                                               insurance              otherfeas                     funds               ~
             02117        FC ATTY. C05T                       467,00 :




                     Your toan is 035 payment(s) past due. Your otdest payment was due 04115J12.
                    '•`•"•*If you are having difficulties making your mortgage paylnents, we encourage you to contact Welis Fargo
                    at 1-888-345-1354. Some of our payment pians may pteasandy surprise you. If your payment has already been
                    made, please disregard this message.
                    TAX INFORMAT;nN UPDATEc You can access a copy o( your 2014 mortgage-related tax document on Wells fargo
                    Onlitie•. It's simple, secure and fiee. Documents are posted mid-January and remain availabie throughout the
                    year. To viewor download a copy of your 1098 form, sign irt or enrol) today at welisfaugo.com/signup.
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          Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 106 of 147 PageID #: 109
Case Number: PC-2015-1864
                               erior Court                                                                               . ..y.. ~ _. .
File '
Sub                                                                                                                 Loan Statement
Env               ~
Rev                     t t




                                                        Past Due Account Status


                As of the date of this statement, you are 1051 days delinquent on your account. Failure to bring your
                loan current may result in fees, the acceleration of your repayment terms (or request for repayment of your
                balance in full), or the possibility of ioss of your home through foreclosure.

                The delinquent amount due on your account is $50,770.49.



                                                           Recent Account History


                                                                                                                                          ~
                              Statr:rrvir:t•Payment          Statement Payment                   Payment Amount                           0
                                                                                                                                          r
                                       Date                       Amount                          Outstanding "                           ~
                                                                                                                                          0
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                                         02/15/15                        $1,476.31                      $1,476.31                         a
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                                                                                                                                          N
                "This amount does not inciude unapplied funds.                                                                            8
                                                                                                                                          N


                As of the date of this statement, Wells Fargo HAS NOT filed an acceieration notice in connection with a
                foreclosure proceeding as required byapplicable state (aw.



                                                                                                                                          ~
            Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 107 of 147 PageID #: 110
Case Number: PC-2015-1864
Filed in Providence/Bristol County Superior Court
Submitted: 9/2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte




                                                    EXHIBIT O
            Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 108 of 147 PageID #: 111
Case Number: PC-2015-1864
Filed in Providence/Bristol Cft t~,   erior Court   ~ D             ° X, ~, -p -n
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Reviewer: Alexa Goneconte W _ z                     ~ ~J "ri
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              Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 109 of 147 PageID #: 112
:ase Number: PC-2015-1864
'iled in ProvidencelBristol County Superior Court
>ubmitted: 9/212015 5:09:01 PM
:nvelope: 318314
teviewer: Alexa Goneconte

                                                      John B. Ennis
                                                           Arrorney wr Luw
                                                    1200 Reservoir Avenae
                                                    CranstQa, Cthode rsland 02920

                Tel. (401) 943-9230                                                            F ax (401) 946-5006
                May 14, 2015

                Wells ):argo I-lome Mortgage
                P.O. Box 10335
                Des Moines, IA 50306

                Ciient: Maryann Matliews
                Property Address: 51 Outlook Avenue
                East Providence, RI 02914
                Account No.: 004G377867

                Dear Sir or Madain:

                Please consider this letter to constitute a Notice of Error under 12 CFR Section 1024.35 af
                Regulation X of the Mortgage Sei.-vicing Act under RESPA, which Regulation became effcctive
                on January 10, 2014. These amendnients implemented the Dodd--Frank VJalt Street Reforni and
                Consumer Protection Act provisions regarding tnortgage loan servicing. Under these
                amendnients, you niust acknowledge receipt of this Notice with.in five (5) days thereof
                (excluding legal public lrolidays, Saturdays and Sundays) and nlust advise mc of~your responses
                to this notice within thirty (30) days of receipt tliereof (excluding legal public holidays,
                Saturdays and Suridays).

                The written authority of the client to tny law firin for this Request is attached hereto and
                incorporated herein by this reference.

                Under Section 1024.35(b) of Amended Rel;ulation X, the term "error" meaus the followint;
                categories of cove`rcd errors:
                                        4

               (1) Failure to accept a paynlent that confornts to the set'vicer's written requireinents for th.e
               borrower to follow in nlaking paytnents.
               (2) Failure to apply an accepted paynient to pt-iztcipal, interest, escrow, or other c.harges unde.r the
               ternts of the mortgage loan and applicable law.
               (3) Failure to credit a paynient to a borrower's rnortgage loan account as of the date of receipt, in
               violation of the protnpt crediting provisions iui 12 CFR 1026.36(c)(1).
               (4) Failure to pay ~axes, itlsuratnce premiuttts, or other claarges, including cllarges that the
               consumer has voluntarily agreed that thc servicer should colleet and pay, in a tinlely nranner as
               required by tlre escrow provisions of § 1024.34(a), or to refund an escrow account balance as
               required. by § 1024.34(b).
               (5) Imposition ofa fee or cliarge that t:he servicer lacks a reasonable basis to impose upon the
               consumer, wlZieh includes, for example, a late fee for a paytnent that was .not late, a charge you
               iniposed for a service that was not provided, a default property-n7a.nagement fee for consutners
             Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 110 of 147 PageID #: 113
Case Number: PC-2015-1864
Fited in Providence/Bristol County Superior Court .
Submitted: 9!2/2015 5:09:01 PM
Envelope: 318314
Reviewer: Alexa Goneconte
               who are not in a delincluetncy status that would justify the chat•ge, or a cbargc .f,or force-placed
               insurance provisions.                               '
               (6) Failure to provide an accurate payoff batancc ani.ount upota a borrower's request ptursuant to
                12 cFR 1026.36(~)(3).
               (7) Failure to provide accurate inforcnation to a borrower for loss mitigation options and
               foreclosure, as recjuired by tlie early intervention provisions of § 1024.39.
               (8) railure to acearately and tirnely transi'er inforrl;tation relating to the servicing of a borrowcr's
               mortgage loan account to a transferee servicer.
               (4) Maldng the first notice or .filing requircd by applicablc law for any .judicial or non judicial
               foreclosure process in violation of the loss tnitibation procedures of § 1024.41(f) or (j).
               (10) Moving'for foreclosure judgment oi• order of sale, or conduction a foreelosure sale in
               viotation of the loss tnitigation procedtires of this rule § 1024.41(g) or (j).
               (11) Any other err`br re.lating to the servicing ofi the consumer's nrortgage loan. f'lease rnotc
               "servicing" is defiiled in § 1024.2(b).

               The consumer in"this case beiieves that you cominitted an error by :idvertising a
               foreclosure sale for the consumer's prolaerty (lespite the provisions of RIGL 34-27-3.2
               which mandates rnediation hefore commencini; rny ,idvertising for a foreclosure sale
               pursuant to the exercise of the statutory power of sale. As a result, unrehsonable and
               unnecessacy fees and eosts have been charl;ed to the consumer's mortgage lonn account.
               Please correct all of ttiese errors and provide me with iaotiiication of the coi-rection, the date of
               the co>Tection, ar.id contact infonnation for furtlier assistance; or after conrtucting a reasonable
               investigation and providinl; tlhe borr,ower tl>,rough lrty firm with a notifcation that includes a
               stateinent that the 'servicer lias detertnined that tYo error occurred, a statement of tl~e reason or
               reasons for this de,'termination, a statenient of thc boi-rower's figlht to recluest docunicnts t'elied
               upon by tlie servi.cer in reachitug its deterntinatioii, infornnation regarding how the borrower can
               request such docuaracnts, and contact infornlation for further assistance.

               Please be advised that 1'or 60 days after reccipt oC a Notice of Error, yort trtay not furnislt advet;se
               inforrnation to an~ consturnei• reporting agency regardi.ng any paytrteitt that is the stubject of the
               Notice of Error pursuant to § 1024.35(i).

               Sincerely,

                Nf`~\ / )-y G`;—
               ]olul B. Ennis, Esq.
              Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 111 of 147 PageID #: 114
Case Number: PC-2015-1864
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Envelope: 318314
Reviewer: Alexa Goneconte

                                                                       TITLEI 34
                                                                                  .
                                                                         Pr'®p erA[y

                                                       CI-I P I"IAR 3 --27
                                                 Mortgage F o'reclostir e and SaXe
                                                                    SECTZON 34-27-3.2



        § 34-27-3.2 1Vled:iltion cont'er eiiee. —(a) Stcrtemcnt ofZ~olicy. it xs liereby dec.lared th~tt residenti,al
      laaortgage :forecl.osure actions, caused lll pa1't Uy uI]elll(7loytt]eT).1: 2I-iCl 117T.del'c111~,71oy11.1eJ.l.t, have ne gatively
      iixxpacted a.substantial number of ll.oilaeowners th.rougttout: tla.e state, creatilzg a sltuatyoza tll.at elldwi.gers
      the econom:ic stability of yiiapy o:C the citi.zetis of tlii.s state as the increasing inirnbei•s of foreclosures i,ead
      to itacreases irn utioccupied a.nd uo.atterlded huildings and the iiilwanted displacezuetxt of hotlieowne.es ata,d
      ten7tits who desirc to live aiid worlc wittiin. the staie.

         (b) I'ur•pose. "1'he statutory frainewo.rk fox foreclosut•e proccedings is prcscX'ibed under tllc provisions of
       claapter 27 of titic 34. As the need for a uzoz-tgage rnediatioia proccss has evolvecl, it is .irxlportant :for the
       state to develop a stao.dardized, statewide 17t-ocess for :f'oreclosure nledi.atiotz xatlier tl1an a pj:oce;ss basect
       ozl local orciinances          ay"vary fro;zi: xnuilicipality to inunicipality. 13y provid.ing a u:tti:rorn) sta.ndat:d
       for atl eerly I~Ull-at7~t~tvi;cl, iixdepexideyit couilseting proccss in owiler-occupied princi.pal residerice
       ta~ortg~~.ge forecl.osure cases, 11~e ca~aa.ces o:f aclii.evi.ug a posi.t:ive o~rtconle foz llo~~.u:own.c:rs at}d le~lde.rs
       will be enhaticed.

         (c) Definr'tions. Ttae fol.lowing defitai.tiorls ap.ply iii tlae ititerpretlt;ions o:C the provisi.oias of this secti.otl
       util.ess tlie context rectuii'es an.othcT Dlea.lri,ng: ,

         (1) "Default" means the fail.ure of tbe mortgago.r to til}a.ke a t1ll1ely pc'l.ytlle7Zt oTas1 a113oullt dLle'Lltldet" tlle
       tertias ofthe niortgagc coil:tract, which failure has i7ot beert, stlhsequently ctu'ed.

          (2) "Depa.rtment" i.neans the depart~.ilent a('busiiIess r,cgula.tion.

         (3) "Goocl Faith.." znealis tl.lat tlZe rn.oxtgagot: a»d i~~ortgagee dell lton.est.l.y tizid fa.icly witli th.c :t7~ediation.
       coordinator wi.i,li'atj•~i,iuient to deter.inirte wlaet4er an alt:ernative to foreclosure is ecoa.loznically :1'casible for
       tl7e moz-tgagor and mortgagce, as evideticed by solm or all oftlie followiug :Eactors:

          (i.) lvJ.ortga.gee providetl ftotice as xecluired vy tlxis sectioiZ;

         (i.i) Mortgagee designated an age7i.t to pa.r.ticil)ale ir), thc mec~i.atiou co~~el7ce
                                                                                         f.e~:  orn its beha.l~t, and witl~ tlie
       autl~,ority to agree to a, wor~k-out agreex~eaat on'its veh:alf;

         (iii) Moi- tgagee talacie zeasonable etforts to respoud in a ti.niel.y xnannel• to :request:s :fol- iilforma.tiul-t 'lro>.a1
       thc inYcdiati.oia coordinator, uyo.rtgagor, or counsel.or assisti.ng tl-Ae zno.etgagor;

         (iv) Morlgagee declirles;,to accept tl-ie iaiortt;agor's worlc-out proposal, if any, axld thc inortbagee
       Prov's.ded a detailed sfatA=~~.ei~t, iyt writiltg, of its reasorLs for rejecti.xlg the proposal;
                             i   •l. .

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                                                                                    p P TO OSal, tlle ll]ol't
                                                                                                           g~lgee Offel'ecl, 111
     Wri.tzitg, to etttet' i.ti:to az7. aitettiative work-outldisposi.tion resolution pi•oposal that woulcl resul.t i.tl raet
     •f j.nlncial bene:f.it to thc m,ortgagor as conip,:u-ed to the tcrrns of tlae mortgage.

       (4) "H;UD" nieatts tlle United States Departulent of Hotisiiag aud Urba11 Developl1lerxt ailci axiy successor
     to sucll depat;t»>elit. "

       (5) "M:ediati.mi conference" rlxeans a conferezlce ilavolving tb.e 1'nortgagee an.cl >rzlol•tgagor, coordi:na.ted
     aiicl 1'acilitated by a t»edia.tio7i coordinator whose piu•pose is to deteytninc whether 7t) altertnative to
     forec.losure.is economicatly feasible to botti the tl-tortt;agee and t;lte xtzortgagor, ancl if i.t is detei'Millcd that
     arx alternativc to fol•eclosure is economically :fcasable, to facilita.te a loan. worlcout or othcr solution in au
     effort to avoid foreclosure.

        (6) "Mecliation                           a person etaiploycd by a TZlxode Xslat,d-U<<sed, 1:IUD-approved
      counseliiig ageiacy desigt-tated to serve as the ui7.biased, :iltxpartiat atid inc(epectdeiYt coordilaator ai1d
      facilitator o:f ttte txiediatiot.z cotifere>ice, witl:l no autl,lot'ity to iztipose a solutioil ot' othertvise act as a
      cotisti>;i.ier advocate, provided tYaat sucli pe:t'sort possesses tt7,e experiezice aiid nua.li.fica:CioOs esti;blisbed by
      th.e deplrtroent.

        (7) "Moxtgage" meatts att individual consuia7et• fia'st-lien naortgage on any ow>aer-occupied, oiie (:l)-to-
      four (4) tmit resiclential property that serves as the rriortgagor's primary a'esideiace.

         ($) "M:ot tgagee" niealis tltie liolcler of a tttortglge, or its ftgent or clxtpl.oyee, irzclud:ing a m.o.ctgagc
      sei-vicei• acting on behalf of amortgagee.

         (9) "Mortgagor" in.t;tiaiiti)'t[ie pe-son that lias sigried ai»ortgage in. oxder to secure a deUt ol- otl,cr clLlty, or
      tlie l.ieir or' clevi.5ce of: sucll persoii provided that:

         (i) Ti,c heir or devisce occup.ies the propei'ty as Jais or hez• prinlaiy 1•esidencc; a:,acl
                                                                                                                                 1
         (ii) T1ie h.eir or devisee lias recot-d tifile to the property, or a r-eprescntative of the estate of: t1ie mortgagor
      ttls been appoiwecl witlt autttority to parCicipate ixl a mediation collfcrence.

        (d) The m.ortgagee sliall., prior to :initiati,on offoreclosure ofreal, estate pursua:nt to ti 34-27-4(b),
      pt'ovidc to tbe mortgagor writteti notice at tlle adclr'ess of tl-ie real estatc and, if ditfereiit,, at tlac a.dclress
      ciesiglaated by tite moxtt;agor by w,rittetl notice to ttie ivoztgagee a.s tlae rnol- tgagor's ad.dress for >,'eceipt ol'
      rtotaces, that thi nlortgagce naay >iot foreclose ori the »zortgaged pxoperty without fiiTst particiPa.ti.ag it1 a
      lnediation cottferen.ce. Notice addtessed axid de,tivereci as provi.ded in tliis sectioti. sllall bc cffective witlt
      xespect to ttle mot'tt;agor~ attci an.y beix or devisec of tbe taiortgagor.

         (1) Zf tlie inortgagee fails to tiiail t)te ztotiee renuired by tlxis subsectiosa to tl7.e mol'tgclgor witlxlll o'n.e
       lztllldred' twenty (120) da.ys after tlze date of default, it shall pay a petlalty a.t tYtc rate oi' o,n.e thousattcl
       ($J.,000) per month. fol' eacJa moxitll ot: part tliereof, witli ttte flrst axtorltt). comi:trle,ztcing on tJa.e otae 1.1u•tadr.ed
       twen.ty-fia-st (121.st) day after th.e date o-fdefault and a. new a»o».tli conitr,encing ort the same da.y (or if
       tllel'e is Llo 5llcl] Clay, tllell oll 111e last day) bf eacll slicceedil'lg c?Ile1"lclar 111oJ.1tl.l L11ltll t7ae li'10.1'L~TRgeC se11c1S
       tlle 1i7.Oltgagol' wrli:tell 17otlee as Tequlled 1,?y tl.tls sectl()11.

         Not-witlistariding the forcgoin,g, any petlalties assessed under th.is stlbsection fot' a».y :f:ailure of aa~y
                                                                                                                   u5lx t11e
       n•lortgagee to provide tlotice as provicled llerext~. d~r.cil~g tlle peziod fi-oln SeQtei~~ber ] 3, 20~13, tt~ro
       effective date of ti.iis'sectioi:.shall not exceett the total an-ioulit of one hula.dt•cd tvverni:y-:Cve ti.lousaati
       dollars ($ 125,000) fcz         nlortgagt:e.

       s:Nwebserver.riti n.state.r i,uslStalu`teslriT LE34J34-27/34-27-3.2.H T M
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ReviewerN0,@"1fi,dg ticcrui.»g pursttat,it to subsectioia (d)(1) shall be paid to tb.e 1-xzediatioxz coo.rdiDator pYiot• to
     t11c coJaaplctialt of tlle mediatzotl process. All pet2atties aecrucd wzder this sectiota sllall be tra.nsferrcd to
     ll'le state vwitl-kin o»E t,t,otttll. of reccipt by tlle tn.ediatioyi cooi:dinatoa- and deposited to thc 3- estricted receipt
     a.ccouitt witllin tlze geilerzl fund establislied by S 42-128-2(3) atad used ror the pur.poses sct foX'tlt tlzercit7.

           (3)-Issuaiice by the mediation cooa-clinator o:Ca cer-tificate authorizing tlle mortgagee to pz-oceccl to
       -foreclosure, or otlierwise certifyixtg the m.ox-tgagee's good-faitlt el'loi't to coirn ply with the pi'ovisioias of
        tltis sectioa, sball coixstitute co)lclrxsive eviden,ce th.at, to fihc extetlt th1t any penalty may havc a.ccrucd
       pursuant to subsectioil(d)(1), tlxe petlalty lias l7ee.t1 paid iu full by tlle lnortgagee.

          (4) Notwithstancliilg any otller pt'ovisi.oizs of tl~is subsectiotl, a aliortgagee shall iiot accrue aily pellalty if
       ttle tlotice required by this subsection is naailed to the borr.ower:

         (i) Withiii sixty (60) days after the datc upon.which tllc loaii. is .releasecl froral the protection of the:
       autorna.tic stly M a bai3k.ruptcy proeeedittg, oj~ aiy sinailat' i.njunctive o.rdex issltecl by a state ot• fectea`al
       cotlrt, or witlain olae 11uiidred twetity (120) days o:Cthe datc oi1 wbicli the naortga.gor .iriitially Failed fio
       cona171.y w.i.tli tl.le tei•ius of an el'a.gibl.e wot'kout agteet.lxen:t, as hereixlatter defiiied; and

          (i.i) Tlte znortgi:lgee othe.rwise co>',xlplies witli the requi.t'etliezl.ts o1'subsecti.o>,1(d); providcd, bowcvcr, tbat
       if tlle anortgagee fails to mail tla.e noticc recltiired•by subsectioxi (d) to the inortgagor withiix tlle i.i.~,:tte fratlze
       set fot:tl) iti subsectioti. (d)(4)(i), the m.or.tgagee sliall pay a. Uen.alty at the rate o.f one t1iousand doJlars
       (:f;).,000) per mon.th for each nlotatli oi' part tlie.rco:f, vciith tlte f'trst ilionth comriacilcing ozl the thirty-firsi:
       (3 Ist) day aftel' tl.le date Llpol'1 whlch tlle loaYl is teleased fl'oX'11 tlle pi-otectiotl Of the cluto311a.tic stay a
       bankiuptcy proceectine .nl- ;~,Zy similar iiijun,etive orclez• i.sstted by a state oi- feciez•al court ancl a. ncm, tnontla.
       c0I,17.111e11c:Ulg 011 t11e s,a; -~-. day (or if tlxei'e is no sucli d.ay, t.hen oil tl-te last (lay) of ca.clx sltcceeciin.g
       caleztdar )aaonth.un;ti1 tl~~,moi•tgagee setlds tlie tno.rtbagor written notice ns requitGc[ by this sectioi~:
       Notwithstaiidin.g tlle !'oi-egoit~g, auy penal.tics assessed utidei' tllis sLibsection. :E'or• an.y failui•e o:f a+.ly
       x1ioi~tgagee to l~rovide n.otice as provi.cled her.ein during tlae. period :Crom Scpte:albet• 13, 201.3, tlirougli tllc
       cffective date of tttis section. shall xiot exceed thc total arnoulat of ot:ie hundred twe>,ty-five tl,ouscta}.cl
       clollars ($125,000) .for such inottgagee.
                                                                                                                  ,
          (5) Notwithstan.ding any otlier provisioiis oftliis sectiorl, a mortgagee may itaitia.te a. judici.al. i:oreclosl:t.l-e
        i» accordiince witll S 34-27-1..

          (e) A forui of writtett t~otice n~ecting the xcnuirements of this sectio,l stiall bc pro7-iiulgated by the
        departilleriti :for use by nlortgagees at least tliirty (30) clays prior to tlze e;;tfective date oC tltis scctioti.. Tlic:
        writteiA iaotice t•equixed by this sectiox, slaall, be in Etaglish, Po.rti-tguese, aad Span.isll, a.nd n}ay be
        com.biiaed with aii,y ot.lret- ilofii.ce z'equit'ed utldex this cha.pte.r oi' ptirsuant to statc or fedct'al law.

            (i) T'lle nied.iatiott coilfereitcc sllall take place in pez-sotl, or over the pla.onc, at a time aiid placc deemed
        illutually cotzveni.ent .for the laarties by aiA inclividltal empl.oyed by a HCJD-approved, incicper,~cletat
        cottnseliiig agency selected by the ntot'tgagee to seive as a 117ediatioll_coo:rtlinator, vut i7o1 latcr t.iaan. sixty
        (60) clays foJ.lowing thc naailiilg of t1.1e zloticc. ,The a1zoY:tgagor sl.tall coopex•ate itl. all respects wi.tll thc
        'Itlediatio7l, cool'dtnatOl' 17'lcludLtlg, vut not limited to, p:roviding al.l, it.ecessaty :ii}i.aiic7at at.1d cmployment
        111foX1111t1.oL1 atld Go111pletlTlg ilny al').d c11l 1oa1a. 1esolutl.o111}roposals c'lild alJplicatioils dee111ed al)1].ropl'late by
        tlle I.t.lediatioll Cool'dinatol'. A ilietl'Iat1011 collfe.t'ence vetweell tlle nloftgag01• alnd na0l;tbaseC col}dllct'eCl vy
        an.lcdi.ation coordinator'sktall be provided at z10 cost to tlie n7ortgagor. T.he ITUD-appi;'ovcci coitnsel.i:l.ig
        agezlcy shall ve compensatcd by thc iilortga.gee at a rate not to exceccl five hu.ncirccl, dollars ($500) per
        engageuierit.

           (g) If, ilfter two (`L)'.a.`ttt iilpts by the ztlediation coordix7af:or to coiltact the tziorigat;or, tlie rxioitgagor :t'a'ils

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Review~~ ~;~~~8Wclidt4ic tuediatton cool'cli.z7.ato.r's .request to appear at a zuedi.ati.ot't confet'ence, or tl.l.e mortgagoz•
       fails'to coopct'ate i.it atiy res.pect witll the rcquiremezlts o,f thXs secti.on, the requixet».ents of tt~e sectiola
       shalZ he cteenicd satisCtecl upon. verification by tlie tnediatioi-.i. coordinatoi' th7.t tbe retlutt'ecl iiotice was scilt
       atact ft1Xy pe3'laities acC1'ued 13tirsualit to subsectioll (d)(1) illlcl any payrllei]ts owecl ptllstiallt t:o subsection
       (f) have becil paid. Ul?oil veri:Cicatioia, a certificatc wiXl be issued imzliediately vy thc ii-icdiation
       coorclinator autllorizii~g the inorlgagee to procced witli tlle foreclosure action, izlcludi>1g recoccii~ag tl~e
       dcccl. Sucli cert
                     if'tcate shall be valid uixtil tlie eatlier of:

         (t) T11c ctU'illg of tl]e Clefault Conclltto),1; or

          (2) Tlie foa'cclosuz'e of tbe i-nortgagor's rigllt of Yedeaxtption.

         Tbe cecti.ficate shall be reca.rded aloz7g witli. the fo.reclosure deecl. A fo:rtz7 o:f certificate ia7ectil.it; tl7e
       requircraeri.ts of ttiis sectioxl shall be pronaulgated liy the departl-txcnt for usc by iziortgagces at least t.hix-ty
       (34) dlys pt•ioa' to the effEctive date of tlais section.

          (h) I('tfxe mediation coordinato:r cleteairiines tliat aftr;r a good-:Fai.th el'foc-t .triade Uy tlze naoctgagec at ttie
       niEdiati.on con.f:ei•ence, ti:te paz'ties canaot coixic to ai7 agz•ec.nie:tzt to t•eizegoti,ate the: t:etxzis of tt~e loa.►l i7l a:ti
       effort to avoicl fox'eclosure, suclx good faith effo.rt Uy tli.e Fiiortgagee shall bc decziued to sa.tisfy tlic
       requia-V.17en.ts oI'tlais sectio>1. A certi:Cicate cez-ti,Cyiiag such good faitlt effort will be pi•omptly issued by tli.e
       lnediation coorclinatoi' autlloi:izitig the niortgagee to proceed vvith tlie Coreelosurc a.ction and record61g o F
       tl:le for.eclosure deed; providecl, howeve:r, tliat tl'ie anedi.atioit coordinator shal.l not be requix'ed to sueis
       such a cextificate until aiiy penaXties accr.ied'purstiant to subsectiozis (d)(1) ancl (d)(4)(ii) axid atly
       payiaielxts owecl pursaai,it tti'subseetion (1) laave beexi paid. S'uch certification slaall be val.ici 'unti.l t17e
       Caa'lier of:

          (1) Tl>.e curirng of tlie defatilt coiiditiora; oir

         (2) The foreclosul'e of tlae tuot'tgagot's etlttity of redexul3tiori. The .cez'tiricate shall be recoccled a:1ont;
       wit.la tlze .f:oreclosuz"e cleed. A:fonn, of ce.rtificate rixeeti.rig We requirerllejlts ofi;liis section slzali bc
       pz'onaulgatecl by the ticpartmeixt for u.se 17y mortga.gecs nt least tl.iirty (30) {fays p,rior to tlie effcctive datc
       of thi.s secti.ou.

          (i) Zf the inortgagee aii.d n7ortgagoz az•e able to reach a.gree.tiaent to reue:gotiate ti'Je te.rtxis o'l the 1.0"3n to
        avoid foreclosure, tlae agreeii-tctzt s1a.a.11 be reduced to wiitiixg and executed. by the i.n ortgagox- atzd
        »'t.ortgagec. T1'.:he inortgagee an.d iiioi-tgagoil re1c11 agr.ecment after i:t>;e itotice oJ`7l}ediation confcrerice is
        seiit to tl>e iiio.rtgagor, but witliout ttic assistaiace ofi tlie .iz->rediation cooz'diriator, the mortgage:e sllall
        provi.de a copy ui tlio :Y,i;ttM agzecz";;lezxt to the inediatioti. coordiia.ator. Upoxa receipt of a wz ittezi
        agreen-ieut between the zi-iortgagee aizd mortgagor, the: xueciiatioal coord.inator shal.l i.ssue a ce3.tificatc of
        eligible worlcout agreezrZent if the woxkaut agreenieixt w0111.d result ix1 a rnet :firna.ctci.al bcnctit to t11c
        iziortgrtgor as eomparecl to tlle tertiis of tlxe niortgage ("Certiftcate of EIigible Worl(out AgVecmcnt"). 1v'oz-
        purposes of this subsectioi.)., evidexlce of azi <tgreerlicnt.sha.11 iiielude, but riot ve li.mitecl to, cvidencc of
        agx-ee>.)i.e~zt Uy votlY r.nortgagce aaad iztortgagor to tlae tcrr»s of a sho.rt sitic or a cleed isl J.ieu of f;oreclosure,
        regllctless ofwliethc, saict slaort salc ot dced i.tt. l,ieu of :foreclosure is subsepcntl.y conlplelecl•

           (1) I`Sotwi.tl,tstandi.»g aiiy otli.e.r pa'ovisions of tliis secti.ora, whcre zuioa-tgagor an.d 1iaoi-tgagec havc
        entered i:nto a writicn agteeiixent aild tbe nzediation. coord:inator bas issued a. cert.ifi.cate o:l eligiblc
        worlcoLit agreeiuetYt as ,provided ial subsection, (i), if the xnortgagor fa1ls to ffil.ftll h1.s or 1)eC obl)gat7oxls
        lllldel' t118 C ligll?le wo1'IrC,t ;c agreenxezit, t(te p~ovisior~s of tl:.tis sectioz} sliall taot apply to ax~y foi-ecloslxre
        initiatect urider th.i.s 1.;11:1:,.e, witltix.t twelve (12) zlaont:lzs follo•wixag tlie da.te of the eligible wo.Gl.cottt.
        agreetnec:t. I11 suclk cuSe, tl ie iiaoctgagee slaall include in. the foreclosure deecl an. a'ffidavit establ.isl7ing its

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teview           a~o, ~fcifas( d u11CtC1' tt1l5 sGC~.1011.


         (k) This sectioti sliall app1y only to foree.lositre of:nnortf;ages oil orxJtaei•-occupied, resiflential real
       propexly wi.th.no m.oic th.an. four (4) dwelJ.ing units th.at is the pt•itnary dweJ3izig o:C tl-le zno.rtgagor atld not
       to txaorLgagcs secured by otl.lcr real properLy.

         (1) Notwithstandi.ng auy otlier provisiot1.s of this secti.on., atty loca:l.ly-based nior tgagecs shall be c1cel3acd
       to be in coraipliatice with. tl.re xequirenaexxts ol'this secti.o.ti i:t':

          (1) The ialortgagee i.s lteadcluat-tered itz Rltode l's17i1d; or

          (2) T1ie mortgagFe,nai;xtains apliysical ofCice, or off"iccs, exclusivcl.y in7'Ji.odc l:s.latid (ronn 'which
        off'ice, or. oftices, it cariIcs otit fu11-service 1xiortgage o•pe.r.atiotis, iticl.udi.ng the acceptance atld p)'occssing
        ofn-tortgage paynaent•s ala.d tlle provisi.o.r1. of l.ocal, custotxiNr scr-vicc ati.d loss niiti.gst.tion antl wherc Ri-kocle
        Tsland sta.tf have th.e authority to approve l.oatl t'estructuriu.g a.ad other loss rtntisatiota stratcdics; and

          (3) Tlie deed offered by a niortgagce to bc filed wi.t]Z the city or town i•ecorder of deecis as a result o C a
        mortgage fiorectosure action 'uixder power of salE con:ta;ttl.cd a certif:icatiou t11at tlae provisiotls o.f tl-lis
        section have vecn sat.isfied.

          (m) No deed olfered by a raiortgagee as a iesu.lt of a xa:xortgage foreclosure acti.oti uude.r powcr of sale
        s11a11 ve subntitted to a eity or towzi recorder of deeds fo:r record.iiig i_n tlic iand ev.idcnce .rccox'd.s of t1ie
        clty oT towll lltltil al]d itilleSs t11e reClu]reyJletlts o:C thts sectloil aTe iiaCt. r ailu:re o C tllc iiAor•tgagec to coalply
        wltll tlle 1'CC]LlirE173Et:ii.s t)f tllls sectloLl: shall TeTl.der the :Co.i'ec.l,~ASure vo.tCl, witllout 13131'ttB.t'f.o:tl o C t'.11.0 Clgtlt of
        the tiloitgagee th.erca.;'t:~,i to re-exercise its power of sal.e ot- other 71).caxl.s of Loteclosure upon. ccxtnpliauce
        witb tllis'section. Tbe righ:ts of the mortgagor to any ;redress afEorded ut7der• the law at-c not abridgecl by
        t111s secttoll.

          (n) Ai.ry existing ii;iunicipal ordin,ance or futuce ordittiaiice that rcquires a conciliation or mediatiol7
        proeess as a preco>.Zd3tion to the recoz-datioil oI a foreclosTlre deed shall coiiiply with the provis"ions set
        fortlz hereitt aud axiy p.rovisions ofsaid ordinatiees thaat do not conaply w.itlx the provisi.ons se:t t:orth 17cz-ein
        sl7ali be cletcrinitied to be uiaeiiforceable.

           (o) Tlie provisiozzs of tllis sectioxi shall iiot apply if the mortgagc is a teverse raiortgage as described in
         chapter 25.1 o1'titic 34,
                                                                                                                                 ace's
           (p) Liiniicittoris• on actionS. t1.ay persotl wh,o clalllts that a f:orecloslt.re is iiot vaJtt{ dtic to thc n}.UI:tg70
        failure to eotiip?~               ret'nis of ttlis sectioli sbalt .ti.ave otie year fran-t tf7e cfa.tc t).tat t:f:te first 7i.otice of:
        fo~~eclbsure was publisixcd to file a cozti.plait~.t ix~ the super.ior court fox ttxc county in wllich s:he p.1•opet'ty is
        located a;ad sltal.l alsoa;file in tlae rccords of 1.1nd evideaice itl tlte city or towil wh.erc ttie iand subject to tlie
        morlgage is loeatecl a' iiotiee of lis petic]ens, thc coiliplainl: to bc 'filed orn the saYne clay as the notiee oF iis
        pen.detls, oc wittiiu. seveil (7) ciays thcrea:t:tcr. Pailua-e to fi1e a coxnplaint, record tlte txot,ice of 1is peridens
        and.serve the nioxtgatiee witlait-i tllc one-year period sltall. preclude said .inortgago.r,or atly ot:he.r pczson
        claitiiii7g atl`ixZtei-est tJ.arough a mortgagox, frotn subsequeiitly challengirIg tlre vllidity of tl.~c :Corcclosure:.
        Issuajice by the izzediation coordinator ol' a ce.rtificate aut(Zoriziztg tlae n:-tortgagee to procceci to 'Eocec.loslire
        or othcx-wise certify.uag the Mortgagee's good-faitl:i eC.Cort to cotaiply witb thc provi.sions of ttlis sectiotl
        slaall co7.rstitute a revuttable pfesum.ption that tl-ic noti.ce rE,nuiremert,ts of sltbsectioaa (d) have veen ii'lct in
        all i•espects.

         IZistory ol` Secti.on. •
         (P.L. 2013, ch. 325, fi 1; P.L. 20"13, cli. 406, § J.; P.L. 2014, c11. 543, §"1.)

        tp://webserver .rili n.slate,ri.uslStaiutes/TITLE34134-27134• 21-3.2.HTM
            Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 116 of 147 PageID #: 119
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                                                    EXHIBIT P
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                                                    EXHIBIT Q
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         Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 119 of 147 PageID #: 122
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Reviewer: Alexa Gonecpnte             i
                       I              •~ttt~l

                                        • Complete items 1, 2, and 3. Also comptete            A. Signature
                                          item 4 if Restricted Delivery is desired.
                                                                                               X                                            Q Agent
                                                                                                                                            O Addressee
                                        ■ Print your name and addreis on the reverse
                                          so that we can return the card to you.               B. Received by (Printed Name)           C. Date of Delivery
                                        ■ Attach this card to the back of the mailpiece,
                                          or on the front it space permits.
                                                                                               D. Is dalivery address diTierent from item 19 0 Yes
                                        1. Articl® Addressed to:                                   II YES, enter delivery address below:    O No




                                            Welis Fargo Home Mortgage
                                            P.O. Box 10335                                      3. Servioe Type                                 i
                                            Des Moines, IA 50306                                    ' Certitled Mail' O Priority Mail Express' '
                                                                                                   O Registered        O Return Receipt for.Morchandlse
                                                                                                   C1 Insured Ntail    Cl Ctiltect on Delivery
                                                                                                4. Restricted Deltvery? (Extra F'ee)        C] Yes

                                         2. ArticleNumber                         7014      1$20 0000 $774 0467
                                            (rransler lrom service /atrep
                                       i PS Form 3811, July 2013                  Domestio Return Receipt                                                    i
           Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 120 of 147 PageID #: 123
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                                                      Jahn B. Ennis
                                                           Allvrney a1 Lm+)
                                                    1.200 Reservt>'ia- Avenue
                                                    Cranston, Rthode Island 02920

              Tel. (401) 943-9230

              May 21, 2015

              Wells Fargo Ilome Mortgage
              P.O. Box 10335
              Des Moines, IA 50306

              Client: Maryann M.athews
              Propet-ty Acidress:_51 Outlook Avenue
              East Providence, RI 02914
              Account No.: 0046377867

              Dear Sir or Madam:

              Please coiisider this.letter to cotnstitute a Notice o1- Error under 12 CFR Section 1024.35 ol'
              Regulation X of the Mo.rtgage Servicing Act iuider 1ZES1'A, whicli Regulatiotl becainc elTcetivc
              on Ianuary 10, 2014. These amendrnents implemented the Docld-Franlc Wtill Street Re:fo:rm and
              Consumer Protectioti Act provisions regarding niortgage loan servicing, Uncicr these
              amendmeilts, you i.nust acicnowledge receipt of this Notice within five (5) days thereof
              (excluding legal public llolidays, Sat.urdays an.d Sundays) and tliust advise nie of your responses
              to this notice witliin thirty (30) days ofreceipt thcreo:f(excluding legal public holidays,
              Saturdays anci Sundays).

              The written authority of the clients to rmy law firm for this Request is attached hereto and
              incoiporated hereiii by this refetrencc.

               Under Secti.on 1024.35(b) o!" Amended Regulation X, tlie term "e>7•o.r" mearns the following
              categories of covei•ed errors:
                                      I

              (1) liailure to accept a paynient that con:forms to thc servicer's written rcduirements for the
              borrowe.r to follow ili inalcinl; pay.ments.
              (2) Failure to appiy an accepted payment to pri.ncipal, interest, esctow, or other charbes utider the
              tel'llis of the nlor tgage loan atad applicabte law.
              (3) Failure to credit a payment to a. borrower's lnortgage loan account as ol~the date ot`receipt, in
              violation of tlhc prompt creditin.g pz•ovisions in 12 Cf'R 1026.36(c)(1).
              (4) Failztre to pay i<ax.es, irtsurance pt•enlituYzs, or otllcr charges, llncludll7g charbes that the
              consumer has voluntarily agreecl tllat the serviecr• sliould colleet and pay, in a tit-nely nianner as
              required by the escrow provisions of § 1024.34(a), or to refimd arn escrow accourtt balance as
              i•ecluired by § 1024.34(b).
              (5) Impositioii of a fee or charge that the servicer lacics a. reasonable basis to impose upoal the
              consumer, whicll includes, for example, a late tee for a paynzetxt that was not late, a cliat-ge you
              imposecl foe a service that was not provided, a default property-nianagcment fee lor consuniers
            Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 121 of 147 PageID #: 124
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Reviewer: Alexa Goneconte

              wlio are not iti a delinquency status that would justi.fy the charge, or a charge for torce-placeci
              insurance provisions.
              (6) railure to provide an accurate: payol't~ balanee amount upott a bor.rowea's request pursuant to
              12 CFR 1026.36(e)(3).
              (7) Failure to proviide accttrate information to a borrower for loss tnitigatioti options and
              foreclosure, as required by the early intervention provisions of § 1024.39.
              ($) Failure to accurately and titnely trausfer information relatiug to the servicinb of a borrower's
              mortbage loan accoutit to a transteree service.r.
              (9) Malring the ii.rst notice or filing t•equired by applicabte law tJor any judieial or non-judicial
              foreclosure process in violatiotr of the loss mitif;ation procedures of § 1024.41(f) or (j).
              (10) Moving for :foreclosttre judgtnent or ot-cler of sale, or. conduction a foreclosure sale in
              violation ofthe loss tnitigation procedures ol'this rul.e § 1024.41(g) or (j).
              (11.) Any,other ert`or relating to llae scrvicing of the consumer's mortgal;e loan. Plcase riot:e
              "servicin6" is def:i'ned in § 1024.2(b).

              The consumer in:this cstse helicve that you comntitted an ert-or by comrncncing a
              forcclosure sttle for ttte constumer's home elespite the provisions of RXG.L 34-27-3.2 rvhich
              ntandates mediation before cotntnencirtg any adver•tising fot- a foreclosure sale pursuant to
              tlte exercise of titc statutory power of sale. As a result, unreasonable and unneccssttry legstl
              fees, mailing costs, aclvertising costs auil othcr costs have becn chart;ed to the consatner's
              mortgagc loan accourtt.

              A copy of the necision of.lustice Van Couyglten o1.'tlte Rfiode Island Srtlrcriot' Court, d:tted
              May 15, 201.5 is attachecl. Tltis necision irtclicates thttt a foreclosure pursuant to 12.X..G.L.
              34-27-4 cannot be comtnencecl withottt first complying with tlte provisions o#' R.X.G.L. 34-
              27-3.2, which rnandates tnediation i'or this consutner.

              Please correct all of tliese errots and provide me witlt notilication ofthe correctiort, tlle ciat.e of
              the correction, and contact inforrnation !or further assistanee; or after conducting a reasonable
              investigation and provi.ding the borrower through .my tirtn with a notifica.tion that includes a
              statenient that the 'set•vicer ]has determined that no error occurred, a stateruent of the rcason or
              reasons for th.is cicte.rmination, a statenient of the borrower's i-ibht to requesfi docunients .relied
              upon by the servicer in reachitig its determination, iirt:ormation regarding hovv the borcower can
              request sueh documents, and eontact information for furtlter assistartce.

              Please be actvised that for 60 cfays after receipt of a Notice of);rror, yott mny not firrnish adverse
              information to any constuner repot•t'rng agency regarding any payment that is ttie subject ofthc
              Notice of rrror pu'rsuant to § 1024.35(i).

              Sincerely,
                                      I


              John B. Ennis, Esc}.
              Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 122 of 147 PageID #: 125
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Envelope: 318314
Reviewer: Alexa Goneconte




                                                          John B. EnnniS
                                                            tlttw-ney atLaw
                                                       1200 Ztescrvoir Aven>tie
                                                    Cxanstou, Iffiode Islanri 02920

                  Tet. (401) 943-9230                                                         Fax (401) 946-5006




                                                        A.'CJTHORIZATION

                            Z, MARYANN MATI-IEWS, authorize xny Atto.rney, JOHN B. ENIVIS,

                  ESQ., to communicate on rny belialf anc3/or to discuss with Wells Fargo I3ank

                  N.A. or any other czitity or sei-vice.r reglydriig iny mortgagc serviced by Wells

                  Fargo Bank, N.A. regarding Loan No.: _'J C/Ll [I                    C~ ~for tlie property

                  located at 51 Outlook .A.venue, East Providcnce,                         Rliode IsJ.and

                  02914.




                                                                                       ~
                     1~ 1 ~
                 D c~                                                         MA'RYANN jMAT%-IEWS
                                                                              SSN # XXX-XX-XXXX



                 STATE OF RHODE ISLAND
                 COUNTY OF P.ROVIDENCE

                           Subscrived and sworn to before ine on thc           ~day of November, 2014



                                                                              N iry Public
             Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 123 of 147 PageID #: 126
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Envelope: 31-8314
Reviewer: Alexa Goneconte




                            STATE OF 1tIIOD1? ;[SLAND ANI.)1'1:LOVll)ENCE P.t.,AN'1'AT10NS

              PROVII)ENC,C, SC,                                                 StIPLRIOR COURT

                                                    (FILED: Map 15, 2015)
              GLNr :cON'1'Al'Nl,
                                                                .r

                                                                                C.A. No. 1'C 2015-0216

              US I3ANIC NATIONAL ASSOCIATION, f\S
              TRUSTLL, FOR CS1Z MOIt'TGAGL LOA.N
              TRUST 2004-8I<, MOIZ'CGAGI's                           .
              PASS'1'ZIROUC:tC CICRTIrICA"cJc5, srYxMS
              2004-8F, ALIAS AN1) JOIIN DtJL, A1:.:tAS


              A'17ZLSON MONTLIl70

                                                                                C.AJ No. 1'C 2015-0777

              CtS ]3ANK, N.A., AS LEGAL7'I'l'LE TRUS7.'.L':L :
              rORTRUMAN 2013 SC3 TITLL,TRUSx',
              E1.LIf1.S E1.ND JOI:1N 'D01?, ALIAS


              CON7AL0 LXNAR3sS
              1TT.,ANCA I,ZNAIZI;S

              v,                                                                C.A. No. X'C 2014-614I

              US T3ANK NAT IONAL .ASSOCIATION                  .
              AS 7'RUST),L V OIZ TIIL X10LD1,RS                .
              OF TI-X:l+, Sl'l3CTALTX UN'DIsiZWR,I'i'ING       .
              ANlJ RLSII)LN'I"7AX:, hXNF1NCE TRUS1`,
              MOIZI GAGL 1:.0AN ASSl}T-13ACK1;U
              CETL'1:Q+:CCATliS, SLT2IES 2000-13C4, A:I.,IE1S, :
              J01=IN DOEI, ALxAS

              LCTXS IvXi;LCAIt                                       .

              Y.                                                                C..A. No. l'C 2014-6140

              )iANX Or, NrW `XORK ML'I.,LON, FKA
              l IiC i1tS.NIC OF NEW 1'OTrtC SUCCESSOIZ




                                                                            t
             Case 1:15-cv-00389-JJM-PAS Document 1-1 Filed 09/15/15 Page 124 of 147 PageID #: 127
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             TRUS'I'UL TO ,T]'MORGAN C1-XASL 13ANK,
              N.A. AS T 1ZUS T R1.~,1+.OR TXxIs ZTOLD~;RS .
             Ol+ SAMT"TR'OS T 112006-AR7 MORTGAGE
             PASS-TITIZOUG11 CERTIrXCE1.TX;S SERZLS
             2006-Axt7, AL1AS TUL 1SANK OF NEW YORK :
             Iv1LLLON 1.~1(A TITE UANK Ol+ NEW Y012:i( :
             SUCCI.SSOIZ'l"XtUSTL'L TO .TI'MnRGAN             .
             CTTA.SE T3ANK, N.A. AS 'Z R.UST:i,73 Y+OR 'T'iD3 :
             STR1:7ClURLD ASSET MORT.GAGL                     .
             INVESTMI;NTS 117'RUST, MORTGAG:C
             PASS-Tl:(ROUGZI CLR7'InCA1'LS, SLXZT:I.S :
             2.006-AR7, AL1AS, ,1OLIN DOL', .+hL1:AS

             C13l.Z7ST OP117;R ]?LMENTAL

             v                                                                      C.A. No. l'C 201.15-1043

             Tkl'L BAN:tC OF NL'W YORK iV[I.LLON
             Tt'/1U,A. TlfE f3ANK Ori N:EW l'ORK, AS
             TIZUSTII:C F O:R T1-Lr :l'-XOLl)ERS OF I1=Cr
             CLl2,'CZFXCATX?S, :t?InST Z.IORiZON
             M:O1Z.xGAGI~:t'A5S-T1:~;iZOU~;:CC ,              .
             CL:tZTlI~1CAT.CS S1;12rX;S 1~.[~I:AMA 2004-A.A5, :
             AWAS, J01TN:DOE, ALIAS


              R013T.N MOOx7.EMEW)

              V.                                                                    C.'.A. No. Z'C 2015-0126

             US 13ANK NATI:ONAL ASSOCCA TION, AS
             TtZUSTS~',L :Coit T3:rr HOi:DEl.ZS O:C<'
             T ZZL Sl':l;C1AT.,TY UNDERW].ZZT3:NG E.IN:U
             :RES,[DL'N'T7:AL T.INANCL TI.ZUST,
              Iv,COJ.ZTGAGI; LOAN ASS~'~T-13ACSCC:1)
              CrRTzF]'CA'1'ES, S11,RD,S 2007-13CI, ALI:AS, :
              JOZlN l)O;L, AX.lAS                          .
                                                          D't;Cxs:[Orr

              VAN CO'TJX'GXr:I+',N, J. Thesc cases wccc cortsolidated pucsu<tnt ta Saper. R. Civ. P. 42 fot• thc

              sole pMpose of resolvini; the cotxinxon iSsue concerning tiie applicabili.ty of G.L. 1.956 § 34-27-

              3.2 to thc subject moctgagcs. .AI,I ot thc ..tbove-eaptioned cases conccrn ne:irly ic)entical 'naot.i"s


                                                               2
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               fot a teinporary restraini.ng orcler anci a prelitlunary injunction on the groand that• Defienclants t

               schecluled foreclosure sales of Plainti.fls' Z respective properties in contravention of j 34-27-3.2.

               That section requires a juortgitgee to senct a notice statinb t1}at'tlle mot'tgagee cannot foreclose

               wi.tb.out fir,st participating in a"merii..ttion conl'erence." Also before th.is Cotrrt arc J7c:fe.ndants'

               motiolts to distni.ss argui nfi that the sub,ject zuortgagcs ar.e not srtbjcct to thc requitezicnts of     a 34-.
               27-3.2.

                                                                     X
                                                           'Facts and T ravc:l

                         All of the above-c,tptionecl cascs concern whcther the 17efend<rnts <jre xerluired to senci a

               mediati.on notice put'suant to $ 34-27-3.2(d) bclor.c foreclosing on tl,ze s'ubject zxaartgages. Fo.r tl,c

               purposes of thi.s Decision, the parties 11ave submitted a stziteaiciit,of agrecd    1:0   facts. T he tclevant .

               t,ndisputcd lacts, as subtnittecl by tlie partics, arc as icill.ows.

                         On July 15, 2013, § 34-27-3.2 was ertacted witli rui e:f.Cectivc date o;f Septetnber 13, 2013."

               Tlie statute reqcrired t11at eertttin tnortl;agecs senci a.writteo, notiee to anortgagoas of      t11e   right to

               mortgage rneciiation prior to the initi.ati.on o.[ toreclosurc proccedings. Mottgagors that we.r'e in

               rJelault in excess o;f 120 days werc exeuipt fron,i the rlotice :rcquirctnents o:f thc slaiute.             la   is

               u.nclisputed that, as o[ Septeniber. 13,, 2013, eaeh 1'7.aintiff had Eailecl to ,x.ia.tcc ztit lcrist l:our

               payn-ients uncier the ternis oI the inoj:tgage con.trzct, and that th.ese failures ha.ve not becii




               ,
                .hs discussed Lnrlhcr, :inLra, alr the l7cfendants in lhc abovc-captioneci c.rses are uiortgadees
              seelci.ng lo forcclose on lbe subject pronerties. Except wlhere otherwise noted, al:t inorlgttgee;s
              slrall hereinafter be refett'cd to collectively as De;fendr.rnts.
              1Plainti'fts in llie above -captio n eci cascs. consist of property owners wl7o h.1vc been in clCLrull: 0J1
              th.eir rnortgages for more tlian 120 days prior to Sehtembcr :13, 2013.
              3 De:tentla,nfs erroneously strtte itt lhcir statement o'f agreed to Iacts that tlxe e:CCectivc clate o.f § 34-
              2"1-3.2 (prior to the 2014 atnendtnent) was Sel7tetllber• 12, 2013. "i"hc ei,[ective drrte was
              Septe,.nber 13, 2013. The error cloes not aff:ect the Court's .Dcciston.


                                                                     3
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Reviewer: Alexa Goneconte




                subsequenlly ctu'ed. (Statement of racts, 113.) Thus, put'su,tnt to the 2013 version o:f § 34-27-

                3.2, Defendlrnts.vrei'e IZot obligated to sencl a mediati.on t7otice prior lo initiating Ioreclosurc.

                         On October 6, 2014, art aineridecl ver,sion of § 34-27-3.2 becarxte eI:(ective. tct. at tt 6.

                This atxteoclrncnt tilacle a nutnber ol.cliarnges that are cliscttsscd in:Cta.     It is un.disputect th*at

               llefendants tnailed tlhe requi.site iiolicc of t"oreclosure sale pursuant to y 34-27-4(b)4 ~rftcr the

               elfective date of tlhc atnended slatule., :Cd, at 19. Th.e partics aitso lgrec Dcfentlants did aot send

               a notice of the right to tnediate pursuarlt to,§ 34-27-3.2(d) ori or aller the e:ffective clate of the
                a,xlen.csed statute.' Td. iit 'ff $.


                                                                    xx

                                                         Sttin.cistt•ci of 12eview


                                                                     x        .

                                                       Prelimin:try xnjcttiction

                         Tt is well-settl.ed that this Court, in dec.idint; wthether to issue an irtjunctio{i, cons.idcrs

               whetltcr the inoving party "(.t) laas a reasona.bl.c .lilcelihood of success on thc nicri.ts; (2) will
                                                                                                    '
               sulfier irreparable liarm witlaoo.t tiic requested relie;f; (3) has tlie balance ot ecluities in )yis or l)er

               :Favor; and (4)' has sbown tlrat the requested .in,jun.ctio.n will. maiWair.x 'tbc status q'uo." 13ucin0 V.


               4   Section 34-27-4(b) provides as follows:

                       "(b) Providecl, howevci', ihat ❑o noticc shall be valid ot' e:f;:fective unless the
                       mortgagor lias been nxailect written notice of thc tiiz~.e anct placc o.0 sale by cct'li;[iecl
                       mail z'cturn reccipt requested at the ac(dress of tl~c real estate ancl, iL cti:fferent, ttit
                       tl7e tiiortgagor's actdress 1'sstcct with. the tax assessor's o:F.Eice of thc city or town
                       wltere the real estate is located or <tn.y otlier adch'ess inortgagor dcsign.ates by
                       written n.otice to t7iortgagee at lus, bcr, or ;its last k:ntiwtn address, at l.esast twcnty
                       (20) tlays for tnottgasors ol'her tltan individual consuincr mortgagors, and at least
                       thirty (30) clays Ior inclividual consuxnct: mortgagors, days pri.or to the :tirst
                       publi.cation, including the clay of inidling in ttie computation. 'Che txtortgagee shall
                       incltide iq ihe,.f.oreclosure deecl an a:F,.fdavit ofco.nlptiaace witl-k th.is pro'visio«."
               5 The Court notes that 1'laintifls also inalce vitrious clai.tus challenging 17efenctants' autliorily to
               Ioreclose. Tltese claitns are not prescntly beCore ilhis Court.


                                                                    FLI
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              1L1e~C, 785 A.2c1 183, 186 (IZ.1:. 2001) (citing Ij-;zy's Dour;hboys; 7nc. V. 0-iroux, 729 A.2d 701,

              705. (1Z.I. 1.999)). When balancing tlie equities, the Coua't rnust also conside:t' ttre public interest in

              granting or denying injun.ctivc rclief, .1`t} re Statc 7 mps.' Q,niot~, 587 A.Zd 919, 925 (R.I. 1991.).

              The nioving Paety is not requireci to establisli ,i certiunty o1 success wben p.tovi ng the lik+rJihoocl

              of success on tlte rlierits, l7ut insteaci is rnerely teqcrired to tna.ke, out a~r
                                                                                              ~irntst :faci.e Case.

              Dthon<ito v. 7CennedY, 822 A.2d 179, 181 (R.'[. 2003) (citing )~'c+nct Cor Cmty. l't'ofzress v. TJnite:d

              Wllv of .Se. New Ln l.lncl, 695 A.2d 5:17, 521 (X2.I. 3.997)). rurthcr, the f:tynction "'o:t ti

              preliminaey iiijunction is not o.rdinarily to acliieve a finil aticl :forttiAa] determinati.on ot the right.s
                                                                                                 1
              of the patties or of tlie nietits of tlte controversy, but is alc.cely to 110 d matters ... in status qLro,

              and i.n the meantitne to prevent th.c doi.ng oI'any acts whercby the rights in. questiol) iaiay bc

              irreparably injtu'ed or cndangcred."' runcf :IpiL 1ntY. 1'rggCeSs, 695. A.2d at 521 (ctuoting

              Goot.beth v. 73etbcTian, 11211.I. 558, 564, 31.3 A.2d 656, 659 (:1974)).

                                                                       2

                                                            Motion to I)ismiss

                       "T11c sole funciion O.f a 117otio77, to ciismiss iS to tcst th.e Sufficietncy of t11e coMp{a.iM."

              Pat.izz2 v. qtves, 944 A.2c.1 144, 149 (R.I. 2008) (citatiot) aulittccf). Loo:king i►t the fiotrr,cot•ncrs

              of the eomplaint, this Court exatnines•that pleacting anct asstsrucs tliat tlic altegations cont<ri,ned irr

              a plaitatil;('s complaint rtre true, v.iewiaat; t1len1 in. a J.i61if .tiiost i;avorriblc to ilte plainti ff. :t3arrctte

              v. Yaltavonis, 966 A.2d 1231, 1234 (R.I. 2009). Our Supr;erne Cou.rt 1ias.notec! that tbe pl.eacling

              ruies arc to be libetally interpretecl so that "cases in our systei,,. arc hot ... disposed o:f sui»ra)arily




                                                                       5
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                on arcane or techt)ieal, groun.ds."~ :Konar v. ]?r:l', Life Ins. Co., 840 A.2d 1115, 1118 (12.1. 2004)

                (citation oinitted).

                         While'tlte pleadi.ng does not necd to i.ncf.ucle thc ul.ti.niate facts to he hr:oven o.r the pt"ec,se

               legal theory upon which the elaims -ai-e basecl, the comhTaint is reduircd to provicte the opposin;

                party with fair and adequate not.ice of any c(aiois being asserted. 13ai-rette, 966 A.2d ,it 1234.

               The go71 is to givc cle,Ccnc[ants su.fficicnt notice of the tyhe ol claitn being assertec[ aga.inst tl,ctal.

               .S~ee .0 nar, 840 t1.2c[ at 1119; sce jko Beriz-cl v. 12yder Student Transp. Servs., 7nc., 767 A.2d

               81, 85 (R.).. 2001). Coasequetatly, "[a] motiori to disaaiss is proper[y branted 'when i.t is clear

                bcyond a reasonable doubt that tlle plai:nti[C woulci not be entitlect to TelicC lrom the cle:fendant

               undcr aJi.y set o.f :facts that could be proveti in support o:f tbe PlaiaitiF('s                Woonsocket

               Scl,. Comni, v. h~tfee, 89 A.3d 778, 787 (lZ.I. 2014) (citation omittecl)..

                                                                    l::l l

                                                                Analysis

                                                                     A

                                                      The Statutory' Fx'amework

                                                                     1

                                                            The 2013 Statute

                        tls stated above, § 34-27-3.2 was :Pirst criiictecl on luly :15, 2013 ancl beca,nE eifective on

               Septcmber 13, 2013 (thc 2013 Statute): Thzs statute inandated that, subject to so,iie limitations, a

               inortgagec xnust notily tl.te mortgagor that the mortgaf;ee cannot TorccJ.osc w:itliout fii:st

               participati.og in a tneditltion cot7fevence (tlie int;di.ation notice). Specit'i.cally, the 20:13 SI:.,tu1:e


               r'
                "Che Court notes that tlae ;(Z[lode Tsland'Suprenie Court Jaas not adopted. tlle "[:f:ledcra[ guide of
               p[aus'tbi(ity" set Iorth in Ashcrott v. IQbgl, 556 L`J.S. 662, 678 (2009) and :>3elJ. At1. ' Corp--v_
               Twom 1, 550 U.S. 544, 555 (2007). S~e Cllhun v, Mnrtt~. rl.ec. ]Zeeisfrltion Sys.. lnc:, 84 A.3c{
               419, 422 (TL.;[. 2014).

                                                                     .~
                                                                     ~
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                                            ,           •
              statecf tt,at "[w)hen a i iortgage is ttot tnore than, one h.un.dred twenty (1.20) clays tlelinqucnt, the

               nzorlgagec ,,; shalt provicle to tlle inort'gagor writtcn, nolice ... tltat the rilortgagec )Y-my not

              i'oreclose "on tl7e mortgaged proi7erty wi,thout •first participating iti a inecJiation co'nleren.ce."

               Put:suan.t to subsection (g), this tb.edxalioaz contcrence ntust talce pl.ace "not later th<'m sixty (60)

               ctays .folfowing t'h.c mailing of tttic [.►}iediation] notice." The 2013 Statute itilso tnadc clear tbat tlte

              "[fjailure of the niortl;agce to comUty. witii the requit•enients of this scction siiall 'rencler the

              [oreclosw-c void ...." Scc. 34-27-3.2(m). Consequently, tlle Prescnt rr,ot•tgages wcre excsapt:

              froxri tlae 2013 Statute since tttcy were n7:ore tli,ut 120 days dclittcqucnt oil Septe,nbcr 7:3, 2013


              (tlti.e effcctive (late of the 2013 Statute).

                                                                     2

                                                              Thc 2014 Statut;c

                        t-Iowever, the 2013 Statute- was -au.icncled on Ju:ty $, 20:14 wit}, am eflecttve date of

               Oetober 6, 2014 (the 2014 Statute). See § 34-27-3.2, as ainended by P.:L. 2014, ch. 543, § X.

              ;1'he 2014 Statute kept tnany of the ot'iginal requirenlents witi, two relevant charlges. lirst, thc

               2014 Statute reii.yoved language thrtt h1d lirnitecf tthe scope' of the 207:3 Statute to on:ty those

              tnortgages not tztorc than 120 days delitlquent. Ttlstead, subsection (cl) o:[ tlle 2014 Stntute statcs

              tllat "[t)he rliortgagce shall, prior to initiation o:f 1'oreclosut•c ol real estate pursuant to j 34-27-

              4(b), provi,de to thE ,nortgagor written iiotice ... that the tnortg'agee rnly not fo.rcclose o.n the

              tnortgaged prope,'ty without first particilaating itva taxediatiotn conlerence." Scction 34-27-4(b)

              al.so dictates that a tn.ortgagce initi.ates a n.on-judicial ioc'eclosure proccecli:nb by scncting a not.icc

               o;f sale to a mottgagor.'



              ? Section. 34-27-4(b) states t{lat the ~~otice of the s.~le be sent by ccxti.(iecl nYail rctu.r+t r.cceipt
              rccltjested, speci.:Ey tlae titne and clate oI the plitilnecl s£tle and be rn<trtcd at least thlrty (30) clays
              pt'i.or to tlic first Pub"lication (tliis appiics to incli.viclual conswnxc.r anortgagors; t11c notice o:f si.i.te


                                                                      7
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                        Second, ' tlle 2014 Statute 7I11poScs IIlotletitl'y pClilltles agaXnst iTlortgapCCs fol'

              1
               1011cO1111)1lallce. Xf a]11,O1;tgagee fZtIIS to 11aIt]I tlle TCCluil'Cd llled'ic'ltio'tl 'tlotice wlthXn 120 clays a;[teC

               the clate of default, it traust pay a henalty at'lhe rate'of $1000 hcr mojltli st.irting on tlle 121`t day                      ,

              after the date ot cicfault. Sec. 34-27-3.2(d)(1). l-Towever, t.he statute ailso spcci:Cies, that "any

              penalties asscssed undcr this subsection for any failure of any inortgagec to ht-ovicte notice <<s

              provided lierein cluri.ng tlac period frolit Septenzber 13, 2013, tlhrougll, the effcctive clGtte of tliis

              scclion (October 6, 2014) shall not exceecl the total amou.nt of one hundred twcnty-:Gve thousancl

              dollars ($125,000) for such mortgagee." Td.

                                                                        l3

                                             Z'laitttif.fs' 112otio► is t'ot•Prclitniutary l.ltjunction

                                                                         I

                                                    X ilcelilload o1'Success orn tl)c Merits

                        1'laintiffs arguc that ttley at.e entitled to injilt7ctive relief because Dcl'cndaots failecl to

              couiply wittl lfie niediation requii'enient of § 34-27-3.2. Thtis, thesc cases present an assuc of

              statutoty construction, "When the slittutory laltguage is clear and unambiguotls; (the Court)

              give[s) thc wo.rds their hlain and ordinary iaicani.ng." Morel. v. Napolitano, 64 A.3d 1176, 1179                            t

              (R.I. 2013). Aceordi.ngly, "`when [the Cout•t) exaniio.c[s] ar1 unainbiguous st.atute, lhe,e :is no

              rooeyl for statut'ory construction and [(he Coui-tJ nittst a1)p1y the statute as wr,itten."' Icl. (duot,ing

                  . ut. l cv. Corn ,V. Ward fisher & Co., 47 fl.3d 319, 32$ (Zt.X. 2012)),




              must be sent twenty (20) darys.be:[ore tlic first publicEttion ;Cor a11 othcr laiortga~gors). l.'ursuant to
              § 34-27-4(a), llIe tn.ortga.gee atlust atso aclvertise tltc salc in a publi.c n.ewspahc.r; "t.hc first:
              publicatiorl of the noticc shal.l be at least twenty-otie (21) clays be;('orc the clay of sale ...," Tale
              other specific requirements for aclvcrti.selnent tindcr § 34-27-4(a) arc ilot relevant to tlie hresent
              case.


                                                                        K,
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                         IZet'e, subsection (d) o:C the 2014 St:atute cicar.Ly sti•ltes that "[tJ.he mortgagee sha1l, pri.or to

               xnitiation of for.eelosu.ce o'f r.eal cstate pursuant to 5 34-27-4(b), pcovidc to tlae mortgagoj: w.ritten

               notice ... that tlte tilortgagee tlzay not foreclose on the txlottgaged property without first

               parti.cipating iti a niediatiotr conker'ence." Sec. 34-27-3.2(d). There;Core, by applying ttle stattrte's

               plain language, it appcars, tliat ti.ie present inortb<tgcs are suuject to the arrcdiation requirex»ent.

               I?efendants, however, argue tla.at the statute niust be rcitd to exeanpt thcni froin the 131eciiatiot7

               requiretnent t7ecause applying th.c z)lcd.iation,requi:reincnt ta the pt:esent raxortgages would (J.)

               violitte Defeudants' clue proccss rigltts, aod (2) contravenc thc otlyer subsections of tlie 2D14

              Statute.

                                                             i. llue 1'rocess

                         Defendaltts argue that,the prescrtt tnorl:gages ate exem.pt lroin [lie nxdiati.on r.equit-enienl.

              To liold oiherwise, they argue, would result in th.c retroactivc applicati.on o'f the 2014 Statute and

               thus violate their substantive due p.roccss riglti.is." "lDuc p.rocess piroliibits legislation that wou:td

               retroactively unreasonably impair substnntive r.ighis, o.r `ulipair r.iglits a pkirty possessed when Ise

              acted, increase a party's liabi.lity - foi- past co.nduct, or ivaposc new duties with respect t:o

               tt'ansactions already co.tnple[ed."' R.):. 12el2ositors ):con.Prot: Corp. v. .i3rown, 659 A.2d 95, 102

              (17.T. 1995) (quoting T andgraf v. ~ST Ci:l.m .1?rocl.c., 114 S.CI. 1483, 1505 (1994)). The iZhode

              Islaiid Suprerne Caurt, "wthen confronted with a cluc process chMIlenge to 1 rctroactive statute,

              htts traditional.l.y held tl7at tlie hurpose of a statute inust Ue such tliilt, on batance, ouiwei.ghs tilc

              un:fairncss of rctroactivity." 7ci. '.l"I.ris Court also ttotes "t11e prt:nclple .that legislativic enacUaienls

              o'f: the General Assetnbl.y arc pr.esunicd to be vaiid a.t1d co.nstitutional," IVer.,vJport Court C:lub

              Assocs. v. Town Council of: Midd:tetown, 800 A.2d 405, 409 (11.1. 2002).-


              sSubstaiitive clue process is eaubodied irt botll our state and:federal constitutions. Sec U.S. Canst.
              Aire,ld. X1V;12.X. Const. art. T, sec. 2.'


                                                                     9
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                       T'irst, this Coutt must cletertnitie iL the 2014 Statutc is "rctroactive iia nature." '(3rown, 659

              tA•2d at 102. "[T)n determiv.i.ng wiiether a statute is retroactive oile Ynust loolc to sec `whethcr• tbe

              [statute) attachcs aew l.egal cornsequeiices to events c0111151eted before its cnactnics,t. "' Tcl.

              (clu.oling Land ra , 114 S.Ct. at 1499).

                       As -stated above, the 2014 Statute c:lcarly states that "[t)h.e »tiortgagce slrill, -prior to

              initiation of foreclosure o[ real estatc pursuant to § 34-27-4(b), pt•ovide to tlie xnortga.gor written

              notice .., that thc mor.tgagcc -niay not foreclosc. on thc mortgaged ptoperly ' wi.tlioui (irst

              particivating in a uiediat•iot}. con.fcE-etice." Sec. 34-27-3.2(d). Xlr suin, ihe 2014 Statutc y-equi,tes

             mortgagecs to send a noticc of the rigltt to rixediate before scnding a rnoticc of sale pursuant to

             § 34~27-4(b).

                       Defcndants argue that tliey itritiated lortclosure be:Eorc tthe cffective clat:e o[ the 2014

             Statute (October 6, 2014), and tlier.c;tore, any applicati.on of tlie 2014 Statute to thc presc:nt cases

             would 'be retroactive in nature, lY✓ hile the 2014, Statutc .re:Cers to § 34-27-4(b) and its requisitc

              notice of sale as itiitiati.ng foreclosure, Deiendants n.ote that, at thc tiiiie oI 1'laintil;fs' dc[aults,

             § 34-27-3.1 was in effect aild requircd a mortgagee to send a notice of delaul.t bcfore it 'could

             send il tlotice of salc.9 Given that the n,oti.cc of cfefiiult pursuant to § 34-27-3.1 was a. prerenuisite;

              to thc rtotice of salc under § 34-27-4(b), Defendants contend tlhat fotectosurc was initiated wllcti

             it sent Plaintiffs the notices of ciefault, sxll of wh:ich were scnt bc:Forc tlic et'fec:tive d7tc o:f the
                                                        .                                                           .
             2014 Statutc (October 6, 2014).

                       Ilowever, thc plaia. l.anguagc oi 5 34-27-3.1 helies :Defendartits' argunica-tts. 'I'liat s(x1.l.On

             rcad, i.n pertin.ent part, as'iollows:
                                                    .                      ,



             9 Public Law 2014, ch. 543, § 2 rcpealed ti 34-27-3.1. See P.L. 2014, cli. 543, C 2("Secti.on 34-
             27-3.1 of tlhe Gencral Laws in Chapter 34-27 entiticd `Mortg,► ge Forcclosurc and Sa1c' is 1)ercby
             repea4.ed..").


                                                                  10
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                                "No less than forty-five (45) days prior• to initiating any fore,closurc
                                of real estate pursuant to subscction 34-27-4(b), tl7e rnortgagee
                                sh<tll provide to an indivi.dual constuner iizortgagor written notice
                                of dcfaul.t and tlye m.o.rtbagee's rigiit to Ioreclose ...."

              Clear).y, the statute specifically refcrences § 34-27-4(b) as constituting the initiati.on o:f

              foreclosure. Cotitrary to Defeadan.ts' argutncnts, tlicrelorc, tlre noti.ce sent pur'suatlt to      34-27-

             3.1 did not initiate a:Forecl.osure.

                       Consequently, in applying the mediati.att xequircinent to 1'l.airttiffs' iilortgages; tli.is Court:

             woul<I not bc applying the 2014 Statute retroaceively, but ~athee 1)rospectively, since De:rcnci;u~ts

             did not initi.ate foreclosare until they sent the § 34-27-4(b) notices'of th.e sale to hlaint.if!'s, Nvlzich

              was after the eflcctive date of the 2014 Statute (Octobcr 6, 2014). As such, the 2014 Statutc clicl

              ttot "attacli[) ncw legal conscdueriecs to evetits cotnplcted be:[ore its enactnient(,)" bccause

             Defendants did not initiate foreclosure ttntil after the 2014 Stattite becatne clfective. "ee 13rown,

             659 A.2d at 102 (quo[ing Land . raf, 1I4 S.Ct, at 1499).

                       rurth.er, even. if, acbaendo, the 201.4 Statutc. were retroacti.vc iu). nature, "i.t docs not

              neccssarily follow that the statute is unconstitutional." ;td. at 103. The :Ithode i'sli,nd SiIprcnle

             Cottr[ "ltas traditionally cmp.loyed a balancin.g'test iia cases involving retroact'ive statutes in

              which tlte court wei.glis the pttblic,inicrest in retroactivity against tlye uafairness created." Tcl.

                       The substantial public intct;est in i:equiring nlediation i)rior to foreclosurc is cnslrrincd i.n

              the statu.le itself. ,Tlie statute, iu its slated pu.rpose section, declru'cs that by reduiring niediatiolt

             hrior lo foreclosuce, "[lie ehaulces of acliieving a positive outcomc foT horrncow•necs ancl lencters

             will be enhanccd." Sec. 34-27-3.2(b). The stattite also t;oes on to state t11at tthe incrcase in

             forecl.osure actions in r'cceilt yeat's has "negativcly iiiipactecl a s'abstan.tial jaumber of homeowi7ers

             through.out the statc, creatin.g.a situation that cndangct's tbe ecotionxic stability of nian.y 0c1 the;

             citizens o.f: this state." Sec. 34-27-3.2(a). lrurthr:r, this Court notes tlh'e generitl publlc antc:rest



                                                                  11
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              served in resolving disputes tltrougli tlxccliatiorn. Sec:,, c-g-, Slca1'.ing v. Actna 1jL- Coi, 799 .h..2d

              997, 1012 (11. 2002) (".l;t i5 tltc policy o'f tltis state to encott:rat;e tl7t: settl.einertt of controvecsics

              irt lieu of 'Iiti,gati.on."); 3Xottlat' CnG v. N. Vsrr•m Assocs , 445 A.2cl 288, 290 (12.I. 1982) ("Our

              policy is always to eacourage setticmetit. Voluntnry settlet.nent of disputes has long bcen Cavorecl

              by thecourts.").

                       Weighted against tllis substanlial. pub1i.c irttetcst is the allegcd u.ntairness of .requiring

              mecliation of rnortgages that have becn. in default :Cor niultipXc ycars. lZowever, thc 20:14 Statute

              ctocs not abrogate De:(':endanls' ri,gl,lts in 'the respective properties. :Ratlter, thc n,ecliation sta.tute

             sitnply requires Defendants to setict a nxediati.ott riotice itt, ot'der to atternt3l to acfrieve tt resolution

              pl'ior lo foreclosucc. l:f a resoltttion. canttot be reacl7ed or Plairnti[fs fail to respotici to the notice,

              thetl X7efendants c1n procced w.ith, foreclosure. See ys 34-27-3.2(g). Mot'covcr, tlie cnedia.r;.on

              requiternent does not atnount to a lctigthy del,ay of foreclosu.re since the statute ).nalces cfear ths.rt

              the niediation conlcrence must lalce paace witltin. sixty days of thc A7lortgagee sending the

              tnediation notice. Scc. 34-27-3.2(f) ("Thc rnediat.i.on conference shall tzikc p:IacC ir1' person, or

             over tlle pliotle, at a tinie and place dcetncd nautually convcnient for the 17arties ... rrot latcr than

             sixty (60) days followitlg the tnailirtg af the inotice."). Accordingly, the'rmportant pt'tbl'tc 'intciesi:

             in atidressing the foreclosure crisis ancl tb.is Courl's sttong ptiblie policy :Cavorins nzediirtion

             outweigh the a1:leged unfairness af r.eqcu.r'ing tbe pru'ties to rnediate before f"oreclostne cirn occut'.

             See 1-lomiti•,1nc., 445 A.•2d at 290.

                                                    ii. Applicability of tlie 2014 St.ttute

                       Next, f}efendants contettd thart otltct- subsectio:ns of thc 2014 Sti:ttute si6n.ify thr.rt loans

             wittt a de[ault date ' prior to May 16,' 20:13 are exernpt Ito:txx tl7e medi<rtion requ'.it eu~ent.

             Specifical.ly, Detendan,ts rely on subsection 3.2(d)(1.), whi.ch iinposes penaltics on .aiortgagccs




                                                                      119
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              that fait to eornaply with tlie 2014 Statute's rcquiren•tcnts. This subsection provides that i:C a

             T"ortgagee fails to tnail thc r.cquircd niecliation nolice wi.thin 120 days aftcr ihe date of default, :it

              tnust pay a penalty at the ratc o[ $1000 per tnonth starti.ng on th.c 121`t d;►y aftei: Ehe date of

              default. Sec. 34-27-3.2(d)(1). The stafiute goes on to statc that "1ny penll.ties assessed iindcr this

             subsect'ion for any failure ol' aiiy rnortgagce to provide notice as provided lierein during thc

              period frotn Scpteznber 13, 2013, through the cffect.i.ve .date of t)tis section (October 6, 2014)

             sha'll not exceed the total ainount of,one hundred twcnty-fi.ve lhousand doll.ars ($1.25,000) 1"0r

             sucll niottgagee." Sec, 34-27-3.2(d)(1),

                       f1s indicatecl above, t1.1e 2013 Statutc, effective Septctnber 13, 2013, Iirst crcated the

             mediation notice reduircn.icnt. Since lhe 2013 Statutc exeriiptecl thosc inor[gagcs that wc:re niore

             thari 120 days cicliaquent as of Septetttber 13, 2013, in ef.fect the 2013 Statute applied to those

             loans witll a default ctate on or'aftcr May 16, 2013.

                       Defendants s[ress the fact that the 2014 Statt~te caps lines 'for the per-iocl f'roi» Scptcrnbcr

             13, 2013 througt) the effecti,ve date o.f the 2014 Statute (October C,, 2014) at $125,000.

             Accordiog to Defendants, the 2014 Statute's .n.icntion o(' Scptember :1.3, 20.13 (the cffecti'vc (late

             of the 2013 Statute) signifies that thc Legislature.intendcd to itiiposc a penalty ..tgainst ally

             mot'tgagee tltlt was requ:ired to send t1 mediation. noti.ce uncicr the 2013'St<<totc, Uut kaileci to clo

             so. Since the tnortgages •at issue in' the present cases were excmpt ;frona lhe 20:13 StEitutc,
                                                                                                    tn
             Def'endants assert that it would violate cluc process to imposc a pcnalty uPon tliex».'



              tU
                 Defendants also argue that any itnhosit:ion. o.f the statutor.y Ipenal.ty would violate tlie
             constitutional pr.ohibiti.on agai,nst cx, t~ast
                                                        i    fa.cto laws. See R..l:. Const. art. l; § 1.2 ("No cx hosl
             facto law, or law impairing the obl.igacion of coiib:acts, shall be passecl."). "A. vrotation o.f: the cx
             post fact'o ctause occurs only when th.ere is retrospective application o:f l<<w tha.t disadvantages an
             ot:Fendcr `by alteriiag th.e defn.it.ion of crim.itial conctuct o,r increasit.lf; tlac punishment f.'o.r tile
             criiaie,"' Town of W. VJarw_ick.v TJoca.l 1. 1.04 , Tnt'1 A.ss'n af Fi.re:figllter,-, F1:f.L-CIn, CT.C, 745
             A..2d 786, 788 (R.Y. 20003 (quoting.State v. Dcs'art• i.4, 731 .A..2cl 716, 717-18 (12.I. 1999) (per


                                                                 13
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              Cotnsequently, llefendants contencl tllat't}lc Generat Assetnbly coald clot liavc 1ilLended ttte 207.4

             Statute to apply to thosc ntortgages prcv,iously cxeinpt undcl: ttic 2013 Statutc.

                       As ati i•nitial matter, thc issue bcfore Lliis Court :is wlictller 1':lai•ntif:[s have a reasonabl.e

              l.ikeliliood of detnons•trating that llc[endants wer.e tecluirecl to sencl a>liedzation notice pursuant to

              the 2014 Statute. Thc question oZ wbat, i.f any, pcnalties slioulci ol• sliotuld nol be i,azl3osccl upon

              Defendants is not beforc tbis Cotrrt.. I-Iowevet', DeCetidants arguc illat it woulcl be inconsistcnt .Cor

              the General rl.sseulbly to expand thc medi.ation inanclate to apply to mortgages irrespectivc o;f thc

              lcngti7 of dclinquency and tllen l7enal.ize mortgagees tiiat were previously exernpt undcr the 2013

             Statute.

                       In advancing t1l.eir argunicrit, 'lle:fcttdailts rely on tbe wel1-settled canon, o:f statutory

              constt- ttction that "(w)l1en, construltlg a statute, `tlzis (C]ourt has thc respoi.lsibi•lity o:(: e':ffcctuatinb

              the intetit of tlic L.egislatur,e by exami.ning a sl:atatc in its entirety and giving the worcts theii; plain


              curiant)). 'Fut:ther., "(i.)t is blac.k Ietter • law thot ttic ex post :facto cl.ausc i,n, bot1) out• state and
              fedcl•al constitutiotis only probibi.t rcti'oactive laCtiaX legislation." `~d. (cntplrasis in origin;tl).
              Since the 2014 Statute irnposes a civil. penalty, tiic cx post IacLo clause does .not apply. See id.
              (holdirlg that town chattcr alnendtnents did not violatc. the ex. post Lycto cl.ausc bccmisc "(t)h(:;
              town ch.arter aniendtnents ita cJuestioa pt•ovide ,no criiuinal pcnalties aad tlic loss of eniployaacnt
              at tnost was nzerely a civil lienalty[)") (cnlphas.is in ot'igiaal): Rebat'dless, th.is Court interprcts
              thc pcnalty ptovision as otnly applyitig whcit thc duty to mediate azrose; tllerc:ioi'c, Dc.(cl7dant5
             would n.ot be subjcct to tlie penalties for tllc titnc period before t.he eCfectivc; d<,te o1 the 2014
             Statute since the subject mortf;ages were previously exernht :froaxa tllc zxtcdi.ation requil•e.nacnt.
             See State v. t1l:len, 68 A.3d 512, 5:1.6 (.1Z.1;. 201.3) ("[Tbe CourtJ `wil.l attach evcry reaso,nab1e
              intendnletlt in. ;favor o.f, ... constituti.otlaf,ity in ot-cter to preserve the statctte."' (quoting State v.
             1.2usse1.1=, $90 A.2d 453, 458 (1Z.1. 2006))).
                        17e1'endants also nlade a cursory' ar.guwncnt that intcrpretitng the 2014 Statute to rccluil'c
              tllem to send a mediation notice 'prior to forcclosure woulcl violate tlie Contritct Clause ot tlle
             Rhocle Island Constitution. ec R.I. Const. a.rt.               12 ("No ex post fiacto law, or law imlaait•ing
              thc obligatiott. o:f; coritracts, shall be passed."). T11c Court- notcs tt,vt .17eJ'enc9aants macle llo
             substantive argutt.lent regacdilig tlle ContracL Cl.ause other tlian a conclusory statecsient I:hat ti,is
             constitutional provision is ixxtplicatecl. See Wil.lcinson v. State C+•inie T_.7.b. Conin,'n, 788 A.2d
             1129, 1132 n.l (11.1. 2002) (rnoting tlaat simply statxnf; at7. issue witbo'ut a me-ani.ng:ful d:tiscussi.on
             does not assist •thc Court in ils analysis); see al.so Town c,f Co'ventry V. 13..tircl 1'roj~s, L.GC., :13
             A.3d 614, 619 (R.I. 2011). Regardless, tliis Cottrt ;fails to ~see llow the Ynediati.oti requircMent
             im.hait'sDe:f:cn,dants' co1]tt'acts.


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               and orctinttry meaniaig."' Nassa v. 1-]'oolt-SuUeRx Inc., 790 A.2d 368, 370 (1Z.I. 2002) (quoting

               Mltter of Falst<rff 73rcwing Coru 12e• N'arr pansctt Drewery k.ia-e, 637 A.2d :1047, 1049 (R.Y.

               1994)). Consequen.tly, i.t is the Court's ta,rk, "whencver possible, to co.nstrrtE laws `such thal ihcy

               will Ilartnonize with each otlher ancl be consi.stent wiih tlieir general objective scope."' l7aPonte

               v. Ocean State 7ob 1 ot Tnc , 21 A.3d 248, 251 (10. 2011) (quotinb : n vc Doc, 717 A.2d 1129,

               ] 132 (R.l. 1998)). :l:n this regard,' "`when apparently inconsisten.t statutory provi.sio.ns are

               qucsti.oned, every attempt sbould be. ta.tade to co.nstruc aatd apply tlicni so as to avoicl thc

               inconsistcncy ..."' ~vlartone v Jolhnston Sc17 Comm , 824 .A,.2d 426, 432 (72.1. 2003) (quotin;;

               )3rennan v. 1CirbY, 529 /1..2d 633, 637 (R.I, 1987)).

                        VVit3ti these principles in. tnind, ttic Cotirt notes tltat filte 2013 Statute essentially created

               two categori.es of niortgages: (1) those rnortgagcs tlaat wer.e delinquen.t for 120 days or• icss on •.

              Septetnbet' 73, 2013 (Ihe c'Cfective date o:f tlie 2013 Statute) ancl,. therelore, subject to the

               tnediation requireulcnt; ' and (2) inortgagcs that werc more than :120 days delrnqucnt on

              Septeniber 13, 2013 such tltat tltey wcre cxetnpt front tlic tnediati.on reduitetncnt. Tn c:ffect,

              ,nortgages with a dcL'atalt date beforc May 16, 2013. di.d rnot 17ave to tnediate, wltil.c thosc wit9, a°

               default clate on or after May 16, 2013 dicl. The 2014 Statute, however, eliinxnatccl this distinct.ion

              Such that all rnortgages, rcg~.irdlcss o[ defaul.t•date, are subject to the inediation rcqaitcatient (so

               long as, on October 6, 2014 (the eflective clate o:f tl,.e 2014 Stttlu(c), the mortgagee had not yet

              initiated foteclosure by sern(Iing a notice of sale pursuant to § 34-27-4(b)). t.t



              " The Court notcs that Plaintiffs al.so cite 12 C.F.R.•§ 1024.4:1, enti.tl.ed ZZegulation X, in support
              of thei.r argutneiit tha.t tlie incd'zatioit xcquireiuent ttpplies to tlie subject inoctgages. Spc6:fica71y,
              1'lainti:ffs rely o'n § 1024.41(fl, w.lticlt states tbat, "A.sc1-vi,cer sllall, not malce tla.c fi.cst t:toticc or
              filiing requirecl by applica'ble law ror any judicial or non-juclicial foreclosui•e process unless: (i.) A
              borrowc.r's tnortgagc ].oan obligation is morc t1ian 120 days delinquctit .... ;l-iows'vei:, the
              Court fails to see the .t•elevaacy ol: tiiis .regulration. t\ll PlaintiCfs were niorc than :120 clays
              delinquent when X}efenclant5 so'ught to Coreclose. Morcover, ttiere i.s no cvidence th,tt 1'1.r1111:i(Cs


                                                                    a5
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                       Given t1ie above Iristory, t1le henirity hrovisions of tlic 2014 Statutc can be reacl as

              attaching olily after tl.le duty to rnediate ai•osc. For those rnortgages that werc`subjcct to tllc 2013

              Statute, the cduty to mcdiate arose~on Scplcn-ibcr 13, 2013, the effectivc date of the 2013 Statute.

              Therefoxe, said r>,iortgagees are stFbject to :fines starting on tfrat date tor every »ionth tlicy fail.cd

              to sencl a rnediation noticc. For those mortgages that wcrc Previously exe.mpt undet t,he 20:13

              Statute (but arc now subject to the iiiectiatiorY reduirernent undcc"the 2014 Statute), the duty to

              rncdi.ate arose o» October 6, 2014, the•cffective date of the 2414 Statute.

                       AccOrdingly, IM stiltulc tiecd not bc read to penalize llefcnciants 'f'com tlre clatc o1

             1'faintiffs' defaults sincc thcr•e was no cluty to »iediatc at that tinie. Sce Alaen, Gfi A.3d at 516

              ("[7'he Court) `will attac.h every ircasonable intendnicnt .ir~. i.'avoc o.f: .., coPstilutionality in oJ•cler

              to pr,eser•ve tllc statutc."' (cluol,ittg Siu sell., 890 A.2d at 458)). In thi,s wary, tlic clear nxanclate and

              btoad applicability of the statute stands, whilc tnortgagees previousl.y exer-apt t'rona mecti:ating

              undet• the tecros of the 2013 Statute are liot petialized :for .failing to seticl it Inedt£ttto11 nottcc belorc
                                                              -
              th.at obligation ar.osc. See Mircicic v. State, 936 f1..2d 588, 595 (R.1•. 2007) ("7t is well settlecl thr.,t

              this Court presunaes that legislative enactinents are val.id and constitutional."):

                       SuCh an intcrpretation also coziiports wa,th the legislative history o:f the 20:14 Statute.

             "When construing statutet, this Court's rofe is 'to deterinine and e:[fcctuate thc Legisl4rturc'S

             intent and to attt'ibule to th.c enactnient thc ,»carring in.ost consistcnt with its pol.icies or obvious

             Purposes."' 5uclh V. Sts.tte, 950 A.2d :1150, 7155-56 (R.Z. 2008) (quoting 7317.enrn<,n, 529 A.2d M

             637). "To find the legislative interit (lllis Court) 3nUsl Toolc at the language of tlie statutE ai,d

             exainine its Iegislativc history." Nugeiit ex re1. Mannung v. La France,, 91 R.I. 398, 400, :164

             A.2t1 230, 23:1 (1960). J.rt eaanain.ilif; th.e .(egislativc history, tl)c Cou11 "n,iy consi.der tl,c history

             sub».iitted a"loss niitigation. application," as aequired.by the regulation. See ge+7er<l:I.1 :t2 C.F.IZ.
             § J.024.41.• Therefore, RegulatiottX Jias no bearinb on tt~is Coltrt's cicter.ni.i.nations.



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              of [a) ph.rase as it finally evolvecl, with part•icular refereil.ce to tlie language used in earii,er

              statutes," .TsraeL-I3ritkO Banlc (I ondon) Ltcl v T'ed Deuosit 7ns Corp , 536 I'.2d 509, 5:12 (2c1

              Cir, 1976); seel~co_ Su11r.van v. GhieC Jus4ce for Admin. & lVj~n~t o,f Trial. Court., $58 N.1:;.2c1

              699, 708-09 (M'ass. 2006) (`Statutcs arc to Uc interpreted, not alonc ttccording to th.eir si:nzpl.e,

              literal or strict verbal tneaning, but iti conncction witfh the'it' developl.zlent, their progressAon

               through the legislative hody, the iiistory of the tinies, [and] prior lcgislation ...."'} (q'uoting

              MLi raiy v. 13ohn, 377 Mass. 544, 548, 387 N:1;.2d 1Z9 ([979)).

                        The ficst version of the 2014 Stltute w<ts introducccl on JLme 5; 2014 (tlic June 20:14

              Version). See H.R. 1-I-8293, 2014 Leg., Jan. Sess. (R.T. 2014). Signilicantly, section 3 of t.lic

              June 201.4 Version Iit77itcd thc appli.cability of il7e mediaiion r.equiremen.t to ojTly 1:110sc

              mortgages witlh a default date on or after May 16, 2013. 'Chis lianitafion is signi.Cicant Uecause, as

              cxplained above, May 16, 2013 was the cufiaff date foc the applicab:ility of thc 2013 S1atute;

              tnortgages witll a clefault clate before May 16, 20:13 werc exempt trotn tlte 2013 Statute wh.ile

              th.ose with a defaul.t clate on or afler May 16, 2013 were not. As such, tlle .lunc 2014 bill. as

              or.iginally introduced dicJ not apply to t110se mortgages prcviot,sly excn~.pt from the mediation

              requiretnent undct the 2013 St<itutc.

                        ZXowevet, this exclusionary language was r:cniovecl frotn lhe final bir11.12 Cornraare

              1-1-8293, 2014 Leg., Jrut. Sess. (R.T. 2014) w:ith 1'.L..2014, c11. 543, 3 and HH.12. 1=i-8293 Sub. n,

              20:14 Leg., Jan: Sess. (It.l. 2014). 1'i appears, thercforc, tliktt the General Asseinbly intcndecl :Cor

              the 20:14 Statute to apply to afl tnortgabes wherc foreclosuce had not yet been initiated puIsu7111:


              "2 Seetion 3 of the Juric 2014 Version ceacls ris ffbllows: "Scctioli.l, oCtbis act [rumcnding § 34-27-
              3.2) sliall tal(e eF.fect upon passage rinct shal.l apply to 71'l nlo.rtbages with a def::tu).t ctate o17 oE' a;t'ter ,
              May 16, 2013. Tlae ltenlaii7dcr o:Ctl.ris act shaU. talce eft:ect uUon passal;c." I-7'owever, Sectioa) 3 o!'
              the f'inal vcrsion o:(' the bill that tlic General, lAssciizbly passed on Ja1y 8, 2014 :reads as fo7lows:
              "Tliis flct stxall, t•alce efCcct niticty (90)'days :fol.lowin6 passabe and it shall ex.pirc on 1'Lrly I,, 201 S."
              See.1'.L. 2014, ch. 543, § 3.

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            to § 34-27-4(b), irrespective of whether tllose inortgages were excnipt under L'lie 2013 Statutc.

            See Russell.o v. Clni.ted States, 464 U.S. 16, 23-24
                                                           23-24 (1983)
                                                                 (1983) ("Wherc
                                                                         ("WhercCongress
                                                                                Congressincludes
                                                                                         includes]iz1•titing
                                                                                                  ]iz1titing

            language in a+i earl.ier vet;sion of a bi:ll but dcletes it prior to ettacttnent, it may be presuined tliat

            t11e liinitation was ► not-intendcd."); State o.tlt.i.
                                                     State o.t           Nai raaa:nce.tt Inrlian Tribe, 19 r.3d 685, 700
                                                               lt.i.v.v.Nai•r•aaa:nce.tt

            (lst Cir. 1994) ("Wllcn Congress inctudes Iitniting language in. an car'ly ve.rsion oL ptoposccl

            legislatioai, attd thcn, rewrites the Uil1
                                                  Uil1 prior
                                                       prior to
                                                             to cnacttaicnL
                                                                cnacttaicnL so
                                                                            so as
                                                                               as to  sct•al)(lie
                                                                                   to sctal) (lielitnitation,
                                                                                                   litnitation, the
                                                                                                                 the staaclarcl
                                                                                                                     staaclarcl

            Presuanption is that Corngress it)tendcd the proviso to operate withoit
                                                                            withoi►t l.itnitation.").

                                                  iii. Locat Cnnciliation Orclinances

                      De:Ecndants also argue that Che 2014 Statutc s-iiusl be iritcrpreted so th<+t the 'subject

            mortgages retnain exetnPL froi.n t[.ie medlallo4l requit'cynent because tX1e 2014 Statttte dicl noL

            wl.y.olly preernpt local mediati.on ordinances. Strbsection (n) o£ th.e 20:14 Statute (forancrly

            subjecti.oii (o) isr tltc 2013 Statute), addresses local fnedsat7,ot1 ordinanccs, anci providcs as

            foltows:

                               "Any existitng nlu.nici.pal ordi.nan.ce ot' future ordinance tiisit
                               requires a con,ciliati.on or mcdiatiorl process as a precondition to
                               t11e recorclation of a' foreclosure dced shaT1 cornply wit:h thc
                               provisions set fortli llEreirt and any pr'ovisioils o1' said ordinances
                               that tlo aot comp.ly vvitlx,
                                                     vvitlx, t17e
                                                              t17eprovisioiis
                                                                   provisioiisset
                                                                               set•forth
                                                                                     forthherebr
                                                                                           herebrshall
                                                                                                  shall be
                               deterniined to bc unenforceable." Sec. 34-27-3.2(n).

            Defendatnts aiso specifica):ly cite ttic City of: l'rovider►ce Codc of: Ordinanccs, Ch,latcr 13, Acticic

            TV 7.3-19 to 13-23, en4itled "ltesidcntiat Owrter-Occuptied Mortgage roreclosurc Tntervenlion.,"

            whicil stltcs that "tro deed offerecl by a lender/rnortga8cr: to be filecl witli the i•ccordcr of dee:ds a.s

            a resull of a tnorlgage Lorcclosurc action shal;l be accepted and/or rcecot•dccl in dhe land cvidence

            recoi'ds o'f the city utitil an.d unlcss .., ihc partics shall pai•ticipatc; in a niandatory loan/mor.t;age

            conciliation conferencc at it locatloil .T1lutually convenient l:o tllc 1Jlrties." Relying on tbc .just-

            quotcd l>rovisions, Defendarrts assert that it woald be "i.tlogical" ro.r thc 2014 Sfiatute to authot-.izc



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             cities and towns to adopt ord.inattices'that "tiiirroreci in every signi:ticant particular the .teuns of

             thc state statute." (Defs.' M:Ea:tt. it)..Opp'n to J'l.'s M:ot. for T1.70 and 1'telinz. 7nj., 1 ont.ai»e, 12.)

             As sucli, 1?cfendants urge this Court to re:ad into the 2014 Statute a I'iulitation that ruortga.ges

             previously excmpt under llie 2013 Statute 7'exiiain. exempt.

                       This Cou.rt fails to see how tlle City oC Provicience ordinancc, and othe>; s.iMilar 113unicipal

             otdinances, support Defendants' argusn.ent tltiat tlte 20:14 Statu.te cannot bc applied to tlic subject

             inortgages. As stated above, tlie 2014 Statute has a clear tnand;rte: "[t]he mortgagee shall, psiot'

             to initiation of forcclosure of t:cal estate pursuant to j 34-27-4(l3), provide to the morl:gagor

             writtcn notice ... tliat the tnortgagee ittay ttot foreclose on the inortbaged propei'ty w.i.thout fiiist

             participatin6 in ainediation conferen,ce.". Sec. 34-27-3.2(d). The,Gener,al 1-1.ssetnbly, tlzcctforc,

             speci(ically elitninated the 120 day clelincluetncy liir► ilation that ex'istcd in th.e 2013 Statute. Si+ice

             it is not witllitn thc provincc of tluS Cour't to reinseri sucll a]imitat•ion into thc stirlute,

             Defen.dants' argui,-uent on this point is. unnvailing. See, ~, Jn re Proposcd Tow+l ol; N'ev~

             Shoreham Proiect, 25 F1..3d 482, 511 (R.I. 201:1) ("`it is not tlie funclion of this (C)ourt to sewr.itc

             or to ao:tend statutes enacted by thc General Assenibly."' (quoting 1?ierce v. Picrcc, 770 A.2d

            867, 872 (R.I. 2001))); Strate v. Fuller-,t3allett,t, 996 A.2d 133, 143 (7T.T. 2010) (".1t is nol: tlic

            function of tlie Cou.rt to aticf language to an ollfcrwise cicar and enlanib.iguous criactment.").

                                                    iv. The Ef'fect: oC Rc:gYilations

                      Lastly, Defend<unts contelid ih.at tlae tegul.aii.ons proaiulgateti Uy tlic Department o:f

             I3usiness Itegulations (thc Departtnent) cxetlrpt Plaintiff-s' mortbagcs 'f.ro.nx tl,e mecliltion

             requirement. Suvsection (e) of tlte 2014 Stattute staies that "[a) form o:t'.writicn notice tnecting

             the requircinen.ts of t17is section shall bc proluulgxted by the dcpartment for use by 'mortg:tgecs at:

             least thixty (30) clays prior to th.e eCf:ective dale of tl1.is sect.ioii.." Sec: 34-27-3.2(c). 'Cfic sajnc




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              provision appeared in the 201.3 Statute. Accordingly, afte:.r the enactnien.t o:f the 2013 Stittute, thc

             17epartment proxnulgated Regulati.on.5 whea'ein it specifically excmpted "niortgages ori whicli tlie

             M:or.tgagor was 1.20 days of tliore dcl.i.oquent- o.n. or bef.orc Scptenibcr 1.2, 2013." Tl.iis li.mitation

             was conssi.stent witli thc 2013 Statute.13

                       However, after the enactinetit of, tlie 2014 Statute, the llepartnlent arizenclecl i.ls

             regulations, but the excmptiotz ior tliortgages that wet•e ntore tbatt 120 days ciclinquent rexl7ained.

             Accordingly, Dcfendants posit that Regulation 5 indicates that Plaiartif:fs' mortgages rernain

             exeilipt ftoan thc 2014 Statute.

                       f1.s an initial matter, subsectiou (e) of thc 2014 Statute only givcs .the llepa.rtment

             truthority to prouYulgate rcgulations ".nteetirng the renuit'cuaents o.f: th.is scctioat." Sec. 34-27-

             3.2(c). The 2014 Statute specifically elimin:ated the 1.20 day delinclucncy lirzlitation :fram. (thc

             2013 Statute. y1.s sucih, Regulation 5 tioes ttot appcar to rneet the aequi.retzaents ot che current

             statute. 1n enacting rebulations, thc :Dcpartn)cnt "is bound by thc acts of thc Genccril tl.ssenibly

             that ctnpower it." tylirke v. lv.Iotsilli; 714 f1.2d 597, 600 (R.:(. 1998). Morcover, the Rh.ode

             Tsland Suprelne Court has niade cJ.ear tlxat alI statc agencies are "subject to et7acted statutory ]a«

             whi.cll is hresurned to be valid." :17el-1ngetis v. Xt.:C. .l,t.hics Conlm'n, 656 A.2c1 967, 970 (11.1.

             1995). Accordingly, Defenclatats cannot rcly on. XLegulation. 5 to de.feat 1'laintiffs' motion in light

             of: tJte statute's clear ivandatc.                          '




             13 The ef:fective clatc of thc 2013 Statute was Scptember :13, 2013, and it applied to all /.liortgagcs
             that werc 120 days or less in de.Faul.t. As sucla, al.l inortgages will) a defaull: clate on. or ai[tef' May
             16, 2013 were subject to the 20:13.Statute. Therefore,'t2egulati.oti 5 exeinptecl loan.s with ~t dc:fr~.ult:
             date 120 days or more prior to Sel~teiz~ber 12, 2013 l~ec.tuse loans:thtit were 120 da.ys oa• n~zore in
             default on September 12, 2013 (thc clay beEore the 201.3 Statute becarnc effective) were cxe.mpt
             froiii thc inediation requirernent.


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                                       V. Concltisiort on Liicclih,00d of Suceess ori tlic iVlex-its

                      In sunl, t}lis Court finds that 1'laititiffs lzave a reasonable likcl:ihood o#' success :irk

             clernotlstrating tllat Delcndarlls w.er,e obXigatccl to coinply with tlle 2014 Sta'tute, givcn. (1) tlie

             ciear tnandate oI tlle stGrtute; (2) the fact that tlic Genetal Assexnbly speci.Eically rexnovecl lim.i.titlg

             l.anguage froui previous versions oL tlie statute; and (3) tlie statitte's broa<I renledial purpose.

                                                                        F~

                                                             11't'el)ar.it)le 1111ri11

                      Tllis Couct txrust ncxt consider w1l.etheA• I'laint.ilfs will suffe.r irrE:patable b<irul i.f the

             pt'elijninary injunetion is n.ot granted. To justi;fy a preliii>,itlary injuaction, irrc;paraU:Ic harna txiust

             he "Presentl.y. thteatened or .ullnlincn;t 4nd i'or which. no adequate legal. .remedy ex:ists to 1'estorc

            that plain.ti:Pl:'to its tigilt;Eul position." Funcl .for Cn1t:y. Progress, 695 A.2d at 52:1.

                      IXecc, without an injtulction, Coreclosuce On the properties at issue rn.ay proccect rescrftin;

            i.n tllc ].oss of flaintiffs' llonies. 1?urtller, as tflis Court rroteci above, such a foreclosurc would

            li1cely di.rectly contravene the rccluir-cnicnts of tile 2014 Statute s.ince 17cleticlan,ls ha've :ta:ilecf to

            senci the requisite rneclirttiotl notice. ticcor.ditigty, "[t:1his is p.rccisely the lypc of irreplrable

            injltt'y ror wlliGh all lil)unctto)1 1s appropri.atc since a legal rernrdy such l,s ,alonet;try damages

            w0u]d ve inadeqtlate to coinpensate the victiin aor its loss.", Id. at 523.



                                                         13al.tticc ot' tlic Equities

                      Tn balancing the equi.tit:s, 1 ebUrt 111llSt COl'151tter }lal'1115 t0 t{le plal.nta:f~ lf tI1C 1]I'C17f1)1r1i11'y

            injunction is dcnicd, harnis to tite clefettclant if the prelitninary injcrrlction is grdnted, <r.nd the

            irnpor:tati.ce of the pubtic inter-est. hyky's Dpu,f;hboys, l,nc., 729 .A.21:1, Rrt 70.5. Tltis Court has

            ati'eady noted the substanti.al public intcrest in :favor of recluiring xnediation prior to 'foicclosure.




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             Moceover, as alt'eady noted, the inedi.ati.on recluuFaYtcnt cfoes not ainount to a lcngthy dc:lay of

             foteclosure sitiee tlte statute malces clear thll tlic tinccliation conf'ercnce n-iust takc l7lttce with.in

             sixty clays of tite tnortgagee scrtding the mediati.on noticc. See § 34-27-3.2(o. Accordingly,

             equi.ty favors Plaintiffs since if the tnotion is granted tl)cy losc their iiornes whiac, if i.t i.s not, the

             resPective foceclosure sales are siiriply delayed and Uefendants do' not losc their tigitits in the

             respective hroperties. See § 34-27-3.2(zit) ("Failut'e of the mot'lgagee to cotnply with the

             recluireizien[s of this section shall .render thc :Foreclosurc void, without linzitation oI tiic right of

             the an.ortgagee thcreafter to re-exe.rcise its power. oC sale or othcr mcans of Ioleclosure ut)on

             cor- npliance wi(li this sectiotl.")

                                                                     4

                                                    l:',ceservation ol' the St;lt:us   uo

                      Finally, this Co'urt notes "that a restraining or'cler is xncant to pt~eserve or restore thc stattus

             duo and that chis status quo is the last pcaceabl.e status prior to tla.e controvcrsy."

             ~ssocs., Tnc. v, Su artnan, 118 12.:C. 105, 108, 372 f1.2d 508, 509 (1977) (citing 11. Wril;ht &

             Mi.11er,, l;~ederai l'racti.ce and 1'rocedurc § 2948 at 465 (1973)). iZere, as previously cxl7lainecl,

            granting plaintiffs' tnotions woulcl preserve the stalMs e~U0 in that i.f tlhc moti.ons are +iot• gr4tntcd,

            Plain.tiffs slanrl to lose tl7cir hoaiics, possihly in violation ol' the 2014 Statute. Accordingly, xn

            l.igltit of the 1'taintitfs' 1,ikclih.00d oI success on tlre rzterits, the irre,parable tiaerna thrit woul.cl occus-

            if the fareclosure sales wcre peculitted to go forward, ancl the cicar public inteccst favroring

            mediation, tliis Court fi.nrJs that grauting 1?laititiffs' ntotions propea'ly preserves ihe st.;,ttus CILIO.




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                                                 nefe►► dants' M,otions to 1?isnaiss

                    Defendants also movc to ctisniiss X'1ai:ntifl:s' complaints in the above-c7ptionccl cases,

           pr.intarily for th.e satiie I•e4tson tl.iey presctatcd in opposition. to Plaintiffs' recluests l:o.r in.junctive

           t'elAet; tllat is, tlye subject 1no4gages are exe:uipt:tro.rn the 2014 Statute because the statutc citnnot

           be applied retroactively.

                    "Chis Court l7as ttlready rejcctcd Dc.(en.dants' argumen1 tI}at tllc 2014 Sta.tute would Ue

           applied retroactively to thc present tiiortgagcs sisice Defendants 'ctid tiot initaate torccXosurc (by

           sending a rrotice oI sale pursuant to § 34-27-4(b)) until aLter, th.e etLective date o.f ,tlic 20:14

           Statute. Moreover; this Court lias al.ready found that the nzediation ttotace t'ccfuitcment applies lo

           tltie stibjcct tnortgagcs given.'the clear ntandate of the statute, thc 'fact that ttie Gcrieral Asse.tnbl.y

           specifically i•emovcd limiting tanguage :fron) prevtous vet•siotis of ttS e statute, a4 ld thc statute's

           broad remedia{ pur- posc. As sucfi, De:fendants' nrlotion.s to disrniss are deiiiecl.

                    T11e Court rnoles tl3at Defendants znalce art additional cu►:sory argunient t1iat .l'Iain.til':Cs

           aiready tiad t11e opportunity to nlediate either in banlcruptcy proecetiings o.r through local

           ,nediation ordinances. 7n. so arguiizg; :laefendaats rely on'purported rtitcts outside      tihc   pleadings.

                    'VJhen tlris Court considers a lnotiot-i to clismiss, it ri,ay not loolc to r,}a[cria.ls outsicte ttic

           pleadings. lf ttic court considers matters outside tite hleadin6s, thc'tnotion to disixiiss >7iust bc

          eonvertecl into a moti,on [or suuimary judguzen.t witti. its clisti.oct standar'cl of z'eview. See Super.

          R, Civ. P. 12(b) ("TCon a moti.on asserting tire dcfetise numbered (G) to disniiss for failurc of thc

          plcading to state a claitn uPon wluch relic:E can be granted, matters outside the: plcading are

          pteset7.ted to and not excluded by tlae cout•t, the inotion shall bc treated as one :lor sutv.m.ary

          judgtnent and dispo.sed .of as provided in 1.2u1.e 56, and al'1. parties sha:ll be givei) reaso+lab1.e




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             olrportunity to presetrt al.l matcritit inade pertineut to such anotion. Fiy Rule 56."); see ~tso J3ovVe»

             Court Assocs, v. Ernst & Xoung, L7~P, 818 A.2d 721, 726 (1.2.7. 2003). lles:e, tlie Court docs not

             consider Defendants' assertions' i'ebar.dinb :114aintif;:fs' l~rcvious xiiediation oppottunil:ies in

             denyiiig tfte tnotioits to disuliss. Upon review oi' the.I5lwictin.gs, thi.s Coutt tinds that I'lai.nt•i:Ci:s'

             cotnplaints adequately state claitns that De:(endants violated the 2014 5tatute by refusing to send

             a ►zlediation notice prior to initiating foteclosure. Ch11un, 84 A.3d at 422 (stati.ng th,.tt in

             reviewing a motion to cfistniss, cOurtS ate "`cOn:C'tned to tho foctr corners of the conlplai.nt <ind

             tnust assutne all allegations are true, rEsolv7.ng any doubts in plaintiCl's tavor(j"' (quoting

             Narra ansett rlec. ~o. v. Minardi.; 21 A.3d 274, 278 (R.T. 2011))).

                                                                 1V

                                                            Cortcltrsiorr

                      In light of the foregoing, Plaititi,tt's' requests for injunct:ivc relieC arc gi~lnted altci

             Defendants' niotions to dism.iss are deaied. Couy.rsel shaill sub►rti.t aii order consistent witlr tllis

             Decisiotti.




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               Cf1.SL NOS:                               PC 2015-0276; X'C 2015-0777; I'C 2014-614J.;
                                                         PC 2014-6140; PC 2015-1043; PC 2015-0126


               COURT:                                    Pi-ovidence: Coctnty St7perior Cortz•L


              DATE DL;CTSzoN rXLLD:                      May 15, 2015


              JUS1'XC7./MAGISTiZA l`C:                   "Vart Couygi,en, J.
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                                    l:foir Defendant:    ,To1in S. McNiclaotas, Lsq.
                                                         Cliristine,h,: Mctz•phy,.Esq.
                                                         7)avitl f.:Pell.obrino,.Csq.




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